     Case 1:25-cv-00706-TRJ-CMS      Document 1       Filed 02/12/25     Page 1 of 145
                                                                                   FILED IN CLERK'S OFFICE
                                                                                       U.S.O.C. -Atlanta


               IN THE UNITED STATES DISTRICT COURT                                   FEB 12 2025
              FOR THE NORTHERN DISTRICT OF GEORGIA
                     - - - - - - - DIVISION

 (Print your full name)
                Plaintiff pro se,                   CIVIL ACTION FILE NO.

       V.                                               1 : 25-CV- 0 70 6
                                                       (to be assigned by Clerk)




 (Print full name of each defendant; an
 employer is usually the defendant)
                Defendant(s).


     PRO SE EMPLOYMENT DISCRIMINATION COMPLAINT FORM

                             Claims and Jurisdiction

1.     Thi~ employment discrimination lawsuit is brought under (check only those
       that apply):

                   Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et
                   seq .. for employment discrimination on the basis of race, color,
                   religion, sex, or national origin, or retaliation for exercising rights
                   under this statute.

                          NOTE: To sue under Title VII, you generally must have
                          received a notice of right-to-sue letter from the Equal
                          Employment Opportunity Commission ("EEOC").

                                      Page I of 9
     Case 1:25-cv-00706-TRJ-CMS       Document 1     Filed 02/12/25    Page 2 of 145




                    Age Discrimination in Employment Act of 1967, 29 U.S.C. §§
                    621 et seq., for employment discrimination against persons age 40
                    and over, or retaliation for exercising rights under this statute.

                           NOTE: To sue under the Age Discrimination in
                           Employment Act, you generally must first file a charge of
                           discrimination with the EEOC.


                    Americans With Disabilities Act of 1990, 42 U.S.C. §§ 12101 et
                    seq., for employment discrimination on the basis of disability, or
                    retaliation for exercising rights under this statute.

                           NOTE: To sueundertheAmericans With Disabilities Act,
                           you generally must have received a notice of right-to-sue
                           letter from the EEOC.


                    Other (describe)




2.     This Court has subject matter jurisdiction over this case under the above-listed
       statutes and under 28 U.S.C. §§ 1331 and 1343.




                                       Page 2 of 9
     Case 1:25-cv-00706-TRJ-CMS       Document 1     Filed 02/12/25    Page 3 of 145




                                        Parties

3.      Plaintiff.   Print your full name and mailing address below:

        Name

        Address



4.      Defendant(s).      Print below the name and address of each defendant listed
                           on page 1 of this fonn:

        Name
        Address



        Name
        Address



        Name
        Address



                                 Location and Time

5.      If the alleged discriminatory conduct occurred at a location different from the
        address provided for defendant(s), state where that discrimination occurred:

        ::r 1,)/j.; OQ 5hor-f- - T:-vrn n; s0;.bi /,'+&cswJ
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                                       Page 3 of 9
     Case 1:25-cv-00706-TRJ-CMS           Document 1    Filed 02/12/25   Page 4 of 145




6.       When did the alleged discrimination occur? (State date or time period)




                                 Administrative Procedures

7.       Did you file a charge of discriminati911 against defendant( s) with the EEOC or
         any other federal agency?         _V..;___ Yes        _ _ No

               If you checked'~        ' attach a copy of the charge to this complaint.


8.       Have you received a Notice of Right-to-Sue letter from the EEOC?

          /    Yes
                                - - No
               If you checked ~ ' attach a copy of that letter to this complaint and
               state the d ~ on which you received that letter :
                   {~ c°J. {-   9(_°'\S
9.      If you are suing for age discrimination, check one of the following:

                     60 days or more have elapsed since I filed my charge of age
                     discrimination with the EEOC

                     Less than 60 days have passed since I filed my charge of age
                     discrimination with the EEOC




                                          Page 4 of 9
  Case 1:25-cv-00706-TRJ-CMS       Document 1     Filed 02/12/25    Page 5 of 145




10.   If you were employed by an agency of the State of Georgia or unsuccessfully
      sought employment with a State agency, did you file a complaint against
      defendant(s) with the Georgia Commission on Equal Opportunity?

      - - Yes             X No              _ _ Not applicable, because I was
                                            not an employee of, or applicant with,
                                            a State agency.

            If you checked "Yes," attach a copy of the complaint you filed with the
            Georgia Commission on Equal Opportunity and describe below what
            happened with it (i.e., the complaint was dismissed, there was a hearing
            before a special master, or there was an appeal to Superior Court):




11.   If you were employ~d by a Federal agency or unsuccessfully sought
      employment with a Federal agency, did you complete the administrative
      process established by that agency for persons alleging denial of equal
      employment opportunity?

      - - Yes           -X- No              _ _ Not applicable, because I was
                                            not an employee of, or applicant with,
                                            a Federal agency.

            If you checked "Yes," describe below what happened m that
            administrative process:
       N/ it
        I




                                   Page 5 of 9
  Case 1:25-cv-00706-TRJ-CMS       Document 1     Filed 02/12/25    Page 6 of 145




                               Nature of the Case

12.   The conduct complained about in this lawsuit involves (check only those that
      apply):

                  failure to hire me
                  failure to promote me
                  demotion
                  reduction in my wages
        X         working under terms and conditions of employment that differed
                  from similarly situated employees
        X         harassment
                  retaliation
        X         termination of my employment
        X         failure to accommodate my disability
                  other (please specify) _ _ _ _ _ _ _ _ _ _ _ _ _ __



13.   I believe that I was discriminated against because of (check only those that
      apply):

                                                      K
                                                      ~---------
                  my race or color, which is ~ fZ>~[,. . .Q,._C
                                                              .._.J4
                  my religion, which is _ _ _ _ _ _ _ _ _ _ _ _ _ __
                  my sex (gender), which is                          male female
                  my national origin, which is _ _ _ _ _ _ _ _ _ _ _ __
                  my age (my date of birth is _ _ _ _ _ _ _ _ _ _ _ __,
                  my disability or perceived disability, which is:


        X         my opposition to a practice of my employer that I believe violated
                  the federal anti-discrimination laws or my participation in an
                  EEOC investigation

                  other (please specify) _ _ _ _ _ _ _ _ _ _ _ _ __




                                   Page 6 of 9
   Case 1:25-cv-00706-TRJ-CMS           Document 1      Filed 02/12/25   Page 7 of 145




 14.       Write below, as clearly as possible, the essential facts of your claim(s).
           Describe specifically the conduct that you believe was discriminatory or
           retaliatory and how each defendant was involved. Include any facts which
           show that the actions you are complaining about were discriminatory or
           retaliatory. Take time to organize your statements; you may use numbered
           paragraphs if you find that helpful. Do not make legal arguments or cite cases
           or statutes.         _,
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(Attach no more than five additional sheets if necessary; type or write legibly only on
one side of a page.)

                                         Page 7 of 9
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          Page 8 of 145   Filed 02/12/25     Document 1         Case 1:25-cv-00706-TRJ-CMS
        Case 1:25-cv-00706-TRJ-CMS     Document 1    Filed 02/12/25     Page 9 of 145




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Case 1:25-cv-00706-TRJ-CMS   Document 1   Filed 02/12/25   Page 10 of 145
Case 1:25-cv-00706-TRJ-CMS   Document 1   Filed 02/12/25   Page 11 of 145
  Case 1:25-cv-00706-TRJ-CMS        Document 1      Filed 02/12/25   Page 12 of 145




15.   Plaintiff                 still works for defendant( s)
                                no longer works for defendant( s) or was not hired


16.   If this is a disability-related claim, did defendant(s) deny a request for
      reasonable accommodation?         )( Yes          _ _ No

            If you checked "Yes," please explain: _ _ __ __ _ __ _ __




17.   If your case goes to trial, it will be heard by a judge unless you elect a jury
      trial. Do you request ajury trial?        )< Yes _ _ No

                                Request for Relief

As relief from the allegations of discrimination and/or retaliation stated above,
plaintiff prays that the Court grant the following relief (check any that apply):

       ;(          Defendant( s) be directed to ]   orfltq &_ rMr

                   Money damages (list amounts) _ _ __ __ _ _ _ __ _


                   Costs and fees involved in litigating this case


                   Such other relief as my be appropriate




                                     Page 8 of 9
  Case 1:25-cv-00706-TRJ-CMS          Document 1      Filed 02/12/25    Page 13 of 145




           PLEASE READ BEFORE SIGNING THIS COMPLAINT

Before you sign this Complaint and file it with the Clerk, please review Rule 11 of
the Federal Rules of Civil Procedure for a full description of your obligation of good
faith in filing this Complaint and any motion or pleading in this Court, as well as the
sanctions that may be imposed by the Court when a litigant (whether plaintiff or
defendant) violates the provisions ofRule 11. These sanctions may include an order
directing you to pay part or all of the reasonable attorney's fees and other expenses
incurred by the defendant(s). Finally, if the defendant(s) is the prevailing party in this
lawsuit, costs (other than attorney's fees) may be imposed upon you under Federal
Rule of Civil Procedure 54(d)(l).


             Signed, this ___ day of _ _ _ _ _ _ _ _ _ _, 20_ _ __




                                         (Signature of plaintiff pro se)


                                         (Printed name of plaintiff prose)


                                         ( street address)


                                         (City, State, and zip code)


                                         ( email address)


                                         (telephone number)




                                       Page 9 of 9
   Case 1:25-cv-00706-TRJ-CMS              Document 1        Filed 02/12/25        Page 14 of 145


        U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                             Mobile Local Office
                                                                                   63 South Royal Street, Suite 504
                                                                                               Mob il e, AL 36602
                                                                                                   (251) 304-7920
                                                                                          Website: www.eeoc.gov


                   DETERMINATION AND NOTICE OF RIGHTS
                    (This Notice replaces EEOC FORMS 161 , 161-A & 161-B)

                                       Issued On: 01/21/2025
To: Doretta Barner
    9106 Wood green Way, Jonesboro, GA 30238
Charge No: 410-2024-13478
EEOC Representative and email:        ERIKA LACOUR
                                      MLO Director
                                      erika.lacour@eeoc.gov


                               DETERMINATION OF CHARGE

The EEOC issues the following determination: The EEOC will not proceed further with its
investigation and makes no determination about whether further investigation would establish
violations of the statute. This does not mean the claims have no merit. This determination does not
certify that the respondent is in compliance with the statutes. The EEOC makes no finding as to
the merits of any other issues that might be construed as having been raised by this charge.

                              NOTICE OF YOUR RIGHT TO SUE

This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
based on a claim under state law may be different.)
If you file a lawsuit based on this charge, please sign in to the EEOC Public Portal and upload the
court complaint to charge 410-2024-13478.

                                               On behalf of the Commission,

                                              Digitally Signed By: Erika La'Cour
                                              01/21/2025
                                              Erika La'Cour
                                              Local Office Director
      Case 1:25-cv-00706-TRJ-CMS              Document 1   Filed 02/12/25   Page 15 of 145

cc:
Kau Guannu
Wells Fargo
90 South 7th Street
17th FloorMinneapolis, MN 55402



Please retain this notice for your records.
    Case 1:25-cv-00706-TRJ-CMS                              Document 1   Filed 02/12/25   Page 16 of 145
Enclosure with EEOC Notice of Closure and Rights (01 /22)




                                INFORMATION RELATED TO FILING SUIT
                               UNDER THE LAWS ENFORCED BY THE EEOC
 (I'his information relates to filing suit in Federal or State court under Federal law. Ifyou also
plan to sue claiming violations ofState law, please be aware that time limits may be shorter and
            other provisions of State law may be different than those described below.)

IMPORTANT TIME LIMITS-90 DAYS TO FILE A LAWSUJT
If you choose to file a lawsuit against the respondent(s) named in the charge of discrimination,
you must file a complaint in court within 90 days of the date you receive this Notice. Receipt
generally means the date when you (or your representative) opened this email or mail. You should
keep a record of the date you received this notice. Once this 90-day period has passed, your
right to sue based on the charge referred to in this Notice will be lost. If you intend to consult an
attorney, you should do so promptly. Give your attorney a copy of this Notice, and the record of
your receiving it ( email or envelope).
If your lawsuit includes a claim under the Equal Pay Act (EPA), you must file your complaint in
court within 2 years (3 years for willful violations) of the date you did not receive equal pay. This
time limit for filing an EPA lawsuit is separate from the 90-day filing period under Title VII, the
ADA, GINA, the ADEA, or the PWFA referred to above. Therefore, if you also plan to sue under
Title VII, the ADA, GINA, the ADEA or the PWFA, in addition to suing on the EPA claim, your
lawsuit must be filed within 90 days of this Notice and within the 2- or 3-year EPA period.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction.
Whether you file in Federal or State court is a matter for you to decide after talking to your
attorney. You must file a "complaint" that contains a short statement of the facts of your case
which shows that you are entitled to relief. Filing this Notice is not enough. For more information
about filing a lawsuit, go to https://www.eeoc.gov/employees/lawsuit.cfm.
ATTORNEY REPRESENTATION
For information about locating an attorney to represent you, go to:
https://www.eeoc.gov/employees/lawsuit.cfm.
In very limited circumstances, a U.S. District Court may appoint an attorney to represent individuals
who demonstrate that they are financially unable to afford an attorney.

How TO REQUEST YOUR CHARGE FILE AND 90-DAY TIME LIMIT FOR REQUESTS
There are two ways to request a charge file: 1) a Freedom of Information Act (FOIA) request or
2) a "Section 83" request. You may request your charge file under either or both procedures.
EEOC can generally respond to Section 83 requests more promptly than FOIA requests.
Since a lawsuit must be filed within 90 days of this notice, please submit your FOIA and/or
Section 83 request for the charge file promptly to allow sufficient time for EEOC to respond and
for your review.
To make a FOIA request for your charge file, submit your request online at
https://eeoc.arkcase.com/foia/portal/login (this is the preferred method). You may also submit a
FOIA request for your charge file by U.S. Mail by submitting a signed, written request
identifying your request as a "FOIA Request" for Charge Number 410-2024-13478 to the
    Case 1:25-cv-00706-TRJ-CMS                             Document 1   Filed 02/12/25   Page 17 of 145
Enclosure with EEOC Notice of Closure and Rights (01/22)




District Director, Bradley A. Anderson, at 1130 22nd Street South Suite 2000, Birmingham, AL
35205.

To make a Section 83 request for your charge file , submit a signed written request stating it is
a "Section 83 Request" for Charge Number 410-2024-13478 to the District Director, Bradley A.
Anderson, at 1130 22nd Street South Suite 2000, Birmingham, AL 35205.

You may request the charge file up to 90 days after receiving this Notice of Right to Sue. After
the 90 days have passed, you may request the charge file only if you have filed a lawsuit in court
and provide a copy of the court complaint to EEOC.
For more information on submitting FOIA requests, go to
https://www.eeoc.gov/eeoc/foia/index.cfm.
For more information on submitted Section 83 requests, go to https://www.eeoc.gov/foia/section-
83-disclosure-information-charge-files.
NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA)

The AD A was amended, effective January 1, 2009, to broaden the definitions of disability to make
it easier for individuals to be covered under the ADA/AD AAA. A disability is still defined as (1)
a physical or mental impairment that substantially limits one or more major life activities (actual
disability); (2) a record of a substantially limiting impairment; or (3) being regarded as having a
disability. However, these terms are redefined, and it is easier to be covered under the new law.
If you plan to retain an attorney to assist you with your ADA claim, we recommend that you share
this information with your attorney and suggest that he or she consult the amended regulations and
appendix, and other ADA related publications, available at~
http://www.eeoc.gov/laws/types/disability regulations.cfm.

"Actual" disability or a "record of' a disability
If you are pursuing a failure to accommodate claim you must meet the standards for either "actual"
or "record of' a disability:
     ✓    The limitations from the impairment no longer must be severe or significant for the
          impairment to be considered substantially limiting.
     ✓    In addition to activities such as performing manual tasks, walking, seeing, hearing,
          speaking, breathing, learning, thinking, concentrating, reading, bending, and
          communicating (more examples at 29 C.F.R. § 1630.2(i)), "major life activities" now
          include the operation of major bodily functions, such as: functions of the immune
          system, special sense organs and skin; normal cell growth; and digestive, genitourinary,
          bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,
          hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an
          individual organ within a body system.
     ✓    Only one major life activity need be substantially limited.
     ✓    Except for ordinary eyeglasses or contact lenses, the beneficial effects of "mitigating
          measures" (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications)
.   .. -
               Case 1:25-cv-00706-TRJ-CMS                              Document 1   Filed 02/12/25   Page 18 of 145
           Enclosure with EEOC Notice of Closure and Rights (0 1/22)




                     are not considered in determining if the impairment substantially limits a major life
                     activity.
                ✓    An impairment that is "episodic" (e.g., epilepsy, depression, multiple sclerosis) or "in
                     remission" (e.g., cancer) is a disability if it would be substantially limiting when active.
                ✓    An impairment may be substantially limiting even though it lasts or is expected to last
                     fewer than six months.

           "Regarded as" coverage
           An individual can meet the definition of disability if an employment action was taken because
           of an actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary
           leave, termination, exclusion for failure to meet a qualification standard, harassment, or denial of
           any other term, condition, or privilege of employment).
                ✓    "Regarded as" coverage under the ADAAA no longer requires that an impairment be
                     substantially limiting, or that the employer perceives the impairment to be substantially
                     limiting.
                ✓    The employer has a defense against a "regarded as" claim only when the impairment at
                     issue is objectively both transitory (lasting or expected to last six months or less) and
                     mmor.
                ✓    A person is not able to bring a failure to accommodate claim if the individual is covered
                     only under the "regarded as" definition of "disability".
           Note: Although the amended ADA states that the definition of disability "shall be construed
           broadly" and "should not demand extensive analysis," some courts require specificity in the
           complaint explaining how an impairment substantially limits a major life activity or what facts
           indicate the challenged employment action was because of the impairment. Beyond the initial
           pleading stage, some courts will require specific evidence to establish disability. For more
           information, consult the amended regulations and appendix, as well as explanatory publications,
           available at http://www.eeoc.gov/laws/types/disability regulations.cfm.
        Case 1:25-cv-00706-TRJ-CMS                 Document 1         Filed 02/12/25      Page 19 of 145




 ■
November 15, 2023

Doretta Barner
Employee ID: 00001049093
9106 Woodgreen Way
Jonesboro, GA 30238

Subject: Notice of Ineligibility for Continued Employment

Dear Doretta:

 Why You're         We have been in the process of reviewing some ongoing issues with your behavior related to
 Receiving          potential violations of Wells Fargo's Professionalism and Workplace Conduct policies.
 this Notice
                    This review was completed on November 6, 2023.

                    It was determined that you have continued to violate the Professionalism and Workplace
                    Conduct policies even after being delivered coaching and corrective action. Due to this, your
                    employment will be terminated.

 What You           Out of deference to your pending leave of absence request (e.g., leave extension request),
 Need to            Wells Fargo is suspending the termination of your employment until the end of your approved
 Know               leave period, assuming your leave extension request is approved. If your leave extension
                    request is not approved, your employment will be terminated immediately.
                    Your medical, dental, vision and life insurance benefits may continue as long as you are on a
                    paid leave or if you are enrolled in leave billing and you timely submit the appropriate
                    premiums.

 What You           □      Continue to submit premiums for medical, dental, vision and life insurance benefits, if
 Need to Do                applicable.
                    □      Keep Wells Fargo's leave and claim administrator, Lincoln Financial informed of any
                           changes with your leave status.
                    □      Contact your manager, Shenese Williams at 404-226-2573 if you have a need to discuss
                           this communication.
 What               Your termination of employment will be processed on the next business day after your initially
 Happens            approved leave period ends or effective immediately following the denial of your leave
 Next               extension request.
                    You will receive a separate communication regarding information about your benefits and
                    verification of employment.

 Questions?         Contact our leave and claims administrator for information about your leave of absence by
                    calling Employee Care at 1-877-HRWELLS (1-877-479-3557), option 2, 3, 5.
                    Employee Assistance Consulting is available by calling 1-877-HRWELLS (1-877-479-
                    3557), option 4.



cc:      Official Personnel File, N9160-01S EID# 00001049093
                                                                                                   *ND029032 *
Wells Fargo HR Policy
Letter 14.0 Rev 09122023
                                                 Wells Fargo Confidential
           Case 1:25-cv-00706-TRJ-CMS          Document 1       Filed 02/12/25      Page 20 of 145


                                                                                   Lincoln Financial Group


n       Lincoln
        Financial Group®
                                                                                   Leave Service Department
                                                                                   PO Box 49410
                                                                                   Charlotte, NC 28277


September 15, 2023

Ms. DORETTA BARNER
9106 WOODGREEN WAY
JONESBORO, GA 30238-0000


RE: Wells Fargo & Company
    Leave Acknowledgment with Disability Benefit Claim
    Leave ID#: 14739155 Short-Term Disability Claim ID#: 14739151


Why You and          As the leave administrator for Wells Fargo, Lincoln Financial Group received your
Your Manager         request for disability benefits on September 15, 2023.
Are Receiving
This Notice          You have indicated that your Leave Begin Date is September 9, 2023.

                     Managers, please be sure to read this letter and refer to the important Manager
                     Information section below for next steps.

What You             You are eligible for leave under the Family & Medical Leave Act (FMLA) or, applicable
Need to              state leave law, or both. However, a final determination of your leave will be based
Know                 upon an evaluation of the medical documentation submitted for review.

                     Note: if your first applied absence occurs after the date of this letter, your eligibility
                     status will be re-evaluated on your first applied absence to ensure you meet the
                     eligibility requirements. If you are not eligible for leave under FMLA at that time, your
                     request will be denied.

                     If your disability benefit claim is approved you will receive income replacement under
                     Wells Fargo's Short-term Disabilty Plan, unless offsets from other income would apply.

                     If your FMLA or applicable state leave law, or both is approved you will have job
                     protection while you are absent from work through your remaining entitlement time as
                     referenced below. If you are approved for both FMLA and applicable state leave they
                     may run concurrently (at the same time).

                     As of the date of this letter and prior to the beginning of your leave date, you
                     have 480 hours of unpaid leave remaining under the Family & Medical Leave Act
                     for the current 12 month period, which is measured forward from the first date
                     leave was taken.


Page 1 of 3                                                                    COM0l_WellsFargo - 14739155
             Case 1:25-cv-00706-TRJ-CMS         Document 1       Filed 02/12/25      Page 21 of 145



                     State leave will count concurrently with your federal leave entitlement when appropriate.

 What You            Read the attached document titled "Rights and Responsibilities Under the Family and
 Need to Do          Medical Leave Act" to familiarize yourself with eligibility requirements, leave
                     entitlement, and other leave policies.

                     Apply for your state disability benefits if you work in participating state. Applying for
                     the state benefits does not complete the requirements for documentation needed for your
                     Wells Fargo disability claim; therefore, provide any documentation requested by Lincoln
                     Financial Group. If you are unsure how to file for your state benefits, reference the
                     enclosed state benefit instructions. If you have furth er questions contact Lincoln
                     Financial Group at 866-213-2937.

 What Happens        Your Lincoln Financial Group representative will contact you to conduct an initial claim
 Next                interview.

                     Provide any forms and medical information that are requested as soon as possible to
                     ensure a prompt decision.

                     Upon receipt of the requested information, you will be notified of a decision on your
                     short-term disability claim.

                     You will receive status updates throughout the course of your absence.

                     Note: If Lincoln Financial Group does not receive timely and appropriate documentation
                     to support your request for this leave of absence, your leave will be denied and your
                     time away from work may be subject to corrective action, up to and including
                     termination.

 Questions          If you have any questions, contact your Lincoln Financial Group representative using the
                    information provided in the signature line below.

                     You may also access www.mylincolnportal.com, to check the status of your request,
                     First time users will need to create a login using the Company Code "Wells."

 Manager             You are receiving a copy of this letter to update you on the status of your employee' s
 Information         leave.

                     What you need to do:
                     Review and complete applicable action items outlined in Managers: Leave of
                     Absence Guide article in HR Services & Support . You can either use the search
                     function in HR Services & Support or go to HR Services & Support, use the HR
                     Information tab at the top of the page, go to time and absence on the left-hand
                     navigation bar, then go to leave of absence on left-hand navigation bar and locate article
                     entitled Managers: Leave of Absence Guide.



Page2 of 3                                                                    COM0l_WellsFargo - 147391 55
             Case 1:25-cv-00706-TRJ-CMS          Document 1        Filed 02/12/25        Page 22 of 145


                                                                    The Lincoln National Life Insurance Company
                                                                    Disability Claims
                                                                    P.O. Box 2578
                                                                    Omaha, NE 68103-2578
                                                                    Phone: (866) 213-2937
                                                                    Secure Fax No.: (603) 422-0119

       September 19, 2023

       DORE TIA BARNER
       9106 WOODGREEN WAY
       JONESBORO, GA 30238-0000

       RE:     Wells Fargo & Company
               Short-Term Disability Benefits
               Claim#: 14739151

       Dear MS . BARNER
....
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       We are writing with regard to your claim for Short-Term Disability (STD) benefits under the
0

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_,     Wells Fargo & Company Disability Plan.
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LL
       Your application for disability benefits has been received and is currently under review. If
       necessary, we will be gathering additional information in order to evaluate your eligibility for
CJ)
II)
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       benefits. If you haven' t already done so, please sign the enclosed Authorization form and
0
       provide a copy to your Disability Case Manager and to your treating physician(s). You can
       submit this form to Lincoln Financial Group by uploading to MyLincolnPortal.com, by email
       to wellsfargo@lfg.com or by fax to (603) 422-0119.
               • Lincoln Financial Group Authorization to Obtain and Release Information

       We will notify you of the status of your claim once a decision has been made. Lincoln
       Financial Group offers you the convenience of managing multiple aspects of your benefits
       online or through your mobile device, including viewing the status of your claim or leave. Visit
       MyLincolnPortal.com on your computer or mobile device. Use the code "Wells" when
       registering.

       If you have any questions regarding the above information, please contact me at the number
       below.

       Sincerely,


       Alexander Rankin
       Disability Case Manager
       Phone: (866) 213-2937
       Secure Fax No.: (603) 422-0119

       Enclosures
Case 1:25-cv-00706-TRJ-CMS                  Document 1          Filed 02/12/25        Page 23 of 145




             •!·
            ~~,,~
                                     Release of Information Questionnaire:
                                     FMLA, Short Term/Long Term Disability or
                                     Obstetrical (OB) Treatment Form
KAISER PERMANENTE®

    ►   Please answer the questions below if you are submitting a FMLA,
        Short Term/Long Term Disability or Obstetrical (OB) treatment form
        to Release of Information.
    ►   Please enter NIA for any ques.tions not pertaining to you .


PATIENTNAME= ~                omifq             &mw
KAISERHEALTHRECORDNUMBER=                                 Da ~ 0 ~ s ~
  Form is for you         Form is for a family member Name: _ _ __ _ _ _ _ __

1. Is the medical condition pregnancy?                                   Yes
             a. If so, expected/actual delivery date: _ _ _ __ _
             b.     Vaginal           Cesarean Section


2. WhaJ doctor did you see for your present condition/illness? _ _ _ _ __ __ _



: ::~ ~~o:;~:::~:~:~::::~;;sent coGS!lness?                              No
             a. If yes, Date Admitted:
             b. Name of Hospital: _ _ _ _ __ _ _ _ _ _ _ _ __
             c. Discharge Date: _ _ _ _ _ _ _ __ _ _ __ _ __


5. Are you scheduled for Surgery?             Yes             If yes, Date: _ _ _ _ _ _ __
6. When was your first day off from work? Date : _Cf_-___,!_.(__
                                                               / _.Q_ =L'"Q
                                                                          "'f--';~~
                                                                                 ;}, 3-   - ----
7. When is your expected date to return to work?              Date:    ~ u ) ()
8. How often does the medical condition o~cur (Example: Frequency: 1-2 times per
month, Lasting: 1-2 days per flare-up) ?             / Ji:
                                               - /\J7-f--->----- ---


Thank you for your cooperation in helping us to complete your forms.
                      Case 1:25-cv-00706-TRJ-CMS                     Document 1            Filed 02/12/25 1 Page 24 of 145
 ~ KAISER PERMANENTE®                      Patient Name: ·-=o::...;b~ K-
                                                                      :........::.J.._q.!,____f~ ~ ~ : ; . . . : _ _ - - f - - : - - r - t ; ~
      (*Kaiser Permanente entities are
      listed on reverse side of this form)
                                           Medical Record pumbe_r: 0 d 6~
                                           Address: 9 tDCo w"l)c, D 6 /-E <::_IU
                                                                                                            a    Y
                                                                                                                     f
                                                                                                             Birth Date:
                                                                                                                         w             ~   '--'-=-~




 AUTHORIZATION FOR USE                     City: --::fo-Ns f6o 1\0                                          State: _;G:::...LA---'----
                                                                                                                       :
 OR DISCLOSURE OF PATIENT                  Zip Code:3D ?-]? y                  Phone#: (f-r}D) CoO?rlj 3 1,
 HEALTH INFORMATION                        E 'I" D         Her !:.:a N.f Q q me, q::,
                                                                                                 r
                                                                                                                              t_
                                                                                                                              '
 Note: Fees may apply to certain requests ma, · 0 r~                        r                                         M
                                                                                                                          I




    This disclosure can be used for the following purpose(s): □ Personal Use                                   □ Legal □ Insurance
    □ Medical Treatment                          □ Medical Condition Verification        □ Disability         □ FMLA □ Workers' Comp
    Check ONLY one of the following three options to identify the health information to be released.
    □ Option 1: Form Completion (a substitute form or relevant medical records may be released)
    □ Option 2: Last 2 years of Kaiser Permanente Medical Office and Kaiser Foundation Hospital records
    □ Option 3: Records as specified. You must complete Step 1 and Step 2 below.
      Step 1. Enter date range or date(s) of the records to be released:      ~      2 /) J..._3          3 / /-
      Step 2. ~elect types of records to be released:
              GlKP Medical Office       □ Kaiser Foundation Hospital □ Immunization          &-Lab Results
              CJ·Diagnostic Images □ Copays & Deductibles                □ Itemized Billing e:fPharmacy
              □ Other (provider, department, specialty): _ _ _ _ _ _ _ _ _ _ __ _ __


   NOTE: Hospital and Medical Office records released as part of this authorization may contain references
           related to mental health, addiction, and HIV medical conditions.
   Check the boxes below if you want this release to include the following information, Otherwise,
   this information will be excluded.
   □ Mental Health Treatment Records □ Addiction Medicine Trea~"Jent Records □ HIV Test Results
                           ,......
                                                                                                      "
   Media Type: '°'Electronic □ Paper Delivery Preference: 91\Electronic □ Mail                               □ Pickup
                   -                                                             '
                                                                                                  ,

   DURATION: Authorization shall remain in effect for one year from the date of signature below. However, in
   Washington, D.C. permission to release addiction medicine treatment records expires after six (6) months.
   REVOCATION: You or~our personal representative may cancel this authorization for future releases by submitting
   a written re~uest to the elease of Information Unit listed forJour region of service on the reverse side of this form.
   Your cancel ation will not affect information that was release prior to receipt of the written request.
   REDISCLOSURE: Once this information is released, it may not be protected under federal privac(c law (HIPAA).
   State or other federal law may require the recipient to obtain your authorization before further disc osure.
   Kaiser Permanente may not condition treatment, payment, enrollment, or eligibility for benefits on whether you sign
   this authorization. This disclosure is made at your request. For Virginia patients, a copy of this authorization, and a
   note stating to whom your information was disclosed will be included in your medical record. A copy of the original
  ·authorization is valid. Y ave a right to a copy of this completed authorization.

Cf- 1~K)J3                           ~ ~ ~ ~ " " 1 h t - 7 1 - H -+f---
Date                                 Sign ture                                                  If personal representative, print name/relationshi
NS.9934 {2·16) SPANISH·NS·1614; CHINESE-Ns-6274
NCAL: 90258 {REV. 2·16) SPANISH 01782-000; CHINESE 01782-002       ORIGINAL· DISCLOSING PARTY    CANARY· PATIENT
          Case 1:25-cv-00706-TRJ-CMS             Document 1       Filed 02/12/25        Page 25 of 145
                                                 Billing Statement
Radiant Family Practice, LLC
P.O. Box 671047
Marietta, GA 30066
404-635-6117
                                                                                                    Statement No: 177284
                                                                                                Statement Date: 10/5/2023


      Bill To: BARNER, DORETTA
                9106 WOOD GREEN WAY
                JONESBORO, GA 30238

Patient Name :                 Patient Address:                                                          Patient ID:        I

DORETTA BARNER                 9106 WOOD GREEN WAY, JONESBORO, GA 30238                                  RW1 541423         !
                                                                                                                            I
                                                                                                                            !

Date of        Procedure       Description            Charge Insurance        Patient     Adjustmen1             Balance\
Service                                                        Paymen1       Payment                                         :
09/1 2/2023    99222           HOSPITAL VISIT-         $325.00   ($114.86)      $0.00        ($181.43)             $28.7 1
                               INITIAL                                                                                      i

                                                                                          Balance Due:             $28.71




           I
Comments: AMOUNT DUE IS YOUR PART AFTER INSURANCE WAS FILED . WE COVER LAKEVIEW &
          RIVERWOODS HOSPITALS & BILL SEPARATELY. OUR BILL IS DUE UPON RECEIPT. IF YOU FEEL
          YOUR INSURANCE PROCESSED INCORRECTLY YOU MUST CONTACT THEM. THANKS!
        Case 1:25-cv-00706-TRJ-CMS                 Document 1          Filed 02/12/25     Page 26 of 145




 ■
November 15, 2023

Doretta Barner
Employee ID: 00001049093
9106 Woodgreen Way
Jonesboro, GA 30238

Subject: Notice of Ineligibility for Continued Employment

Dear Doretta:


 WhyYou're          We have been in the process of reviewing some ongoing issues with your behavior related to
 Receiving          potential violations of Wells Fargo's Professionalism and Workplace Conduct policies.
 this Notice
                    This review was completed on November 6, 2023.

                    It was determined that you have continued to violate the Professionalism and Workplace
                    Conduct policies even after being delivered coaching and corrective action. Due to this, your
                    employment will be terminated.

 What You           Out of deference to your pending leave of absence request (e.g., leave extension request),
 Need to            Wells Fargo is suspending the termination of your employment until the end of your approved
 Know               leave period, assuming your leave extension request is approved. If your leave extension
                    request is not approved, your employment will be terminated immediately.
                    Your medical, dental, vision and life insurance benefits may continue as long as you are on a
                    paid leave or if you are enrolled in leave billing and you timely submit the appropriate
                    premiums.

 WhatYou            D      Continue to submit premiums for medical, dental, vision and life insurance benefits, if
 Need to Do                applicable.
                    D      Keep Wells Fargo's leave and claim administrator, Lincoln Financial informed of any
                           changes with your leave status.
                    D      Contact your manager, Shenese Williams at 404-226-2573 if you have a need to discuss
                           this communication.

 What               Your termination of employment will be processed on the next business day after your initially
 Happens            approved leave period ends or effective immediately following the denial of your leave
 Next               extension request.
                    You will receive a separate communication regarding information about your benefits and
                    verification of employment.

 Questions?         Contact our leave and claims administrator for information about your leave of absence by
                    calling Employee Care at 1-877-HRWELLS (1-877-479-3557), option 2, 3, 5.
                    Employee Assistance Consulting is available by calling 1-877-HRWELLS (1-877-479-
                    3557), option 4.



cc:      Official Personnel File, N9160-01S EID# 00001049093
                                                                                                   * ND029032*
Wells Fargo HR Policy
Letter 14.0 Rev 09122023
                                                  Wells Fargo Confidential
                                                   Case 1:25-cv-00706-TRJ-CMS                     Document 1   Filed 02/12/25   Page 27 of 145




 ORIGIN ID:GPZA     (612) 667-3868                            SHIP DATE: 15NOV23
 LEAH DANKO                                                   ACTWGT: 0.50 LB
 WELLS FARGO-CORPORATE                                        CAD: 103346565/WSXl2600
 550 S4THST
 N9310-115 FL 11
 MINNEAPOLIS, MN 55415                                        BILL SENDER
 UNITED STATES US
rn   DORETTA BARNER
     PRIVATE RESIDENCE
     9106 WOODGREEN WAY

     JONESBORO GA 30238
  (770) 603-1232                          REF 0048543
  INV
  PO f\8310-115                                        DEPT: ESO

1111111111111111111111111111111111111111111111111111111111111111111
                                                                                ~             "
                                                                                        Express




                                                              THU -16 NOV 8:00P
                                                          STANDARD OVERNIGHT
1~~~1 7864 3138 8961                                                            DSR RES
                                                                                    30238
 XG FTYA                                                                    GA-US    ATL
                  Case 1:25-cv-00706-TRJ-CMS          Document 1        Filed 02/12/25   Page 28 of 145
                                                                                                  DOL - 4428 l(R- 02/ 17)
                                                                                                                 NM20 0 6
                                         GEORGIA DEPARTMENT OF LABOR
                                         CLAIMS EXAMINER'S DETERMINATION
                  ***-**-3012
SSN - - - - - - - - - - - -
                                                           GEORGIA DEPARTMENT OF LABOR
BYS               11/26/23                                 APPEALS TRIBUNAL
                                                           148 ANDREW YOUNG INT'L BLVD NE, STE 525
          11/26/23
CWB _ _ _ _ _ _ _ _ _ _ __                                 ATLANTA, GA 30303-1734
                                                           EMAIL: appeals@gdol.ga.gov
ACCT# 375289-15                                            FAX:  404-232-3901 OR 404-232-3902
CLAI MANT                                                 EMPLOYER

              DORAETTE E BARNER                                           WELLS FARGO BANK NA
              9106 WOODGREEN WAY                                          C/O TALX UCM SERVICES INC
              JONESBORO GA      30238                                     PO BOX 283
                                                                          ST LOUIS MO 63166




unemployment benefits if you are fired or suspended for absences caused by illness of
yourself or a family member, if you properly notify your employer. Georgia Rules Chapter
300-2-9- .0 l (2) (a) (6) says that if you are fired for absences or tardiness, a 11 of the
absences or tardiness wi 11 be considered and not just the last one. The law says that your
employer has to show that discharge or suspension was for a reason that would not allow you
to be paid unemployment benefits. If you cannot be paid unemployment benefits under this
section of the law, you may qualify at a later time. To do this, you must find other work
and earn wages covered under unemployment law. The covered wages must be at least ten times
the weekly amount of your claim. If you then become unemployed through no fault of your
own, you may reapply for unemployment benefits.




 You were away from work because you or a member of your family was sick.
 Personal or family illness is not something you can control.  You used
 proper procedures in reporting the illness to your employer. Therefore,
 you can be paid unemployment benefits.




            appeal, submit a request online at dol.georgia.gov, in writing by email to appeals@gdol.ga.gov, or fax to
            404.232.390 1 or 404.232.3902. If you file an appeal you must continue to report on your claim as
            instructed, or you will not be paid if you win your appeal. Refer to the Claimant Handbook for more
            details.
            Georgia Department of Labor                          12/21/23                        01/04/24
                       Claims Examiner                        Date of Interview                   Mail Date
                                                                                                             NM2 007
                                EXPLANATION
            Case 1:25-cv-00706-TRJ-CMS      TO CLAIMANT
                                         Document 1 Filed 02/12/25                  Page 29 of 145           (R-07/21)


            WARNING:        It is a crime under Paragraph (a) of OCGA Section 34- 8 - 256
                            of the EmploymentSecurity Law to make any false statement
                            or to fail to disclose any material fact in  connectionwith an
                            unemployment     insurance  claim.    VIOLA TORS    WILL    BE
                            PROSECUTED.


UNEMPLOYMENT INSURANCE IS FINANCED WHOLLY BY AN EMPLOYER PAYROLL TAX; no part is
paid by the worker. Payments can be made only to those who meet all legal requirements.

TO FILE A CLAIM you must be either (a)totally or partially unemployed or (b)working part-time due
to lack of work, and earning wages which total not more than your unemployment insurance weekly
amount plus S150.00 ($300.00 for weeks ending March 14, 202 1 through June 26, 202 1).

YOUR UNEMPLOYMENT INSURANCE WILL LAST LONGER if you work all you can. You may
receive partial payments if you work and earn not more than your weekly amount plus S150.00
($300.00 for weeks ending March 14, 2021 through June 26, 2021 ).
ALL YOUR EARNINGS DURING YOUR CLAIM WEEK MUST BE REPORTED WHETHER OR NOT YOU
HAVE BEEN PAID.
YOU MAY CLAIM PARTIAL UNEMPLOYMENT INSURANCE if you are employed on a full - time job
with a regular employer and, because of lack of work only, work less than full time during your
work week and earn not more than your unemployment insurance weekly amount plus S150.00
($300.00 for weeks ending March 14, 202 1 through June 26, 202 1).
 See your employer or contact the Georgia Department of Labor Career Center.
TO BE PAID UNEMPLOYMENT INSURANCE after establishing your claim, the law requires that you:
(a)be unemployed, either totally or partially; (b) report for each week claimed; (c) be able and available
for work and be actively seeking work; (d) be willing to accept suitable work as determined by the
Department of Labor; (e) not be subject to disqualification.

ALSO, you must have returned to work and have earned insured wages equal to at least 10
times the weekly amount of your claim since (a)establishing a previous claim; (b)voluntarily quitting
your most recent job WITHOUT GOOD CAUSE CONNECTED WITH YOUR WORK even though you have
good personal cause; (c)failing , WITHOUT GOOD CAUSE, either to apply for or accept available,
suitable work; (d)DISCH.ARGE OR SUSPENSION for failure to obey orders, rules, or instructions, or for
failure to discharge the duties for which employed.

OR, you must have returned to work and have earned insured wages equal to at least 12 times
the weekly amount of your claim since DISCHARGE OR SUSPENSION for intentional conduct
involving theft of property, goods, or money valued at Sl 00.00 or less, or intentional conduct on
the premises of the employer or while on the job, which results in a physical assault upon or bodily
injury to the employer, fellow employees, customers, patients, bystanders, or the eventual consumer
of products.

OR, you must have returned to work and have earned insured wages equal to at least 16 times
the weekly amount of your claim since DISCHARGE OR SUSPENSION for intentional conduct
involving property loss or damages amounting to S2,000.00 or more; for theft of property, goods,
or money valued at over Sl 00.00; or for sabotage or embezzlement.

YOU CANNOT BE PAID UNEMPLOYMENT INSURANCE for any week in which you are (a)on
vacation or leave of absence at your own request; (b)receiving wages in lieu of notice, vacation pay
or Worker's Compensation for temporary total or temporary partial disability; or (c)out of work due
to a labor dispute.

OCGA Section 34-8-122
PRIVILEGED STATUS          OF LETTERS, REPORTS, ETC.,          RELATING TO ADMINISTRATION OF
CHAPTER - "All letters, reports, communications, or any other matters, either oral or written, from
the employer or employee to each other or to the Department of Labor or any of its agents,
representatives or employees, which letters, reports, or other communications shall have been
written, sent, delivered, or made in connection with the requirements of the administration of this
chapter, shall be absolutely privileged and shall not be made the subject matter or basis for any
action for slander or libel in any court of the State of Georgia."
If you have any questions about your unemployment claim, you may call Unemployment Insurance
Customer Service at 1-877-709-8 185. Delay could affect your future eligibility.
       Case 1:25-cv-00706-TRJ-CMS                                Document 1               Filed 02/12/25             Page 30 of 145




                                                                     State of Georgia
                                                                    Department of Labor
                                                              SEPARATION NOTICE

1. Employee's Name Doretta Barner                   Employee ID Number 1049093                            2. SSN xxx-xx-3012
   a. State any other name(s) under which employee worked.
3. Period of Last Employment: From 06/23/97 To 11/17/23
4. REASON FOR SEPARATION:
    a. LACK OF WORK.           D
    b. If for other than lack of work, state fully and clearly the circumstances of the separation: Professionalism-Inappropriate Conduct


5. Employee received payment for: (Severance Pay, Separation Pay, Wages-In-Lieu of Notice, bonus, profit
    sharing, etc.) (DO NOT include vacation pay or earned wages)

    ---~N~ot~K~n~o~w~n~_ _ in the amount of$                 Not Known         for period from                                      Not Known
           (type of payment)

    Date above payment(s) was/will be issued to employee                       Not Known

    IF EMPLOYEE RETIRED, furnish amount of retirement pay and what percentage of contributions were paid by the employer.
            Not Known           per month      Not Known       % of contributions paid by employer

6. Did this employee earn at least $7,300.00 in your employ?                YES X       NO         If NO, how much? $ ~o_________

                                                                                                    Average Weekly Wage $ 0.00
Employer's      Wells Fargo & Company
Name---~c~/o~E-q=ui~ra~x~W~or~k~fo~r~ce~S~ol=u~tio~n~s~----                         GA DOL. Account Number
                                                                                    I CERTIFY that the above worker has been separated from work
Mailing                                                                             and the information furnished hereon is true and correct.
Address. _ _ _.:...P-=O"-'B==-'o""x;..,1.:...:8=-=2=-=3-=6-=-6==
                                                             . ~~--------           This report has been handed to or mailed to the worker.
                                (Street or RFD)
City_ _ _ _ _C~ol=u~m~b~u~s_ _ _.State            OH          43218
                                                              ZIP Code                                    Stacey Lynch
Employer's
Telephone No .. 614-658-3080                                                               Signature of Official, Employee of the Employer,
                  (Area Code)                    (Number)                                     or authorized agent for the employer

                     NOTICE TO EMPLOYER                                                                   Payroll Manager
At the time of separation , you are required by the Employment                                            Title of Person Signing
Security Law, OCGA Section 34-8-190(c), to provide the employee
with this document, properly executed, giving the reasons for
separation . If you subsequently receive a request for separation
information , you may attach a copy of this form (DOL-800) as a part                                          11/19/23
of your response.                                                                                Date Completed and Released to Employee


                                  NOTICE TO EMPLOYEE
  OCGA SECTION 34-8-190(c) OF THE EMPLOYMENT SECURITY LAW REQUIRES THAT YOU TAKE
  THIS NOTICE TO THE GEORGIA DEPARTMENT OF LABOR FIELD SERVICE OFFICE IF YOU FILE A
  CLAIM FOR UNEMPLOYMENT INSURANCE BENEFITS.

                                                                                                                                    DOL-800 (R-7/21)




                                                                II I111111111111111
                                                                *   N D O 4 0 0 O 3 •
                            Case 1:25-cv-00706-TRJ-CMS                                                                   Document 1                  Filed 02/12/25             Page 31 of 145


   Fax Call Repor t                                                                                                                     HP PageWide Color Flow E58650
                                                                                                                                                                                              Page 1




Fax Header Information
Kaiser Permanente
6786103704
Sep/25/2023 11:01:38 AM



    Sep/2512023 10·56:15 AM                                                     Kaiser Permanente 6786 103704



      ~ KAISER PERMANENTE..                                                       Patient Name:              7)c:,,-~..ftq ~ ~~                                            l(
                (*Kaiser Permanente entities are                                  Medical Record pum~r: 0                 a§
                                                                                                                 $ 7 i qh Date:                              C-a..&'10 .
                 listedonreverse sideoftnisform)                                  Address: CftlJ<n (JJl)ol) 6fEc..N            Y
      AUTHORIZATION FOR USE                                                       City: -:so-N<s /!;D f,:o               State:                        GA
      OR DISCLOSURE OF PATIENT                                                    ZipCode:3D ?..Sr                y
                                                                                                           Phone#: (7'JD) {1 o ?r~l=j~2--;:)__--
                                                                                                                                                              2
      HEALTH INFORMATION .                     E l 7:J r-~ Hq 7:::a N f G                                                               q.   ma, f 'e oM
      Note: Fees may apply to certain requests mai · 0             r                                                                    r        ~ --




         This disclosure can be used for the followlng purpose(s): □ Personal Use □ Legal □ Insurance
         □ Medical Treatment      □ Medical Condition Verification □ Disability □ FMLA □ Workers' Comp
         Check ONLY one of the following three options to identify the health information to be released.
         □ Option 1: Form Completion (a substitute form or relevant medical records may be released)
         □ Option 2: Last 2 years of Kaiser Permanente Medical Office and Kaiser Foundation Hospital
                                                                                                        records
         □ Option 3: Records as specified. You must complete Step 1 and Step 2 below.
           Step 1. Enter date range or date(s) of the records to be released:                                                 '7 - / /- ;), () J3
           Step 2. Select types of records to be released:
                            \:t
                      KP Medical Office      □ Kaiser Foundation Hospital □ Immunization l:sl- Lab Results
                   Cf Diagnostic Images □ Copays & Deductibles                □ Itemized Billing Bi'Pharmacy
                   □ Other (provider, department, specialty):

        NOTE: Hospital and Medical Office records released as part of this authorization may contain references
                related to mental health, addiction, and HIV medical conditions.
        Check the boxes below If you want this release to include the following Information, Otherwise,
        this Information will be excluded.
        □ Mental Health Treatment Records □ Addiction Medicine Treat ent Records □ HIV
                                                                                                 Test Results
        Media Type:                    Electronic                  □ Paper          Delivery Preference:
                                                                                                      □ Mail      □ Pickup
        DURATION: Authorization shall remain in effect for one year from the date of signature below. However, in
        Washington, D.C. permission to release addiction medicine treatment records expires after six {6) months.
        REVOCATION: You or your personal representative may cancel this authorization for future releases by submitting
        a written request to the Release of Information Unit listed for your region of service on the reverse side of this form.
       Your cancellation will not affect infonnation that was released prior to receipt of the written request.
       REDISCLOSURE: Once this information is released, it may not be protected under federal privacy law (HIPAA).
       State or other federal law ma r uire the reel lent to obtain our authorization before further discfosure.
       Kaiser Permanente may not condition treatment, payment, enrollment, or eligibility for benefits on whether you sign
       this authorization. This disclosure is made at your request. For Virginia patients, a copy of this authorization, and
       note stating to whom your information was disclosed will be included in your medical record. A copy of the originala
      ·authorization is valid. Yf'O'tlave a right to a copy of this completed authorization.

     915-WD ""Si,-gn'~
    Date             ~l!'-tu~re_,........_                                ,~_.,,.
                                                                      ___,,.... ' p"fhhJL4
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                                                                                   -,,,,vv,-.,,027
                                                                                               ,-ff-,,'-l\1----
                                                                                                                     If personal representative, print name/relationship
    ~ (2·18) SPANISH-+$-1614: CHINES&NS-6274
    NCAL:9025l(REV,2-Ull 8PAN.ISH 017112-000:Q-ilNESE 017tr-OCl2                     OR/C,INAL • OtSCl.091N8 PARTY    CANARY. PATIENT




Sep/25/2023 11 :01 :39 AM                                                                                                                                                                 English (United States)
               Case 1:25-cv-00706-TRJ-CMS Document 1 Filed 02/12/25                                                                   Page 32 of 145
                                    Certification of Health Care Provider
                                  For Employee's Serious Health Condition
                                        (Family and Medical Leave Act)


n         Lincoln
          Financial Group®
                                                                         Lincoln Financial Group
                                                                        Leave Service Department
                                                                            P.O. Box 49410
                                                                            Charlotte, NC 28277
                                                                            Phone: (866) 213-2937
                                                                            Fax: 866-214-7839



 Wells Fargo & Company                                                                                                                           Leave ID#: 14739155


Employee Name: DORETTA BARNER




Leave Request: 09/15/2023                                                           Begin Date: 09/09/2023                           End Date: 09/24/2023
 Leave Type: a leave of absence due to your own medical                             Leave Reason: Hospital care
 conct1t1on

       INSTRUCTIONS TO EMPLOYEE : Please complete above and Section I before providing this form to your medical provider. This
       form will need to be completed and returned to Lincoln Financial Group in order for a decision to be rendered on your leave of absence
       request. The FMLA permits an employer to require that you submit a medical cenification to suppon a request for FMLA leave. Failure
       to provide a complete and sufficient medical form in a timely manner may result in a denial.

          +•1°1°1°1°1°1°1"""'SECTION I: TO BE COMPLETED BY EMPLOYEE/PATIENT+++++++++++++++++++++++++++++++++++++++




       ++++++++++SECTION II: TO BE COMPLETED BY A QUALIFIED HEALTH CARE PROVIDER+++++++++++++++++o++
       INSTRUCTIONS TO THE HEALTH CARE PROVIDER : Your patient has requested leave under the FMLA. Please answer all
       questions so a determination for FMLA coverage can be made.

       For residents of California, do not disclose the underlying diagnosis unless you have received consent from the patient.

       Note: The Genetic Information Nondiscrimination Act of 2008 (GINA) prohibits employers and other entities covered by GINA Tide II
       from requesting or requiring genetic information of an individual or family member of the individual, except as specifically allowed by
       this law . To comply with this law, we are asking that you not provide any genetic information when responding to this request for
       medical information . 'Genetic Information' as defined by GINA, includes an individual's family medical history, the results of an
       individual's or family member's genetic tests, the fact that an individual or an individual's family member sought or received genetic
       services, and genetic information of a fetus carried by an individual or an individual's family member or an embryo lawfully held by an
       individual or family member receiving assistive reproductive services.


1. MEDICAL FACTS/TREATMENT:
   A serious health condition is an illness, injury, impairment, or physical or mental condition that involves inpatient care or continuing
   treatment by a health care provider.

   (IA) : Describe the patient's medical facts related to the serious health conditio (providers i,n C
          underlying diagnosis without patient's prior approval): .....J.--f--"'4"'"'=~ <:"7-----,f---'-.'-'-'<,..ll'-'--f-
                                                                                                                         ~.µ..--'-t..J...:.__i."-;,....::;:,,_._ _ _ _ _ _ _ __




          IF the medical condition is pregnancy , please provide the expected delivery date: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

   (18) Was the patient seen within seven (7) days of the requested leave begin date?                                         YES □ NO □
   (lC) Was any medication prescribed (over-the-counter medication does not apply)?                                           YES 0 NO □
   (ID) Will the patient need to have treatment visits at least twice per year due to the condition?                          YES □ NO           □
        If yes, provide the actual or estimated dates of treatment:
   (IE) Was the patient admitted for an overnight stay in a hospital, hospice, or medical care facility?                       YES □ NO          □
        If yes , please provide: Admission date:                      Discharge date:
   (IF) Was the patient referred to another health care provider(s) for evaluation or treatment?                              YES □ NO □
        If yes, type of provider (e.g. neurologist, cardiologist):
        Nature of the treatment
                        Case 1:25-cv-00706-TRJ-CMS                               Document 1                Filed 02/12/25               Page 33 of 145


        Leave ID#: 14739155                                                                                                                              (Page 2 of 2)

        2. LEAVE TYPE/DURATION/FREQUENCY : Select a leave type and provide all required information .
           An answer must be provided for each category :
           Leave Type: intermittent, reduced work schedule and/or continuous
           Leave Dates : leave begin date and end date
           Freguency (if intermittent/reduced work schedule): estimate time the employee may need to miss work as a result of the serious health condition.
           Be as specific as you can; terms such as "n/a," "unknown," "undetermined," or "as needed" are not acceptable.

            Note: For an extension : If you anticipate any gaps in time from the end date shown on page one (1) and begin date provided below .

            (2A)     D Continuous: Continuous leave is defined as one single period for more than three (3) consecutive, full calendar days,
                          unless hospitalized.
                         Leave Dates: Leave begin date : _ _ _ _ _ _ _ _ _ _ _ _ _ Leave end date: _ _ _ _ _ _ _ _ _ _ _ __

                        AND/OR
                        (Complete both boxes ONLY if an intermittent or reduced work schedule AND a continuous leave is needed.)


            (2B)     D Intermittent: Intermittent leave is defined as recurring absences taken at separate periods of time .
~                       Leave Dates: Leave begin date: _ _ _ _ _ _ _ _ _ _ _ Leave end date: _ _ _ _ _ _ _ _ _ _ _ __
illa.                   Frequency: Based on your medical knowledge, experience, and examination of the patient, please estimate a frequency of leave.
IL
_J
0                       If unknown, a reasonable range should be provided. Only provide one selection from the options below:
~
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8
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                        Frequency: _ _ _ _ _ times per _ _ _ _ _ week(s) OR _ _ _ _ _ month(s)

                        Duration: _ __ ___ hours OR _ _ _ _ _ _ day(s) per episode


           (2C)      D Reduced Work Schedule: It will be medically necessary for the patient to work a reduced work schedule as a result of the medical
                        condition. Provide the following details regarding the hours the patient is able to work.
                        Leave Dates: Leave begin date: _ _ _ _ _ _ _ _ _ _ _ Leave end date: _ _ _ _ _ _ _ _ _ _ _ __

                        Number of hours patient can work each day:
                        Number of hours patient can work each week: _ _ _ _ _ _ _ _ __

                        Recommended duration for the reduced work schedule outlined above.

                         D 90 Days              D 6Months              D 1 Year              D Other (Please indicate): _ _ _ _ _ _ _ __ _ __

        3. ABSENCE FROM WORK: Check ALL that apply. As a result of the stated serious health condition(s) it is medically necessary for the patient
           to be absent from work:

                     D Due to incapacity caused by possible episodic flare-ups (of a chronic condition)
                     D To attend follow -up treatment appointments.
                        Probable number of treatments needed:                    probable interval of treatments needed : _ _ _ _ _ _ _ _ __
                        Actual dates of treatment: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Time period of recovery from treatment: _ _ _ _ _ _ _ _ __



         l certify by signing below that the information provided in this medical certification (2 pages) is accurate to the best of my knowledge.

         Signature of Provider: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Dace:
         Print Provider Name: _ __ __ _ _ _ __ _ _ _ _ __ _ _ _ _ _ _ __ _                                             Tel: ( _ _ _ ) _ _ _ _ _ _ _ _ _ __

         Medical Credentials (Example: MD, DO, "'DC):_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Fax:( _ _ _ ) _ _ _ _ _ _ _ _ _ __
                   "'IF the medical credential above is listed as " DC." please confirm if x-rays have been taken for the patient's condition?
                   YES □        NO □

        Please Fax the completed medical form to Lincoln Financial Group at the number listed at the top of this page and retain a copy of this form and a
        printed fax confirmation of delivery for your records . If you have any questions , please call Leave Services at the number at the top of this page. If
        you prefer, this form can be mailed to Leave Services at the address at the top of this page.
                 Case 1:25-cv-00706-TRJ-CMS                      Document 1            Filed 02/12/25           Page 34 of 145
                                                                                       The Lincoln National Life Insurance Company
                                                                                       Di sability Claims
                                                                                                                                                    ~
                                                                                       P.O. Box 2578
                                                                                       Omaha, NE 68103-2578
                                                                                       Phone: (866) 213-2937
                                                                                       Secure Fax No.: (603) 422-011 9



                                        AUTHORIZATION TO OBTAJN AND RELEASE INFORMAHON

        I a uthorize any licensed physician, medical provider, hospital, m edical facility, H:MO, pharmacy, government agency, including
        the Social Security Administration and Veterans Administration, insurance or reinsurance company, credit or con sumer
        reporting agency, financial/ educational institutions and any current or former employer to release any and all m edical
        information with respect to my p hysical or m ental condition and / or treatment of m e, including confidential information
        regarding AIDS/ HIV infection, communicable diseases, alcohol and substance abuse, me ntaJ health and any non-medical
        informa tion to the particular Co mpany in the Lincoln Financial Group (Lincoln Financial Group) to which I am submitting a
        claim, or to its legal representative, or to my employer, Wells Fargo (Pla n Spon sor) in its capacity as administrator of its short
        term disability bene fit plan and my leave request, or to p ersons or other organiza tions providing claims management services,
        including Wells Fargo Accommodations Management.

        I understand the informa tion obtained under this Authorization or directly from m e will be used to determine eligibility fo r
w       benefits, which may include assessing ongoing treatment. Any information obtained will not be released to any person or
        organizations EXCEPT to the Plan Sponsor, reinsuring companies, other companies in the Lincoln Financial Group to which I am
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        submittin g a claim, Employee Assistance Programs (EAP) or othe r disease managem ent or assistance p rograms providing
        services to the Plan Sponsor, persons or other organizations providing claims mana gem ent and claim advisory services to the
0
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        Plan Sponsor and / or to Lincoln Financial Group, the Plan Sponsor or its agents/ vendors for purposes of a uditing Lincoln
0
....J   Financial Group' s administration of claims and/ or assessing statistical claim data rela ted to its benefit programs, and persons or
<D
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0..     organizati ons providing m edical trea tmen t or services in connection with my claim for bene fi ts and / or my leave req uest
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....J
a,
        consistent wi th law .
lO
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0       If I receive a disability benefi t grea ter than that which I sh o uJ d ha ve been paid, I understand that Lincoln Financial Group
        and / or the Plan Sponsor has the right to recover su ch overpaym ent from me, including the right to reduce future disability
0
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        benefi ts, if any .

        I understand that a ny person who knowin gly, and w ith intent to injure, de fraud, or deceive Lincoln Financial Group and / or the
        Plan Sponsor, files a sta tement or claim containing any false, incomple te, or misleading inform a tion m ay be guilty of a criminal
        act punishable under law .

        I know tha t I m ay request a copy of this Authorization . I agree tha t a photographic copy of this Authoriza tion sha ll be as valid as
        the original. This Authorization shall becom e effecti ve on the da te appearing next to my signature below . I understand tha t this
        Authorization shall be valid for two years from the date appearing below w ith my signature and that I have the right to revoke
        this Authorization at any time by wri ting to Lincoln Financial Group a t the above address, except to the extent that action has
        been taken in reliance on it.


        1h~   +fa f;JofhJ_J/
        Team Member Name



        Team Member Signature (or Auth orized Repres'entative)




                                                                                                                             Claim Number
                                                                                                                   Wells Fargo STD DP402 08/09
                    Case 1:25-cv-00706-TRJ-CMS       Document 1       Filed 02/12/25     Page 35 of 145


                             What you need to know:
                             Lincoln Financial Group will continue to provide updates on any status changes
                             throughout your employee's leave.

                             Review all communications related to your employee's leave and perform any actions as
                             requested as soon as possible.

                             DO NOT TAKE ANY CORRECTIVE ACTION OR REPLACE THE EMPLOYEE'S
                             POSITION UNTIL CONSULTING WITH ER SOLUTIONS FIRST. Complete the
                             Employee Relations eform to request the consultation.

                             If you have any questions, contact the Lincoln Financial Group representative using the
                             information provided in the signature line below.
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I
a.
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       Sincerely,

~ {   Leave of Absence Team
g I   Phone: (866) 213-2937, option 3
8 \ Fax: 866-214-7839
    \ Email: wellsfargo@lfg.com
      "-,,
       Attachments: Certification of Health Care ovider Form
                    FMLA Rights
                    Medical Leave Guide for earn Members
                         ___________
                     andard
                      ...     Read Med F t Document




       Page3 of 3                                                                    COM0l_WellsFargo - 14739155
               Case 1:25-cv-00706-TRJ-CMS                             Document 1      Filed 02/12/25            Page 36 of 145
                                               Your Rights and Responsibilities Under the
                                               FAMILY AND MEDICAL LEA VE ACT
Basic Leave Entitlement                                                      incapacity due to pregnancy, or incapacity due to a chronic condition.
FMLA requires covered employers to provide up to 12 Weeks of                 Other conditions may meet the definition of continuing treatment.
unpaid, job protected leave to "eligible" employees for the following
reasons:                                                                     Use of Leave
                                                                             An employee does not need to use this leave entitlement in one block.
          For incapacity due to pregnancy, prenatal medical care or          Leave can be taken intermittently or on a reduced leave schedule when
           child birth;                                                      medically necessary. Employees must make reasonable efforts to schedule
          To care for the employee's child after birth, or placement         leave for planned medical treatments so as not to unduly disrupt the
          for adoption or foster care;
                                                                             employer's operations. Leave due to qualifying exigencies may also be
     • To care for the employee's spouse, son or daughter, or                taken on an intermittent basis.
          parent, wbo has a serious health condition; or
          For a serious health condition that makes the employee             Substitution of Paid leave for Unpaid Leave
          unable to perform the employee's job                               Employees may choose or employers may require use of accrued paid
                                                                             leave while taking FMLA leave. In order to use paid leave for FMLA
Military Family Leave Entitlement                                            leave, employees must comply with the employer's normal paid leave
Eligible employees with a spouse, son, daughter, or parent is on             policies.
covered active duty or call to covered active duty status may use their
12-week leave entitlement to address cenain qualifying exigencies.           Employee Responsibilities
Qualifying exigencies may include attending certain military events ,        Employees must provide 30 days advance notice of the need to take
arranging for alternative childcare, addressing certain financial and        FMLA leave when the need is foreseeable . When 30 days' notice is not
legal arrangements, attending cenain counseling sessions, and                possible, the employee must provide notice as soon as practicable and
attending post-deployment reintegration briefings .                          generally must comply with an employer's normal call-in procedures.
FMLA also includes a special leave entitlement that permits eligible         Employees must provide sufficient information for the employer to
employees to take up to 26 weeks of leave to care for a covered              determine if the leave may qualify or FMLA protection and the anticipated
servicemember during a single 12 month period. A covered                     timing and duration of the leave. Sufficient information may include that
servicemember is (1) a current member of the Armed Forces, including         the employee is unable to perform job functions ; the family member is
a member of the National Guard or Reserves, who is undergoing                unable to perform daily activities , the need for hospitalization or
medical treatment, recuperation or therapy, is otherwise in outpatient       continuing treatment by a health care provider, or circumstances
status, or is otherwise on the temporary disability retired list, for a      supporting the need for military family leave. Employees also must inform
serious injury or illness*; or (2) a veteran who was discharged or           the employer if the requested leave is for a reason for which FMLA leave
released under conditions other than dishonorable at any time during         was previously taken or certified. Employees also may be required to
the five year period prior to the first date the eligible employee takes     provide a cenification and periodic recertification supporting the need for
FMLA leave to care for the covered veteran, and who is undergoing            leave.
medical treatment, recuperation, or therapy for a serious injury or
illness.*                                                                    Employer Responsibilities
                                                                             Covered employers must inform employees requesting leave whether they
*The FMLA definitions of "serious injury or illness" for current             are eligible under FMLA. If they are, the notice must specify any
servicemembers and veterans are distinct from the FMLA definition of         additional information required as well as the employee's rights and
"serious health condition".
                                                                             responsibilities. If they are not eligible, the employer must provide a
BeneOts and Protection:                                                      reason for the ineligibility. Covered employers must inform employees if
 During FMLA leave, the employer must maintain the employee' s               leave will be designated as FMLA-protected and the amount of leave
health coverage under any "group health plan" on the same terms as if        counted against the employee' s leave entitlement. If the employer
the employee had continued to work. Upon return from FMLA leave,             determines that the leave is not FMLA-protected, the employer must notify
most employees must be restored to their original or equivalent              the employee.
positions with equivalent pay, benefits, and other employment terms .
                                                                             Unlawful Acts by Employers
Use of FMLA leave cannot result in the loss of any employment
benefit that accrued prior to the stan of an employee' s leave.              FMLA makes it unlawful for any employer to:
                                                                                  • Interfere with, restrain, or deny the exercise of any right provided
Eliglblllty Requirements                                                                underFMLA;
Employees are eligible if they have worked for a covered employer for             • Discharge or discriminate against any person for opposing any
at least one year, for 1250 hours over the previous 12 months*, and if                  practice made unlawful by FMLA or for involvement in any
at least 50 employees are employed by the employer within 75 miles.                     proceeding under or relating to FMLA.
*Special hours of service eligibility requirements apply to airline flight
                                                                             Enforcement
crew employees.                                                              An employee may file a complaint with the U.S. Department of Labor or
                                                                             may bring a private lawsuit against an employer. FMLA does not affect
Definition of Serious Health Condition                                       any Federal or State law prohibiting discrimination, or supersede any State
A serious health condition is an illness, injury, impairment, or physical    or local law or collective bargaining agreement which provides greater
or mental condition that involves either an overnight stay in a medical      family or medical leave rights.
care facility , or continuing treatment by a health care provider for a
condition that either prevents the employee from performing the               FMLA section 109 (29 U.S.C. § 2619) requires FMLA covered employers to
                                                                              post the text of this notice. Regulation 29 C.F.R. § 825.300(a) may require
functions of the employee's job, or prevents the qualified family
                                                                              additional disclosures.
member from panicipating in school or other daily activities.                 For additional Information:
Subject to certain conditions, the continuing treatment requirements
may be met by a period of incapacity of more than 3 consecutive               l -866-4US-WAGE (1-866-487-9243) TTY: 1-877-889-5627
calendar days combined with at least two visits to a health care              WWW.WAGEHOUR.DOL.GOV
provider or one visit and a regimen of continuing treatment, or                                           WH Publication 1420 Revised February 2013
            Case 1:25-cv-00706-TRJ-CMS              Document 1         Filed 02/12/25      Page 37 of 145
                                                                                                             WELLS
                                                                                                             FARGO
        Medical Leave guide for employees
        This guide explains your responsibilities as an employee while you are on a leave of absence.

        At the beginning   Notify your manager of the time you have requested for your leave and your expected
        of your leave      return date, if known.
                           Record accrued unused PTO in the absence application of Workday for any short-term
                           disability (STD) waiting period, if applicable.
                           Refer to the Paid Time Off (PTO) section under HR Services & Support for more information,
                           if you need additional time away from work outside of your leave of absence(s).
                           Give your health care provider a copy of the Medical Certification Form and ask him or her
                           to complete, date and sign it, and return to our claim and leave administrator, Lincoln
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                           Financial Group, as directed in its communications.
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                           Apply for State Disability Insurance (SDI) if you work in a participating state and forward a
~                          copy of your first SDI pay stub to our claim and leave administrator, Lincoln Financial Group.
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                           Review all correspondence sent to you by our claim and leave administrator, Lincoln
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18                         Financial Group, and perform any actions as requested.
8
§                          Cancel your commuter benefit elections (including parking, train, bus, subway, ferry or
                           vanpool) by calling HealthEquity member services at 1-877-924-3967.
                           Ensure you have a delegate established in My Concur and that all outstanding transactions
                           are addressed.
        During your        Stay in contact with your manager at key points during your leave. It is important for you to
        leave of absence   participate in two-way conversation(s) with your manager to help:
                                   Clarify when or if you will be able to return to work on the estimated return to work
                                   date
                                   Inform your manager of any help or accommodation that may allow you to return to
                                   work sooner
                                   Explain what kind of accommodation you will need when you return to work, if any
                           Verify that your health care provider has submitted all the paperwork that our leaves and
                           claims administrator requires to make a decision on the approval of your leave.
                           Read all communications you receive from our leaves and claims administrator. Be sure to
                           review all enclosures to understand your rights and responsibilities.
                           Review your approved-through date. If you are unable to return by the approved-through
                           date:
                                   Contact our claim and leave administrator at 1-877-HRWELLS (1-877-479-3557),
                                   to discuss extending your leave, which will require updated information from the
                                   health care provider. Refer to the medical certification guidelines under the
                                   Medical Leave section of the Employee Handbook for more information
                                   Advise your manager that you have requested an extension.
                           Record accrued unused PTO in the absence application of Workday if your leave of absence
                           is taken intermittently (Medical and Maternity Leaves only).
     Case 1:25-cv-00706-TRJ-CMS          Document 1         Filed 02/12/25       Page 38 of 145

              Make timely payments of your benefit premiums. You will receive a letter from the HR
              Service Center telling you how to continue your health and welfare benefit coverage and
              how to make payments while on an unpaid leave. If you have any questions about this
              process, contact the HR Service Center at 1-877-HRWELLS (1-877-479-3557).
              Remember if you have a court order that requires garnishment of your wages the court may
              allow for an exemption to the garnishment while you are on short-term disability. You may
              want to contact the court that issued the order to determine if an exemption is available to
              you and the next steps to take in order to request the exemption with the court.
              Please note, this type of exemption, generally, does not apply to child or spousal support
              orders.
              Contact your manager if you would like to take a one-time lump-sum payout of accrued,
              unused PTO during your approved leave of absence (this does not apply to employees on
              a Paid Parental Leave).
Your return   Contact your manager at least 5 calendar days before your return from leave date to confirm
fl'om leave   you will be returning as planned.
              Obtain a release to return to work note from your health care provider on or before your
              return; write your name and employee ID:
                   • fax it to Lincoln Financial Group at 1-866-214-7839 or mail it to:
                                   The Lincoln National Life Insurance Company Disability Claims
                                   PO Box 49410
                                   Charlotte, NC 28277
              Complete the fol.lowing if your health care provider has released you to return from leave
              with restrictions, including a reduced work schedule:
                      Contact your manager prior to your return, to advise him or her that you have
                      restrictions so a determination can be made about accommodating them
                      Contact our leaves and claims administrator, Lincoln Financial Group, at
                      1-877-HRWELLS (1-877-479-3557), to report your restrictions
                      Ensure your release to return to work note outlines your restrictions
               Conjinn with your manager that he or she has reported your return to the HR Service Center
               or through Workday unless you are returning with medical restrictions or on a reduced work
               schedule.
              Contact Accommodations Management at 1-877-HRWELLS (1-877-479-3557) if you and/or
              your manager need assistance exploring accommodations that can be made available to assist
              you with your return to work efforts. Accommodations Management is a resource available
              to employees with disabilities or medical restrictions to explore successful solutions and
              reasonable accommodations to successfully perform their jobs.
              Reapply for commuter subsidies, wnich include but are not limited to car allowance, parking
              allowance, or commuter express programs.
              Reenroll in your commuter benefit elections (including parking, train, bus, subway, ferry or
              vanpool) at https://participant.wageworks.com or by calling HealthEquity at l-877-924-3967,
              24 hours a day, 7 days a week, excluding some holidays.
              Remember, if you currently have an Internal Commercial Card, your account has been
              systematically deactivated immediately upon the beginning of your leave. After you have
              returned from leave, the card will be systematically reactivated if you are compliant with all
              Internal Commercial Card policies and procedures. If the account has been closed by
              Internal Commercial Card, it will not be reopened.
                Case 1:25-cv-00706-TRJ-CMS                  Document 1   Filed 02/12/25       Page 39 of 145




             What Is FMLA?                                                 Who Is Eligible?
             The Family Medical Leave Act (FMLA) is a Federal              To be eligible for FMLA employees must:
      .l9
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       cu
             mandated benefit which provides eligible employees            •   Work for a covered employer at least 12 months prior
       C     up to 12 weeks of unpaid job protection without the               to the start of the leave and
       cu
      a:i    threat of job loss. The Leave Specialist manages the
       0.                                                                  •   Satisfy at least l,250 hours during the 12 month
       ~     FMLA benefit and other Leave of Absences.
       e                                                                       period and
      C>                                                                   •   Work in a location where the employer has 50 or
             What Is Entitlement?                                              more employees within a 75-mile radius.
             Entitlement is 12 Weeks of unpaid, job protected
             leave provided to "eligible" employees for the               What is a Leave Specialist?
UJ

             following reasons:                                            A Leave Specialist is a Lincoln Financial Group
"'
~            • Incapacity due to Pregnancy and childbirth                  representative who manages and tracks your Leave of
8
0            •    Bonding with newborn baby, foster child or               Absences.
                  adopted child
~
83           • Care of a family member or self with serious
Cl.
~                 health condition                                         What is a Disability Case Manager (DCM)?
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~                                                                          A DCM is a Lincoln Financial Group representative who
8                                                                          manages your paid disability benefit.
8
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             What Is LOA?                                                  What is IVR?
             Leave of Absence (LOA) is an approved, unpaid                  The IVR is a computerized Interactive Voice Response
             absence from work. This absence can either be                 system that allows a computer to interact with human
             intermittent or continuous FMLA or coordinated                voice. The IVR will allow you to report an intermittent
             with a disability claim.                                      absence, report your return to work, and report a new
                                                                           Leave or Claim.

             What is Disability Insurance?                                 How do I REPORT INTERMITTENT TIME?
             Disability insurance provides supplemental income             Intermittent time can be submitted via
             while an eligible employee is out of work on an               www.MyLincolnPortal.com or using the IVR system.
             approved medical leave of absence (non-work                   Time can be reported 30 days in advance or within 7 days
                                                                           of your absence.
             related illness or injury). A disability claim is
             managed by a Disability Case Manager (DCM).
                                                                           What is My Lincoln Portal sM?
             What is an Intermittent Leave?                                A website dedicated to provide you 24/7 access to the
             An intermittent leave will allow unpaid, sporadic or          most up to date information on your Disability or Leave
             periodic absences from work, rather than leave of             request.
             absence involving a single absence of consecutive             •   Complete a onetime user registration and use
             days.                                                             company code Wells to create an account. Returning
                                                                               user will enter ID and password.
             What is a Frequency?
             The Frequency of an Intermittent FMLA leave is the            •   Click on View an Existing Claim or Leave and
             estimated rate that absences could occur as a result                  o Review Disability payments
             of a certified serious health condition which is                      o See Claim and Leave Status
             predicted by the physician .                                          o Get your leave entitlement balance
             What is a Continuous Leave?                                           o Report intermittent absences
                                                                                   o Review your Time Applied Report
             A continuous leave is a single unpaid leave of
             absence involving more than three consecutive days.



             n Lincoln
                    Cil"'l~nr:~1 f:rn, in•
            Case 1:25-cv-00706-TRJ-CMS                  Document 1         Filed 02/12/25   Page 40 of 145



      n    . col-
          Lm   !ill
          Financial Group•
                             GROUP BENEFITS DISABILITY CLAIMS
                             THE LINCOLN NATIONAL LIFE INSURANCE COMPANY
                             P.O. BOX 2578
                             OMAHA, NE 68172-9688




            000680 LFPB9WD1 000000

      DORETTA BARNER
      9106 WOODGREEN WAY
      JONESBORO, GA 30238-0000




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CJ)
  Case 1:25-cv-00706-TRJ-CMS           Document 1   Filed 02/12/25   Page 41 of 145
■ Wells Fargo
       HR Forms Fulfil lment
       MAC 01107-021
       87 40 Research Dr, 2'1d Floor
       Charlotte, NC 28262-8570




       Doretta Barner
       9106 Woodgreen Way
       Jonesboro, Georgia 30238
            Case 1:25-cv-00706-TRJ-CMS                Document 1       Filed 02/12/25     Page 42 of 145
                             Unemployment Insurance Benefit Determination
                                            Georgia Depar tment of Labo r
                                       148 Andrew Young Internat ional Blvd. NE
                                           Atlanta. Georgia 30303- 1 751




                  DORAETTE E BARNER
                  9106 WOODGREEN WAY
                  JONESBORO GA       30238

                                                                                        ***-**-3012


Weekly Benefit Amount           $365                       Date Mailed    12/06/23
Potential !\lumber of W eeks      14                       Appeal Rights Expirn 12/21/23
Maximum Benefit Amount         $5110
Your claim year begins on 11- 2 6- 2 3 and ends on 11 - 2 3- 2 4 . Your claim is based on wages paid from
07-01- 2 2 to O6- 3 0- 2 3 • Examine the wages carefully to be sure that they are reported correctly.
Unless an electronic or a written appeal is filed, this determination becomes final 15 days after the date it is
mailed to you. If the 15th day falls on a Saturday, Sunday or state holiday, the next work day will be
considered the 15th day for the purpose of filing an appeal. An appeal may be filed online at dol.georgia.gov,
in writing by email to appeals@gdol.ga.gov, or fax to 404 - 232 - 3901 or 404-2 32-3902. Refer to the Claimant
Handbook for more details.

       Employer                      JUL-SEP     22    OCT -DEC   22   JAN-MAR    23   APR-JUN   23        Total

 WELLS FARGO BANK NA                   $15022.00        $12725.59        $15257.55      $12463.77            $554 68.91




                                       $15022.00        $12725.59        $15257.55      $12463 .77           $554 68.91




            See back of this form for explanation of thi s monetary wage determination and other factors
                                     that affect your eligibility for benefits.
Go to www.wo rksourcegaportal.com to add or create a resume fo r job matches, receive job alerts, and
view job posti ngs from employe rs. Our partners at the Technical Coll ege System of Georgia (TCSG) can assist
yo u with yo ur empl oyment needs.                                                                DOL-4 11H(R-1 1 /23)
             Case 1:25-cv-00706-TRJ-CMS         Document 1      Filed 02/12/25     Page 43 of 145

1.   TO ESTABLISH A CLAIM
(a) You must have been paid wages covered by unemployment insurance tax in two or mor e quarters in the
period shown on your wage determination; and,
(b) The sum of your two highest quarters in your base period must equal at least S 1, 134; and,
(c) Your total wages must equal or exceed 1.5 times the total wages in your highest quar ter.**

     ** If the only reason a claim cannot be established is because of the 1.5 times requirement, an alternate
        calculat ion may be made as follows:
            ( 1) Wages in the highest quarter shown are divided by 2 1 to establish a weekly benef it amount
            (no more than the current maximum).
            (2) The total earnings must equal or exceed 40 times the established weekly bene fi t amount.

     NOTE: Only wages actually PAID in the period shown on your wage determination can be considered.
     If you earned wages during that period, but were not paid until after the period ended, those wages
     cannot be used on your claim.

2.   TO DETERMINE WEEKLY BENEFIT AMOUNT
When 1(a), (b), and (c) have been met, the wages in the two highest quarters will be divided by 42.
(Fractions of a dollar are disregarded.) For claims filed on or after 7 / 1/ 2019, the maximum weekly benefit
amount shall not exceed 5365.00.

3.    MAXIMUM AMOUNT AND NUMBER OF WEEKS OF BENEFITS: OCGA 34-8-19

GA 202 1 House Bill 1090 established a fluctuating maximum number of weeks of regular UI eligibility based
upon a designated average unemployment rate. The designated unemployment rate used to determine your
UI eligibility is D. This claim may be establ ished for up to 1.1_ times the weekly benefit amount or
1/ 4 of the wages shown on your wage determination, WHICHEVER IS LESS. Maximum Benefit Amount may
be adjusted to the nearest multiple of the weekly benefit amount. More information can be found at
https:/ / dol.georgia.gov / f aqs - individual s/ individual s- f aqs - unemployment-insur ance.


4.    ELIGIBILITY TO RECEIVE BENEFITS

Eligibility to receive the benefits shown on the other side of this form is determined by the r eason for
your separation from your "most recent employer". This is not necessarily your LAST employer. The "most
recent employer" w ill be determined according to the law.


5.   WEEK-TO-WEEK ELIGIBILITY

If you are eligible to receive benefits based on the reason for separation, your continued eligibil ity is based
on your week - to-week ability to work, availabil ity for work and search for work. Refusal of any work or
job referrals or failure to report as scheduled may also affect your eligibility at any time during your claim.




               ADDITIONAL INFORMATION CAN BE FOUND IN YOUR CLAIMANT HANDBOOK
                               www.dol.state.ga.us/pdf I dol4 14.pdf




                                                                                                   MD0 6 4L
                                                                                                 DOL - 4 1 1H(6/23)
                 Case 1:25-cv-00706-TRJ-CMS                           Document 1              Filed 02/12/25        Page 44 of 145




  Compensation Summary Statement                                                                                                           ■
  Employee Information

  Name                                                                          Doretta Barner
   Employee ID                                                                  00001049093
   2022 Performance Rating                                                      Meets
   2022 Job Tille                                                               Associate Operations Processor
   2023 Job Title                                                               Associate Operations Processor


  Completed 2022 Performance Year

         Base Salary at Yea r-End                                                             41 ,600 .00 USD


      Total Compensation*                                                                      41 ,600 .00 USD
      *Includes base salary, discretionary annual incentives and long-term incentives
      Does not include any awards under commission/production, transition or functiona l incentive plans.




  2023 Base Salary

         Base Salary Increase*                                                                    416.00 USD                     (1.00%)
         Annual Base Salary                                                                    42 ,016.00 USO

      *Includes merit, required adjustments, promotional increases, and changes to base pay during the Compensation Review process.




Jan 25, 2023 11 :25 AM
                   Case 1:25-cv-00706-TRJ-CMS                                 Document 1                Filed 02/12/25                Page 45 of 145



   Footnotes
   This statement is for information purposes only. The above amounts wi ll be subject to relevant deductions for tax and socia l security contributions (if such deductions
   apply in you r jurisdiction) along with any other deductions requi red or permitted by law, and any required approvals. All amou nts are shown to the nearest whole unit.
   For employees paid on an hourly basis your annual base salary amounts are calculated based upon your hou rl y rate and your standa rd work hours per wee k. The
   effective dates of base sa lary and job title changes for the current performance year (if any) typica lly occur within the month of February. Specific dates vary by location.
   Discretionary awa rds or payments received in any one year do not guarantee receipt of such awa rd or payments in subsequ ent yea rs.




Jan 25 , 2023 11 :25 AM
-   . Case 1:25-cv-00706-TRJ-CMS Document 1 Filed 02/12/25 Page 46 of 145

Workp lace Condu ct
    Team Member Handbook

     ~ Team Member
    /3 · Professionalism

As an employee, you are expected to do what's right, be great at execution, advance work initiatives, and
be accountable for your actions. Refra in from obscene, threatening, harassing, discriminatory, or abusive
conduct that is likely to damage Wells Fargo's business or reputation, negatively affect coworkers, or that
could be disparaging to customers.

Providing feedback or en gaging in open, honest, robust, and direct communication to improve individ ua l
and organizational performance is a demonstration of the company's expectation of embracing candor
and is not considered to be inappropriate conduct or a violation of this policy.

The way you handle interactions and communicate with others is important to the success of your team
and the company. You 're expected to treat customers and coworkers with respect and professionalism.
You are also expected to treat you r supervisor and other managers with respect and to
avoid insubordinate behavior.

Visit Who We Are on Teamworks to explore expectations that apply to everyone at Wells Fargo, at every
level and every role.

You r actions must always reflect the highest possible standards of business conduct and ethics. You 're
expected to use good judgment, integrity, and common sense in making work-related decisions and to be
accountable for your actions. This includes avoiding conduct that is likely to damage Wells Fargo's
business or reputation.

Unprofessional and inappropriate employee behavior includes but is not limited to :

      •       Any form of harassment or behavior that creates an intimidating or offensive work environment.
              See the related Anti-Harassment article for U.S. policy, or refer to applicable country policies as
              needed.
      •       Abusive behavior or conduct including verbal abuse, insults, name calling, deliberate attempts to
              humiliate or demean another, or re peated instances of disrespectful interruptions.
      •       Obscene language or repeated use of profanity.
      •       It may also include conduct that is welcome between employees but is inappropriate in the
              workp lace or during work-related activities

          •     Outbursts
          •     Yelling
          •      Rudeness
          •      Bullying
          •      Distracting behavior during work time (such as being on your electronic or mobile device)
          •     Conduct that interferes with your or another team member's abil ity to perform job duties or
                provide effective customer service (see Violence-Free Workplace )
              It may also inclu de conduct that is welcome between team members but is inappropriate in the
              workplace or at work-related events. Exhibiting unprofessional and inappropriate workplace
              behavior violates Wells Fargo's policies.
       Case 1:25-cv-00706-TRJ-CMS                  Document 1        Filed 02/12/25        Page 47 of 145         .-

             Insubordination
             Includes but is not limited to situations when:

         •    A team member fails or refuses to follow a manager's lawful instructions or perform assigned
              work.
         •    A team member refuses to stop an activity, behavior, or language that a manager has directed
              him or her to stop.
         •    A team member's language or verbal or physical conduct in the workplace is openly hostile or
              inappropriate.




    Providing information

    Each report of a violation of this policy will be evaluated, and details of the situation explored. Wells Fargo
    may need to conduct a review of these concerns. If you 're asked to be part of such a process, you 're
    expected to cooperate fully and honestly and not to interfere with the integrity of the process. In certain
    situations, you may be placed on admin istrative leave. For more information, see the related article :
    Adm inistrative Leave.

    Remembe r, the company does not tolerate any form of retaliation or other negative actions fo r speaking
    up or participating in the process to report and research a concern.

    Review the Speak Up and Non-retaliation Policy in the Policy Library for detailed requirements



    Immediate Termination

    Employment may be terminated immediately if you engage in illegal conduct on Wells Fargo
    premises or if your performance or conduct is such that continued employment would no
    longer be in the best interest of Wells Fargo. Examples of conduct that may result in
    immediate termination of employment include but aren't limited to:
•    Certain violations of the Wells Fargo Code of Ethics and Business Conduct .
•    Certain violations of the Wells Fargo Risk Management Accountabi lity Policy .
•    Certain violations of the Wells Fargo Information Security Policy .
•    Violation of the standards for appropriate workplace behavior described in the Team
     Member Professionalism section of the handbook.

    Consequences

    Failure to meet these expectations can lead to a corrective action, which may affect your elig ibility fo r pay
    increases, promotions, or transfer opportun ities, or result in the adjustment or elimination of bonu s and
    incentive payments (in accordance with your incentive plan terms) . In addition, the corrective actio n may
    affect your annual performance evaluation and ratings overall or for individual objectives.

    Important:. Failure to observe all aspects of the policies outlined here, including failure to participate
    fully and honestly in any investigative or fact-finding process initiated by Wells Fargo, can result in
    corrective action, which may include term ination of your employment. For more information, see the
    related article: Co rrective Action Overview.
    Case 1:25-cv-00706-TRJ-CMS   Document 1    Filed 02/12/25   Page 48 of 145
•




Team Member Signature                   Date




Manager Signature                               Date
                  Case 1:25-cv-00706-TRJ-CMS                                              Document 1       Filed 02/12/25                         Page 49 of 145
        {f;•Riverwoods
          ~        BEHAVIORAL HEALTH
        223 MEDICAL CENTER DRIVE I RIVERDALE GA 30274-2460

                                   STATEMENT
        G) Call us at: (770) 000-0692                                                                                           Statement Date: 10/17/2023
              Visit us at: www.riverwoodsbehavioral.com
                                                                                                                 Account Number                         Due Date             Amount Due Amount Pai1
                                                                                                                     1541423                           11/01/2023             $1 ,134.40 $
                                      Addressee                                              Page 1 of 1          Please make checks payable and remit to:

         1•11 1111·1111• 1111· 1111111 11· I· 1111· 1••·11 1111 11 •111 111 •1111 11•''                     1• 11•11 11 111 •I 1111 111 11 ·1· 11111• 111 1ll1 •1 11•11·111 11 •• 11l ·1·•1 11 1
               DORETTA BARNER                                                                               RIVERWOODS BEHAV HEALTH
               9106 WOODGREEN WAY                                                                           223 MEDICAL CENTER DRIVE
               JONESBORO GA 30238-4534                                                                      RIVERDALE GA 30274-2460




O Check if address/insurance changes are on back
                                                                                                                             Please detach and return top portion with payment.
     Account Number                                                       Patient Name                                      Statement Date                                          Due Date

           1541423                                                  DORETTA BARNER                                              10/17/2023                                        11/01 /2023


        Date                                                                               Service Description                                                                               Amount

                                Patient Name: DORETTA BARNER
                                Guarantor Number: 0048049 INS : KAISER PERMANENTE
                                Date of Service: 09/15/2023


                                Balance Forward                                                                                                                                                    $11 ,200.00
     09/19/2023                 CA HMO-PPO - IP PSY                                                                                                                                                -$7,256.00
     09/27/2023                 PMT HMO/PPO                                                                                                                                                        -$2 ,693.60
                                INSURANCE PENDING                                                                                                                                                    $116.00
                                ***TOTAL DUE***                                                                                                                                                     $1,134.40




 MESSAGES

                                                                                                                           Total Charges ............... ... ......... ... ................ $0.00
                                                                                                                           Total Payments/Adjustments .. ............ -$9, 949.60



                                                                                                                      AMOUNT DUE:                                         $1,134.40
P3J200 28005                                                                                                                                                                       ■
                     Case 1:25-cv-00706-TRJ-CMS                                         Document 1 Filed 02/12/25 Page 50 of 145
   RELATION INSURANCE, INC.                                                            ADDITIONAL IMPORTANT INFORMATION ON BACK:_.
   1200 RIVERPLACE BLVD.
   SUITE 917                                                                                                                                                                       I
                                                                                                                                                                    ~N
   JACKSONVlLLE, FL 32207-1806

   Return Service Requested
                                                                                          202309250 11 3

                                                                                                                                                                     :      t...
                                                                                                                                                                            0

                                                        MIXED AADC 303
        2252     □ -5738       MB      □ .558                                                                EXPLANATION OF BENEFITS
                                                                                                             THlS IS NOT A BILL- FOR INFORMATION ONLY
       I11 1111 11II11 111 11 1111 111111 1111 1••111•11 ••11111 1111 11 11•11 11 1I11
        DORETTA BARNER                                                            71
        9106 WOODGREEN WAY
        JONESBORO, GA 30238-4534
                                                                                                             GROUP NAME: KP GA COMMERCIAL 20% COPAY
                                                                                                             PATIENT NAME: DORETTA BARNER
                                                                                                             PATIENT ID: 226858
                                                                                                             CLA IM NO.: 202326479558500
                                                                                                             BENEFIT PLAN: 60       KP GEORGIA PLAN
                                                                                                             PROVIDER ID: 0000606088-01 VETERANS MEDICAL
                                                                                                             TRANSPORT
                                                                                                             DA TE PROCESSED: 09/25/2023



 TYPE OF SERVICE                 AMOUNT                       AMT NOT                    REMARK              AMT         DEDUCTIBLE         MEMBER            AMOUNT
 SERVICE DATE(S)                 CHARGED                      ELIG IBL E                 CODES*            ELIGIBLE                        COST SHARE          PAID
 TRANSPORTATION SERVICES                                                  0.00                                  280.00           0.00                  0.00       280.00
 9/1 1-11 /23            280.00
 TRANSPORTATION SERVICES                                                  0.00                                   74.25           0.00                  0.00        74.25
 9/ 11-11 /23            74.25
 TRANSPORTATION SERVICES                                                  0.00                                    4.00           0.00                  0.00         4.00
 9/ll-11 /23                                 4.00
 TRANSPORTATION SERVICES                                                  0.00                                  165.00           0.00                  0.00       165.00
 9/11-11 /23             165.00

       TOTALS            :                523 .25                          0.00                                 523.25           0.00                  0.00       523 .25

YOUR OBLIGATION               : 0.00                                                                          BENEFITS PAJD TO PROVID ER    : 523.25


Relation Insurance - RIS is a third-party administrator who processes ambulance claims on behalf of Kaiser-Permanente.
            Case 1:25-cv-00706-TRJ-CMS                 Document 1      Filed 02/12/25       Page 51 of 145 Page 1 of 2

Appointment Information

Name:            Barner, Doretta                       MRN :         0226858
                                                       Needs lnterp: No [2]
Date:            9/20/2023                             Status:       Sch
Appt Time:       3:00 PM                               Length:       20
Visit Type:      OFFICE VISIT ROUTINE 20               Copay:        $30.00
                 [981)
Provider:        Goldenberg , Md Viviana I, M.D.     Department:     FO INTERNAL MEDICINE A
Referral                                             Referral
Number:                                              Status:
Notes:           Post hospital follow up; bcn : 770-603-1232
Made On:         9/15/2023 2:31 PM                   By:             MITCHELL, CHRISTINE [X 123678) (ES)


Follow Up Information

Follow-up
Disposition
Diagnostic Follow
up:
lnstrucions:
Check Out
Comments:


Appointment Instructions

Patient Instructions
Visit Type:               OFFICE VISIT ROUTINE 20
                          For your visit, please be prepared to discuss all medications you are taking.
Panel :
Directions
Location Instruction:
From Sign In Desk:        FO INTERNAL MEDICINE A - Please have a seat in the lobby and we will notify you wh en
                          your provider is ready to see you .


Patient Demographics for BARNER, DORETTA [0226858]

DOB:                    6/26/1964                              SSN :             xxx-xx-xxxx
Age:                    59 yrs                                 Sex:              Female
Home Phone:             770-603-1232                           Work Phone:       7/iJ CT ~
Address:                9106 WOODGREEN WAY                     E-Mail:           Barnerdoretta@gmail .com
City/State/Zip:         Jonesboro, GA 30238-4534
Perm Comments:


Appointment Interpreter Information

lnterp Status:                          lnterp Type:                           Pref Lang:   English [1]



I
Vendor:                                 Ext. lnterp:                           lntr Needed: None


Overruled Appointment Warnings



                                     Printed by MITCHELL, CHRISTINE [Xl23678] at 9/15/2023 11 :31 :26 AM
          Case 1:25-cv-00706-TRJ-CMS         Document 1     Filed 02/12/25     Page 52 of 145 Page 2 of 2

Warning                          User              Reason                          Comment
Length Different From Slot [3]   MITCHELL,
                                 CHRISTINE
Block Conflict [17]              MITCHELL,
                                 CHRISTINE


Event Tracking Log

Event Name                       User            Date & Time        Comments
Appointment Scheduled            MITCHELL,       9/15/23 2 :31 PM
                                 CHRISTINE




                                 Printed by MITCHELL, CHRISTINE [X123678] at 9/ 15/2023 11 :31 :26 AM
                  Case 1:25-cv-00706-TRJ-CMS      Document
                                      Riverwoods Behavioral    1 Filed 02/12/25
                                                            Health                                                    Page 53 of 145
                                                                      9/15/2023
Name:BARNER, DORETTA                                 Account#: 1541423          M/R #: 2337 10       Admit Date : 9/11/2023       Room: SUPP01135A
Ph ysician : Foxworth, Beau                          Age : 59Y                  Sex: Female          Weight :                     Birth Date: 6/26/1964
Host Hospital M/R #: 2337 10                                                    Host Hospital Acco unt: 1541423
All eroi es: No Known Druo Alleroies                                            Diaonosis:


M~ Crisis Safety...,P...,la__n___________________ ______~ - - - - - -
   Recognizing my warning signs and use coping skills to keep myself safe and healthy.
   Triggers and Stressors : Behaviors situations and circumstances that ut me at emotional risk.
     1:                           1-W_oc..cr__
                                             k-'-s--
                                                  tr--es:....:s_ _ _ _ _ _ _ _ __ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _----,
     2:                           Peo le ellin at me
     3:
     4:
   Warning Signs:                                            . k .increases.?
                           Whatd oes mv be havIor d o as my ns
     1:                           I become uoset
     2:                           I wa lk away
     3:                           I pray
     4:
   Things to do:          My go as
                                 I for hea IthIV be havIor:
     1:                           Med itate
     2:                           Pray
     3:                           Deeo breathino
     4:
   Support System ... Who can I call?
    1. National Suicide Prevention Lifeline 988
     2. Name:                    _V_in_c_e_
                                          nt__(~fr_ie_n_d~)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                     Phon e number: (678) 387 -8486
     3. Name:                                                                                                     Phon e Number:
                                                                                                                                 --------
     4. Name:                                                                                                     Phone Number: _ _ _ _ _ _ __
     5. Name:                                                                                                   Phone Number:
                                                                                                                                --------
   Firearms Safety:
    I understand that having firearms, or access to them, increases the chances of harming myself. I understand that firearms need to be safely disposed of
    or stored by someone else.
   PatienULegal Representative/Guardian/ Family/Support Person Signature:
     Signature:


     Date:                        9/15/2023             Tim e: 09:42 AM
     Name:                        Barner Doretta
                                 --~------------------------------
     □ Unable to Sign                            O Refu sed to Sign
  Phone Review w ith Legal Representative/ Guardian/ Family/ Support Person:
     Name:
     Date:                                              Time:
                                                                 ------
  Copy was provided to:
     0 Patient
     0 Legal Representative/Guard ian/ Fami ly Support Person
     0 Other


  Staff Signature - Intern
     Signature:                                                   Date:                      Time:
                                                                          9/15/2023                  09:44 AM
     Name:                        Leeks, Virg inia




Page 1 of    2                                                                                                                                09/15/2023 08:45:28
                 Case 1:25-cv-00706-TRJ-CMS      Document
                                     Riverwoods Behavioral    1 Filed 02/12/25
                                                           Health                                 Page 54 of 145
                                                     9/15/2023
Name:BARNER, DORETTA                 Account#: 1541 423      M/R #: 2337 10      Adm it Date: 9/1 1/2023   Room: SUPP0 1135A
Physicia n: Foxworth, Beau           Age: 59Y                Sex: Female        Weight :                   Birth Date: 6/26/1964
Host Hospita l M/R #: 23371 O                                Host Hospital Accou nt: 154 1423
Allerqies: No Known Druq Allerqies                           Diaonosis:

  ddendum
  Addendum


  Electronically Signed By:
  Virginia Leeks, MS LAPC NCC, 09/15/2023 09:43

  Form Audit:
  Update - Electronically Signed By: Virginia Leeks, MS LAPC NCC, 09/15/2023 09:45
  Complete - Electronically Signed By: Virginia Leeks, MS LAPC NCC, 09/15/2023 09 :45




Page 2 of   2                                                                                                          09/ 15/2023 08:45:28
                                 Case 1:25-cv-00706-TRJ-CMS    Document
                                                       Discharge          1 Filed
                                                                 Reconciliation    02/12/25
                                                                                Report        Page 55
                                                                                       For BARNER,    of 145
                                                                                                   DORETTA
                                                              504 - Riverwoods Behavioral Health




CONTINUE THESE MEDICATIONS AT HOME

Medication                                    Dose    Route            Frequency         Last Given Date/Time   Morning   Afternoon   Evening     Bedtime
Escitalopram Oxalate (Escitalopram Oxalate)   5 mg    by mouth         *Daily             09/15/2023 9:38
Indication : major depressive disorder                                                                             ✓
Discharqe Instructions: take as ordered
hydroCHLOROthiazide                           50 mg   by mouth         *Daily             09/15/2023 9:38
(hydroCHLOROthiazide)
Indication: hypertension                                                                                           ✓
Discharge Instructions: Auto sub for
Chlorothalidone
amLODIPine BESYLATE (Norvasc)                 5 mg    by mouth         *Daily             09/15/2023 9:38
Indication: hypertension                                                                                           ✓
Discharae Instructions: take as ordered
ARIPiprazole (Ability)                        5 mg    by mouth         *Daily             09/15/2023 9:38
Indication : psychotic disorder                                                                                    ✓
Discharqe Instructions: I tab daily




Page 1 of   1                                                                                                                          09/15/2023 11 :28:06
                     Case 1:25-cv-00706-TRJ-CMS Document 1 Filed 02/12/25                             Page 56 of 145
                                             Prescription History
                                                    Riverwoods Behavioral Health
        Name:BARNER, DORETTA                   Account#: 1541423    M/R #: 233710    Adm it Date: 09/11/2023   Room: SUPP01135A
        Physician : Foxworth , Beau            Age: 59Y             Sex: F           Weight:                   Birth Date : 06/26/1964
        Host Hospital M/R #: 233710                                 Host Hospital Account: 1541423
        Allen::iies: No Known Druq Allerqies                        Diaqnosis:


Prescription Order       Description                               Status       Entered On     Completed On Sent to Pharmacy




Page 1 of   1                                                                                                             09/15/2023 11 :28:09
                     Case 1:25-cv-00706-TRJ-CMS Document 1 Filed 02/12/25                                       Page 57 of 145
09/15/2023 11 :28:19                     Patient Education Inquiry

   Name:BARNER,DORETTA                         Account#: 1541423            M/R #: 233710       Admit Date: 9/11/2023 Room: SUPP01135A
   Physician: Foxworth, Beau                   Age: 59Y                     Sex: Female         Weight:                  Birth Date: 6/26/1964
   Dru Name: Escitalo ram - Oral                                             Messa e: Careful! Read This Dru 's Patient Education Leaflet

   IMPORTANT: HOW TO USE THIS INFORMATION: This is a summary and does NOT have all possible information about this product. This
   information does not assure that this product is safe, effective, or appropriate for you. This information is not individual medical advice and
   does not substitute for the advice of your health care professional. Always ask your health care professional for complete information about
   this product and your specific health needs.

   ESCITALOPRAM - ORAL (ES-sye-TAL-oh-pram)

   COMMON BRAND NAME(S): Lexapro

   WARNING: Antidepressant medications are used to treat a variety of conditions, including depression and other mental/mood disorders.
   These medications can help prevent suicidal thoughts/attempts and provide other important benefits. However, studies have shown that a
   small number of people (especially people younger than 25) who take antidepressants for any condition may experience worsening
   depression, other mental/mood symptoms, or suicidal thoughts/attempts. It is very important to talk with the doctor about the risks and benefits
   of antidepressant medication (especially for people younger than 25), even if treatment is not for a mental/mood condition.
  Tell the doctor right away if you notice worsening depression/other psychiatric conditions, unusual behavior changes (including possible
  suicidal thoughts/attempts), or other mental/mood changes (including new/worsening anxiety, panic attacks, trouble sleeping , irritability,
  hostile/angry feelings, impulsive actions, severe restlessness, very rapid speech). Be especially watchful for these symptoms when a new
  antidepressant is started or when the dose is changed.

   USES: Escitalopram is used to treat depression and anxiety. It works by helping to restore the balance of a certain natural substance
   (serotonin) in the brain . Escitalopram belongs to a class of drugs known as selective serotonin reuptake inhibitors (SSRI). It may improve your
   energy level and feelings of well-being and decrease nervousness.

   OTHER USES: This section contains uses of this drug that are not listed in the approved US professional labeling for the drug but that may
   be prescribed by your health care professional. Use this drug for a condition that is listed in this section only if it has been so prescribed by
   your health care professional.
  This drug may also be used for other mental conditions (such as obsessive-compulsive disorder, panic disorder) or binge eating disorder
  (BED). It may also be used for hot flashes that occur with menopause.

   HOW TO USE: Read the Medication Guide and, if available, the Patient Information Leaflet provided by your pharmacist before you start
  taking escitalopram and each time you get a refill. If you have any questions, ask your doctor or pharmacist.
  Take this medication by mouth with or without food as directed by your doctor, usually once daily in the morning or evening. The dosage is
  based on your medical condition , response to treatment, age, and other medications you may be taking. Be sure to tell your doctor and
  pharmacist about all the products you use (including prescription drugs, nonprescription drugs, and herbal products).
  If you are using the liquid form of this medication, carefully measure the dose using a special measuring device/spoon. Do not use a
  household spoon because you may not get the correct dose.
  To reduce your risk of side effects, your doctor may direct you to start taking this drug at a low dose and gradually increase your dose. Follow
  your doctor's instructions carefully. Do not increase your dose or use this drug more often or for longer than prescribed. Your condition will not
  improve any faster, and your risk of side effects will increase. Take this medication regularly to get the most benefit from it. To help you
  remember, take it at the same time each day.
  Keep taking this medication even if you feel well. Do not stop taking this medication without consulting your doctor. Some conditions may
  become worse when this drug is suddenly stopped. Also, you may experience symptoms such as mood swings , headache, tiredness, sleep
  changes, and brief feelings similar to electric shock. To prevent these symptoms while you are stopping treatment with this drug , your doctor
  may reduce your dose gradually. Consult your doctor or pharmacist for more details. Report any new or worsen ing symptoms right away.
  It may take 1 to 2 weeks to feel a benefit from this drug and 4 weeks to feel the full benefit of this medication. Tell your doctor if your condition
  does not improve or if it worsens.


  SIDE EFFECTS: See also Warning section .
  Nausea, dry mouth, trouble sleeping, constipation , tiredness, drowsiness, dizziness, and increased sweating may occur. If any of these effects
  last or get worse, tell your doctor promptly.
  Remember that this medication has been prescribed because your doctor has judged that the benefit to you is greater than the risk of side
  effects. Many people using this medication do not have serious side effects.




Page 1 of   3
                     Case 1:25-cv-00706-TRJ-CMS Document 1 Filed 02/12/25                                       Page 58 of 145
09/15/2023 11 :28:19                     Patient Education Inquiry

   Name:BARNER,DORETTA                         Account#: 1541423            M/R #: 233710       Admit Date: 9/11/2023 Room: SUPP01135A
   Physician: Foxworth, Beau                   Age: 59Y                     Sex: Female         Weight:                  Birth Date: 6/26/1964
   Dru Name: Escitalo ram - Oral                                             Messa e: Careful! Read This Dru 's Patient Education Leaflet

   Tell your doctor right away if you have any serious side effects, including: decreased interest in sex, changes in sexual ability, easy
   bleeding/bruising.
   Get medical help right away if you have any very serious side effects, including: black stools, fainting, fast/irregular heartbeat, vomit that looks
   like coffee grounds, seizures, eye pain/swelling/redness, widened pupils, vision changes (such as seeing rainbows around lights at night,
   blurred vision).
   This medication may increase serotonin and rarely cause a very serious condition called serotonin syndrome/toxicity. The risk increases if you
   are also taking other drugs that increase serotonin, so tell your doctor or pharmacist of all the drugs you take (see Drug Interactions section).
   Get medical help right away if you develop some of the following symptoms: fast heartbeat, hallucinations, loss of coordination, severe
   dizziness, severe nausea/vomiting/diarrhea, twitching muscles, unexplained fever, unusual agitation/restlessness.
   Rarely, males may have a painful or prolonged erection lasting 4 or more hours. If this occurs, stop using this drug and get medical help right
   away, or permanent problems could occur.
   A very serious allergic reaction to this drug is rare. However, get medical help right away if you notice any symptoms of a serious allergic
   reaction, including: rash, itching/swelling (especially of the face/tongue/throat), severe dizziness, trouble breathing.
   This is not a complete list of possible side effects. If you notice other effects not listed above, contact your doctor or pharmacist.
   In the US -
   Call your doctor for medical advice about side effects. You may report side effects to FDA at 1-800-FDA-1088 or at www.fda.gov/medwatch.
   In Canada - Call your doctor for medical advice about side effects. You may report side effects to Health Canada at 1-866-234-2345.

  PRECAUTIONS: Before taking escitalopram, tell your doctor or pharmacist if you are allergic to it; or to citalopram; or if you have any other
  allergies. This product may contain inactive ingredients, which can cause allergic reactions or other problems. Talk to your pharmacist for '
  more details.
  Before using this medication, tell your doctor or pharmacist your medical history, especially of: personal or family history of bipolar/manic-
  depressive disorder, personal or family history of suicide attempts, liver disease, seizures, bleeding problems, low sodium in the blood
  (hyponatremia), personal or family history of glaucoma (angle-closure type).
  Escitalopram may cause a condition that affects the heart rhythm (QT prolongation). QT prolongation can rarely cause serious (rarely fatal)
  fast/irregular heartbeat and other symptoms (such as severe dizziness, fainting) that need medical attention right away.
  The risk of QT prolongation may be increased if you have certain medical conditions or are taking other drugs that may cause QT
  prolongation. Before using escitalopram, tell your doctor or pharmacist of all the drugs you take and if you have any of the following
  conditions: certain heart problems (heart failure, slow heartbeat, recent heart attack, QT prolongation in the EKG), family history of certain
  heart problems (QT prolongation in the EKG, sudden cardiac death).
  Low levels of potassium or magnesium in the blood may also increase your risk of QT prolongation. This risk may increase if you use certain
  drugs (such as diuretics/"water pills") or if you have conditions such as severe sweating, diarrhea, or vomiting . Talk to your doctor about using
  escitalopram safely.
  This drug may make you dizzy or drowsy. Alcohol or marijuana (cannabis) can make you more dizzy or drowsy. Do not drive, use machinery,
  or do anything that needs alertness until you can do it safely. Avoid alcoholic beverages. Talk to your doctor if you are using marijuana
  (cannabis).
  The liquid form of this medication may contain sugar and/or aspartame. Caution is advised if you have diabetes, phenylketonuria (PKU), or
  any other condition that requires you to limit/avoid these substances in your diet. Ask your doctor or pharmacist about using this medication
  safely.
  Before having surgery, tell your doctor or dentist about all the products you use (including prescription drugs, nonprescription drugs, and
  herbal products).
  Older adults may be more sensitive to the side effects of this drug, especially QT prolongation (see above), loss of coordination, or bleeding.
  They may also be more likely to lose too much salt (hyponatremia), especially if they are also taking "water pills" (diuretics) with this
  medication. Loss of coordination can increase the risk of falling.
  Children may be more sensitive to the side effects of this drug, especially loss of appetite and weight loss. Monitor weight and height in
  children who are taking this drug.
  During pregnancy, this medication should be used only when clearly needed. It may harm an unborn baby. Also, babies born to mothers who
  have used this drug during the last 3 months of pregnancy may rarely develop withdrawal symptoms such as feeding/breathing difficulties,
  seizures, muscle stiffness, or constant crying. If you notice any of these symptoms in your newborn , tell the doctor promptly.
  Since untreated mental/mood problems (such as depression, anxiety, obsessive-compulsive disorder, panic disorder) can be a serious
  condition, do not stop using this medication unless directed by your doctor. If you are planning pregnancy, become pregnant, or think you may
  be pregnant, immediately discuss with your doctor the benefits and risks of using this medication during pregnancy.
  This medication passes into breast milk and may have undesirable effects on a nursing infant. Consult your doctor before breast-feeding.




Page 2 of   3
                        Case 1:25-cv-00706-TRJ-CMS               Document 1           Filed 02/12/25          Page 59 of 145
09/15/2023 11 :28: 19                            Patient Education Inquiry

   Name:BARNER,DORETTA                         Account#: 1541423           M/R #: 233710       Admit Date: 9/11/2023 Room: SUPP01135A
   Physician: Foxworth, Beau                   Age: 59Y                    Sex: Female         Weight:                  Birth Date: 6/26/1964
   Dru Name: Escitalo ram - Oral                                            Messa e: Careful! Read This Dru 's Patient Education Leaflet



   DRUG INTERACTIONS: Drug interactions may change how your medications work or increase your risk for serious side effects. This
   document does not contain all possible drug interactions. Keep a list of all the products you use (including prescription/nonprescription drugs
   and herbal products) and share it with your doctor and pharmacist. Do not start, stop, or change the dosage of any medicines without your
   doctor's approval.
   Some products that may interact with this drug are: other drugs that can cause bleeding/bruising (including antiplatelet drugs such as
   clopidogrel, NSAIDs such as ibuprofen/naproxen, "blood thinners" such as dabigatran/warfarin).
   Aspirin can increase the risk of bleeding when used with this medication. However, if your doctor has directed you to take low-dose aspirin for
   heart attack or stroke prevention (usually 81-162 milligrams a day), you should continue taking it unless your doctor instructs you otherwise.
   Ask your doctor or pharmacist for more details.
   Taking MAO inhibitors with this medication may cause a serious (possibly fatal) drug interaction. Avoid taking MAO inhibitors (isocarboxazid,
   linezolid, metaxalone, methylene blue, moclobemide, phenelzine, procarbazine, rasagiline, safinamide, selegiline, tranylcypromine) during
   treatment with this medication. Most MAO inhibitors should also not be taken for two weeks before and after treatment with this medication.
   Ask your doctor when to start or stop taking this medication.
   The risk of serotonin syndrome/toxicity increases if you are also taking other drugs that increase serotonin. Examples include street drugs
   such as MDMA/"ecstasy," St. John's wort, certain antidepressants (including other SSRls such as fluoxetine/paroxetine, SNRls such as
   duloxetine/venlafaxine), tryptophan, among others. The risk of serotonin syndrome/toxicity may be more likely when you start or increase the
   dose of these drugs.
   Tell your doctor or pharmacist if you are taking other products that cause drowsiness including alcohol, marijuana (cannabis), antihistamines
   (such as cetirizine, diphenhydramine), drugs for sleep or anxiety (such as alprazolam, diazepam, zolpidem), muscle relaxants, and opioid pain
   relievers (such as codeine).
   Check the labels on all your medicines (such as allergy, pain/fever reducers, or cough-and-cold products) because they may contain
   ingredients that cause drowsiness or increase the risk of bleeding. Ask your pharmacist about using those products safely.
   Many drugs besides escitalopram may affect the heart rhythm (QT prolongation), including amiodarone, pimozide, procainamide, quinidine,
   sotalol, among others.
   Escitalopram is very similar to citalopram . Do not use medications containing citalopram while using escitalopram.
   This medication may interfere with certain medical/lab tests (such as brain scan for Parkinson's disease), possibly causing false test results.
   Make sure lab personnel and all your doctors know you use this drug.

   OVERDOSE: If someone has overdosed and has serious symptoms such as passing out or trouble breathing, call 911. Otherwise, call a
   poison control center right away. US residents can call their local poison control center at 1-800-222-1222. Canada residents can call a
   provincial poison control center.

   NOTES: Do not share this medication with others.
   Keep all regular medical and psychiatric appointments.

   MISSED DOSE: If you miss a dose, take it as soon as you remember. If it is near the time of the next dose, skip the missed dose. Take your
   next dose at the regular time . Do not double the dose to catch up.

  STORAGE: Store at room temperature away from light and moisture. Do not store in the bathroom . Keep all medications away from children
  and pets.
  Do not flush medications down the toilet or pour them into a drain unless instructed to do so. Properly discard this product when it is expired or
  no longer needed. Consult your pharmacist or local waste disposal company.

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Page 3 of   3
                     Case 1:25-cv-00706-TRJ-CMS Document 1 Filed 02/12/25                                     Page 60 of 145
09/15/2023 11 :28:21                     Patient Education Inquiry

   Name: BARNER, DORETTA                      Account#: 1541423            M/R #: 233710          Admit Date: 9/11 /2023 Room: SUPP01 135A
   Physician: Foxworth, Beau                  Age : 59Y                    Sex: Female            Weight:                  Birth Date: 6/26/1964
   Dru Name: H drochlorothiazide - Oral                                                          Read This Dru 's Patient Education Leaflet

   IMPORTANT: HOW TO USE THIS INFORMATION : This is a summary and does NOT have all possible information about this product. This
   information does not assure that this product is safe, effective, or appropriate for you . This information is not individual medical advice and
   does not substitute for the advice of your health care professional. Always ask your health care professional for complete information about
   this product and your specific health needs.

   HYDROCHLOROTHIAZIDE - ORAL (HYE-droe-KLOR-oh-THYE-a-zide)

   COMMON BRAND NAME(S): Microzide


   USES: This medication is used to treat high blood pressure. Lowering high blood pressure helps prevent strokes, heart attacks, and kidney
   problems. Hydrochlorothiazide belongs to a class of drugs known as diuretics/"water pills." It works by causing you to make more urine. This
   helps your body get rid of extra salt and water.
   This medication also reduces extra fluid in the body (edema) caused by conditions such as heart failure, liver disease, or kidney disease. This
   can lessen symptoms such as shortness of breath or swelling in your ankles or feet.

  HOW TO USE: Take this medication by mouth as directed by your doctor, usually once daily in the morning with or without food . If you take
  this drug too close to bedtime, you may need to wake up to urinate. It is best to take this medication at least 4 hours before your bedtime.
  The dosage is based on your medical condition and response to treatment.
  Use this medication regularly to get the most benefit from it. To help you remember, take it at the same time each day. Keep taking this
  medication even if you feel well. Most people with high blood pressure do not feel sick.
  If you also take certain drugs to lower your cholesterol (bile acid-binding resins such as cholestyramine or colestipol), take hydrochlorothiazide
  at least 4 hours before or at least 4 to 6 hours after these medications.
  Tell your doctor if your condition does not get better or if it gets worse (for example, your blood pressure readings remain high or increase).

  SIDE EFFECTS: Upset stomach , dizziness, or headache may occur as your body adjusts to the medication . If any of these effects last or get
  worse, tell your doctor or pharmacist promptly.
  To reduce the risk of dizziness and lightheadedness, get up slowly when rising from a sitting or lying position.
  Remember that this medication has been prescribed because your doctor has judged that the benefit to you is greater than the risk of side
  effects. Many people using this medication do not have serious side effects.
  Tell your doctor right away if you have any serious side effects, including: decrease in vision , eye pain.
  This medication may cause dehydration and electrolyte imbalance. Tell your doctor right away if you have any symptoms of dehydration or
  electrolyte imbalance, including: extreme thirst, very dry mouth, muscle cramps/weakness, slow/fast/irregular heartbeat, confusion , decreased
  urination.
  A very serious allergic reaction to this drug is rare. However, get medical help right away if you notice any symptoms of a serious allergic
  reaction , including: rash , itching/swelling (especially of the face/tongue/throat), severe dizziness, trouble breath ing.
  This is not a complete list of possible side effects. If you notice other effects not listed above, contact your doctor or pharmacist.
  In the US -
  Call your doctor for medical advice about side effects. You may report side effects to FDA at 1-800-FDA-1088 or at www.fda.gov/medwatch.
  In Canada - Call your doctor for medical advice about side effects. You may report side effects to Health Canada at 1-866-234-2345.

  PRECAUTIONS: Before taking hydrochlorothiazide, tell your doctor or pharmacist if you are allergic to it; or if you have any other allergies.
  This product may contain inactive ingredients (such as sulfites found in some brands), wh ich can cause allergic reactions or other problems.
  Talk to your pharmacist for more details.
  Before using this medication , tell your doctor or pharmacist your medical history, especially of: diabetes, gout, kidney disease, liver disease,
  lupus, skin cancer.
  This drug may make you dizzy. Alcohol or marijuana (cannabis) can make you more dizzy. Do not drive, use machinery, or do anything that
  needs alertness until you can do it safely. Limit alcoholic beverages. Talk to your doctor if you are using marijuana (cannabis).
  Severe sweating, diarrhea, or vomiting can increase the risk for dehydration. Report prolonged diarrhea or vom iting to your doctor. To prevent
  dehydration , drink plenty of fluids unless your doctor directs you otherwise.




Page 1 of   2
                     Case 1:25-cv-00706-TRJ-CMS Document 1 Filed 02/12/25                                    Page 61 of 145
09/15/2023 11 :28:21                     Patient Education Inquiry

   Name: BARNER, DORETTA                      Account#: 1541423            M/R #: 233710       Admit Date: 9/11/2023 Room: SUPP01135A
   Physician : Foxworth, Beau                 Age: 59Y                     Sex: Female         Weight:                  Birth Date: 6/26/1964
   Dru Name: H drochlorothiazide - Oral                                     Messa e: Careful! Read This Dru 's Patient Education Leaflet

   If you have diabetes, hydrochlorothiazide may affect your blood sugar. Check your blood sugar regularly as directed by your doctor. Your
   doctor may need to adjust your diabetes medication, exercise program, or diet.
   This drug may decrease your potassium levels. Ask your doctor about foods high in potassium (such as bananas, orange juice) or about using
   a salt substitute containing potassium. A potassium supplement may be prescribed by your doctor.
   This medication may make you more sensitive to the sun. It may also increase your risk for skin cancer, especially if you take it for a long
   time. Limit your time in the sun. Avoid tanning booths and sunlamps. Use sunscreen and wear protective clothing when outdoors. Tell your
   doctor right away if you get sunburned, have skin blisters/redness, or notice new or changed moles/skin lesions.
   Before having surgery, tell your doctor or dentist about all the products you use (including prescription drugs, nonprescription drugs, and
   herbal products).
   Older adults may be more sensitive to the effects of this drug, especially dizziness.
   During pregnancy, this medication should be used only when clearly needed. Discuss the risks and benefits with your doctor.
   This drug passes into breast milk, but is unlikely to harm a nursing infant. Consult your doctor before breast-feeding .

   DRUG INTERACTIONS: See also How To Use section.
   Drug interactions may change how your medications work or increase your risk for serious side effects. This document does not contain all
   possible drug interactions. Keep a list of all the products you use (including prescription/nonprescription drugs and herbal products) and share
   it with your doctor and pharmacist. Do not start, stop, or change the dosage of any medicines without your doctor's approval.
   Some products that may interact with this drug include: dofetilide, lithium.
   Some products have ingredients that could raise your blood pressure or worsen your swelling. Tell your pharmacist what products you are
   using, and ask how to use them safely (especially cough-and-cold products, dietaids, or NSAIDs such as ibuprofen/naproxen).
   This medication may interfere with certain lab tests (such as parathyroid function), possibly causing false test results. Make sure lab personnel
   and all your doctors know you use this drug.


   OVERDOSE: If someone has overdosed and has serious symptoms such as passing out or trouble breathing, call 911 . Otherwise, call a
   poison control center right away. US residents can call their local poison control center at 1-800-222-1222. Canada residents can call a
   provincial poison control center. Symptoms of overdose may include: severe dizziness, weakness, fainting.

   NOTES: Do not share this medication with others.
  Lifestyle changes that may help this medication work better include exercising, stopping smoking, and eating a low-cholesterol/low-fat diet.
  Consult your doctor for more details.
  Lab and/or medical tests (such as potassium levels, kidney function, skin exams) should be done while you are taking this medication. Keep
  all medical and lab appointments. Consult your doctor for more details.
  Check your blood pressure and pulse (heart rate) regularly while taking this medication. Learn how to check your own blood pressure and
  pulse at home, and share the results with your doctor.

  MISSED DOSE: If you miss a dose, take it as soon as you remember. If it is near the time of the next dose, skip the missed dose. Take your
  next dose at the regular time. Do not double the dose to catch up.

  STORAGE: Store at room temperature away from light and moisture. Do not store in the bathroom . Keep all medications away from children
  and pets.
  Do not flush medications down the toilet or pour them into a drain unless instructed to do so. Properly discard this product when it is expired or
  no longer needed. Consult your pharmacist or local waste disposal company.


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Page 2 of   2
                     Case 1:25-cv-00706-TRJ-CMS Document 1 Filed 02/12/25                                   Page 62 of 145
09/15/2023 11 :28:24                     Patient Education Inquiry

   Name: BARNER,DORETTA                      Account#: 1541423           M/R #: 233710       Admit Date: 9/11/2023 Room: SUPP01135A
   Physician: Foxworth, Beau                 Age: 59Y                    Sex: Female         Weight:                  Birth Date: 6/26/1964
   Dru Name: Amlodi ine-Oral                                              Messa e: Careful! Read This Dru 's Patient Education Leaflet

  IMPORTANT: HOW TO USE THIS INFORMATION : This is a summary and does NOT have all possible information about this product. This
  information does not assure that this product is safe, effective, or appropriate for you. This information is not individual medical advice and
  does not substitute for the advice of your health care professional. Always ask your health care professional for complete information about
  this product and your specific health needs.


  AMLODIPINE - ORAL (am-LOE-di-peen)

   COMMON BRAND NAME(S): Norvasc

  USES: Amlodipine is used with or without other medications to treat high blood pressure. Lowering high blood pressure helps prevent
  strokes, heart attacks, and kidney problems. Amlodipine belongs to a class of drugs known as calcium channel blockers. It works by relaxing
  blood vessels so blood can flow more easily.
  Amlodipine is also used to prevent certain types of chest pain (angina). It may help to increase your ability to exercise and decrease the
  frequency of angina attacks. It should not be used to treat attacks of chest pain when they occur. Use other medications (such as sublingual
  nitroglycerin) to relieve attacks of chest pain as directed by your doctor.

  HOW TO USE: Read the Patient Information Leaflet if available from your pharmacist before you start taking amlodipine and each time you
  get a refill. If you have any questions, ask your doctor or pharmacist.
  Take this medication by mouth with or without food as directed by_your doctor, usually once daily.
  If you are using the liquid form of this medication, check the manufacturer's information or ask your pharmacist for specific directions. Some
  brands of the liquid form should be shaken before use, while other brands do not need to be shaken before use. Carefully measure the dose
  using a special measuring device/spoon. Do not use a household spoon because you may not get the correct dose
  The dosage is based on your medical condition and response to treatment. Your doctor may gradually increase your dose. Follow your
  doctor's instructions carefully.
  Use this medication regularly to get the most benefit from it. To help you remember, take it at the same time each day. Keep taking this
  medication even if you feel well. Most people with high blood pressure do not feel sick.
  If used for angina, this medication must be taken regularly to be effective. It should not be used to treat angina when it occurs. Use other
  medications (such as sublingual nitroglycerin) to relieve an angina attack as directed by your doctor. Consult your doctor or pharmacist for
  details.
  Tell your doctor if your condition does not improve or if it worsens (for example, your blood pressure readings remain high or increase, chest
  pain continues or worsens).

  SIDE EFFECTS: Dizziness, lightheadedness, swelling ankles/feet, or flushing may occur. If any of these effects last or get worse, tell your
  doctor or pharmacist promptly.
  To lower your risk of dizziness and lightheadedness, get up slowly when rising from a sitting or lying position.
  Remember that this medication has been prescribed because your doctor has judged that the benefit to you is greater than the risk of side
  effects. Many people using this medication do not have serious side effects.
  Tell your doctor right away if you have any serious side effects, including : fast/irregular/pounding heartbeat, fainting .
  Although this medication is effective in preventing chest pain (angina), some people who already have severe heart disease may rarely
  develop worsening chest pain or a heart attack after starting this medication or increasing the dose. Get medical help right away if you
  experience: worsening chest pain, symptoms of a heart attack (such as chest/jaw/left arm pa in, shortness of breath, unusual sweating).
  A very serious allergic reaction to this drug is rare. However, get medical help right away if you notice any symptoms of a serious allergic
  reaction , including: rash , itching/swelling (especially of the face/tongue/throat), severe dizziness, trouble breathing.
  This is not a complete list of possible side effects. If you notice other effects not listed above, contact your doctor or pharmacist.
  In the US -
  Call your doctor for medical advice about side effects. You may report side effects to FDA at 1-800-FDA- 1088 or at www.fda.gov/medwatch.
  In Canada - Call your doctor for medical advice about side effects. You may report side effects to Health Canada at 1-866-234-2345.


  PRECAUTIONS: Before taking amlodipine, tell your doctor or pharmacist if you are allergic to it; or to other dihydropyridine calcium channel
  blockers (such as nisoldipine, nifedipine) or if you have any other allergies. This product may contain inactive ingredients, which can cause
  allergic reactions or other problems. Talk to your pharmacist for more details.




Page 1 of   2
                       Case 1:25-cv-00706-TRJ-CMS                Document 1           Filed 02/12/25          Page 63 of 145
09/15/2023 11 :28:24                             Patient Education Inquiry

   Name: BARNER,DORETTA                        Account#: 1541423           M/R #: 233710          Admit Date: 9/11/2023 Room : SUPP01135A
   Physician : Foxworth, Beau                  Age : 59Y                   Sex: Female            Weight:                  Birth Date: 6/26/1964
   Dru Name: Amlodi ine-Oral                                                                     Read This Dru 's Patient Education Leaflet

   Before using this medication, tell your doctor or pharmacist your medical history, especially of: a certain structu ral heart problem (aortic
   stenosis), very low blood pressure, liver disease.
   This drug may make you dizzy. Alcohol or marijuana (cannabis) can make you more dizzy. Do not drive, use machinery, or do anything that
   needs alertness until you can do it safely. Limit alcoholic beverages. Talk to your doctor if you are using marijuana (cannabis).
   Before having surgery, tell your doctor or dentist about all the products you use (including prescription drugs, nonprescription drugs, and
   herbal products).
   Older adults may be more sensitive to the effects of this drug, especially dizziness.
   During pregnancy, this medication should be used only when clearly needed. Discuss the risks and benefits with your doctor.
   This drug passes into breast milk. Consult your doctor before breast-feeding.

   DRUG INTERACTIONS: Drug interactions may change how your medications work or increase your risk for serious side effects. This
   document does not contain all possible drug interactions. Keep a list of all the products you use (including prescription/nonprescription drugs
   and herbal products) and share it with your doctor and pharmacist. Do not start, stop, or change the dosage of any medicines without your
   doctor's approval.
   Some products have ingredients that could raise your blood pressure. Tell your pharmacist what products you are using , and ask how to use
   them safely (especially cough-and-cold products, diet aids, or NSAIDs such as ibuprofen/naproxen).

   OVERDOSE: If someone has overdosed and has serious symptoms such as passing out or trouble breathing, call 911. Otherwise, call a
   poison control center right away. US residents can call their local poison control center at 1-800-222-1222. Canada residents can call a
   provincial poison control center. Symptoms of overdose may include: fainting, severe dizziness.

   NOTES : Do not share this medication with others.
   Lifestyle changes that may help this medication work better include exercising, stopping smoking, reducing stress, and eating a low-
   cholesterol/low-fat diet. Consult your doctor for more details.
   Lab and/or medical tests (such as blood pressure) should be done while you are taking this medication. Keep all medical and lab
   appointments. Consult your doctor for more details.
   Check your blood pressure regularly while taking this medication. Learn how to monitor your own blood pressure at home, and share the
   results with your doctor.

   MISSED DOSE: If you miss a dose, take it as soon as you remember. If it is near the time of the next dose, skip the missed dose. Take your
   next dose at the regular time. Do not double the dose to catch up.

   STORAGE: Store the tablets at room temperature away from light and moisture. Do not store in the bathroom. Keep all medications away
   from children and pets.
   Different brands of the liquid form of this medication have different storage needs. Check the product package for instructions on how to store
   your brand , or ask your pharmacist.
   Do not flush medications down the toilet or pour them into a drain unless instructed to do so. Properly discard this product when it is expired or
   no longer needed. Consult your pharmacist or local waste disposal company.

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Page 2 of   2
                       Case 1:25-cv-00706-TRJ-CMS                  Document 1           Filed 02/12/25          Page 64 of 145
09/15/2023 11 :28:25                              Patient Education Inquiry

   Name:BARNER,DORETTA                          Account#: 1541423            M/R #: 233710       Admit Date: 9/11/2023 Room: SUPP01135A
   Physician: Foxworth, Beau                    Age: 59Y                     Sex: Female         Weight:                  Birth Date: 6/26/1964
   Dru           · · razole - Oral                                            Messa e: Careful! Read This Dru 's Patient Education Leaflet

   IMPORTANT: HOW TO USE THIS INFORMATION : This is a summary and does NOT have all possible information about this product. This
   information does not assure that this product is safe, effective, or appropriate for you. This information is not individual medical advice and
   does not substitute for the advice of your health care professional. Always ask your health care professional for complete information about
   this product and your specific health needs.


   ARIPIPRAZOLE - ORAL (AR-i-PIP-ra-zole)

   COMMON BRAND NAME(S): Ability

   WARNING : If you are using aripiprazole in combination with other medication to treat depression, also carefully read the drug information for
   the other medication.
   There may be a slightly increased risk of serious, possibly fatal side effects (such as stroke, heart failure, fast/irregu lar heartbeat, pneumonia)
   when this medication is used by older adults with dementia. This medication is not approved for the treatment of dementia-related behavior
   problems. Discuss the risks and benefits of this medication, as well as other effective and possibly safer treatments for dementia-related
   behavior problems, with the doctor.

   USES: Aripiprazole is used to treat certain mental/mood disorders (such as bipolar disorder, schizophrenia , Tourette's syndrome, and
   irritability associated with autistic disorder). It may also be used in combination with other medication to treat depression. Aripiprazole is
   known as an antipsychotic drug (atypical type). It works by helping to restore the balance of certain natural chemicals in the brain
   (neurotransmitters).
   This medication can decrease hallucinations and improve your concentration. It helps you to think more clearly and positively about yourself,
   feel less nervous, and take a more active part in everyday life. Aripiprazole can treat severe mood swings and decrease how often mood
   swings occur.

   OTHER USES: This section contains uses of this drug that are not listed in the approved professional labeling for the drug but that may be
   prescribed by your health care professional. Use this drug for a condition that is listed in this section only if it has been so prescribed by your
   health care professional.
   This medication may also be used for obsessive-compulsive disorder.

  HOW TO USE: Read the Medication Guide and, if available, the Patient Information Leaflet provided by your pharmacist before you start
  taking aripiprazole and each time you get a refill. If you have any questions, ask your doctor or pharmacist.
  Take this medication by mouth with or without food as directed by your doctor, usually once daily. The dosage is based on your medical
  condition, response to treatment, age, and other medications you may be taking. Be sure to tell your doctor and pharmacist about all the
  products you use (including prescription drugs, nonprescription drugs, and herbal products). To reduce your risk of side effects, your doctor
  may direct you to start this medication at a low dose and gradually increase your dose. Follow your doctor's instructions carefully.
  The manufacturer directs to swallow this medication whole. However, many similar drugs (immediate-release tablets) can be split/crushed .
  Follow your doctor's direction on how to take this medication.
  If you are using the liquid form of this medication, carefully measure the dose using a special measuring device/cup. Do not use a household
  spoon because you may not get the correct dose.
  Do not increase your dose or use this drug more often or for longer than prescribed. Your condition will not improve any faster, and your risk
  of side effects will increase.
  It may take several weeks before you get the full benefit of this drug. Use this medication regularly to get the most benefit from it. To help you
  remember, take it at the same time each day.
  Keep taking this medication even if you feel well. Do not stop taking this medication without consulting your doctor. Some conditions may
  become worse when this drug is suddenly stopped. Your dose may need to be gradually decreased.
  Tell your doctor if your condition does not improve or if it worsens.

  SIDE EFFECTS: See also Warning section.
  Dizziness, lightheadedness, drowsiness, nausea, vomiting, tiredness, excess saliva/drooling, blurred vision, weight gain, constipation ,
  headache, and trouble sleeping may occur. If any of these effects last or get worse, tell your doctor or pharmacist promptly.
  Dizziness and lightheadedness can increase the risk of falling. Get up slowly when rising from a sitting or lying position.




Page 1 of   3
                     Case 1:25-cv-00706-TRJ-CMS Document 1 Filed 02/12/25                                     Page 65 of 145
09/15/2023 11 :28:25                     Patient Education Inquiry

   Name:BARNER,DORETTA                        Account#: 1541423            M/R #: 233710       Admit Date: 9/11/2023 Room: SUPP01135A
   Physician: Foxworth, Beau                  Age: 59Y                     Sex: Female         Weight:                  Birth Date: 6/26/1964
                                                                            Messa e: Careful! Read This Dru 's Patient Education Leaflet

   Remember that this medication has been prescribed because your doctor has judged that the benefit to you is greater than the risk of side
   effects. Many people using this medication do not have serious side effects.
   Tell your doctor right away if you have any serious side effects, including: fainting, mental/mood changes (such as increased anxiety,
   depression, suicidal thoughts), trouble swallowing, restlessness (especially in the legs), shaking (tremor), muscle spasm, mask-like
   expression of the face, seizures, trouble controlling certain urges (such as gambling, sex, eating or shopping), interrupted breathing during
   sleep.
   This medication may rarely make your blood sugar rise, which can cause or worsen diabetes. Tell your doctor right away if you have
   symptoms of high blood sugar such as increased thirst/urination. If you already have diabetes, check your blood sugar regularly as directed
   and share the results with your doctor. Your doctor may need to adjust your diabetes medication, exercise program, or diet.
   This medication may rarely cause a condition called tardive dyskinesia. In some cases, this condition may be permanent. Tell your doctor right
   away if you develop any unusual uncontrolled movements (especially of the face, mouth, tongue, arms, or legs).
   This medication may rarely cause a very serious condition called neuroleptic malignant syndrome (NMS). Get medical help right away if you
   have any of the following symptoms: fever, muscle stiffness/pain/tenderness/weakness, severe tiredness, severe confusion, sweating,
   fast/irregular heartbeat, dark urine, signs of kidney problems (such as change in the amount of urine).
   A very serious allergic reaction to this drug is rare. However, get medical help right away if you notice any symptoms of a serious allergic
   reaction , including: fever, swollen lymph nodes, rash, itching/swelling (especially of the face/tongue/throat), severe dizziness, trouble
   breathing.
   This is not a complete list of possible side effects. If you notice other effects not listed above, contact your doctor or pharmacist.
   In the US -
   Call your doctor for medical advice about side effects. You may report side effects to FDA at 1-800-FDA-1088 or at www.fda .gov/medwatch.
   In Canada - Call your doctor for medical advice about side effects. You may report side effects to Health Canada at 1-866-234-2345.

   PRECAUTIONS: See also Warning section.
   Before taking aripiprazole, tell your doctor or pharmacist if you are allergic to it; or if you have any other allergies. This product may contain
   inactive ingredients (such as propylene glycol), which can cause allergic reactions or other problems. Talk to your pharmacist for more details.
  Before using this medication, tell your doctor or pharmacist your medical history, especially of: problems with blood flow in the bra in (such as
  cerebrovascular disease, stroke), diabetes (including family history), heart problems (such as low blood pressure, coronary artery disease,
  heart failure, irregular heartbeat), nervous system problems (such as dementia, NMS, seizures), obesity, low white blood cell count (including
  history of low white blood cell count caused by medications), swallowing problems, breathing trouble during sleep (sleep apnea).
  This drug may make you dizzy or drowsy or blur your vision. Alcohol or marijuana (cannabis) can make you more dizzy or drowsy. Do not
  drive, use machinery, or do anything that needs alertness or clear vision until you can do it safely. Avoid alcoholic beverages. Talk to your
  doctor if you are using marijuana (cannabis).
  This medication may make you sweat less, making you more likely to get heat stroke. Avoid doing things that may cause you to overheat,
  such as hard work or exercise in hot weather, or using hot tubs. When the weather is hot, drink a lot of fluids and dress lightly. If you overheat,
  quickly look for a place to cool down and rest. Get medical help right away if you have a fever that does not go away, mental/mood changes,
  headache, or dizziness.
  Liquid preparations of this product may contain sugar. Caution is advised if you have diabetes. Ask your doctor or pharmacist about using this
  product safely.
  Older adults may be more sensitive to the side effects of this drug, especially seizures, drowsiness, dizziness, lightheadedness, confusion,
  tardive dyskinesia, swallowing problems, and other serious (rarely fatal) side effects. (See also Warning section.) Drowsiness, dizziness,
  lightheadedness, and confusion can increase the risk of falling .
  Before having surgery, tell your doctor or dentist about all the products you use (including prescription drugs, nonprescription drugs, and
  herbal products).
  During pregnancy, this medication should be used only when clearly needed. Babies born to mothers who have used this drug during the last
  3 months of pregnancy may rarely develop symptoms including muscle stiffness or shakiness, drowsiness, feeding/breathing difficulties, or
  constant crying. If you notice any of these symptoms in your newborn especially during their first month, tell the doctor right away.
  Since untreated mental/mood problems (such as bipolar disorder, schizophrenia) can be a serious condition , do not stop taking this
  medication unless directed by your doctor. If you are planning pregnancy, become pregnant, or think you may be pregnant, immediately
  discuss with your doctor the benefits and risks of using this medication during pregnancy.
  This medication passes into breast milk. Consult your doctor before breast-feeding.


  DRUG INTERACTIONS: Drug interactions may change how your medications work or increase your risk for serious side effects. This
  document does not contain all possible drug interactions. Keep a list of all the products you use (including prescription/nonprescription drugs
  and herbal products) and share it with your doctor and pharmacist. Do not start, stop, or change the dosage of any medicines without your
  doctor's approval.




Page 2 of   3
                       Case 1:25-cv-00706-TRJ-CMS                Document 1           Filed 02/12/25          Page 66 of 145
09/15/2023 11 :28:25                             Patient Education Inquiry

   Name: BARNER,DORETTA                        Account#: 1541423           M/R #: 233710       Admit Date: 9/11/2023 Room: SUPP01135A
   Physician: Foxworth, Beau                   Age : 59Y                   Sex: Female         Weight:                  Birth Date: 6/26/1964
   Dru           · · razole - Oral                                          Messa e: Careful! Read This Dru 's Patient Education Leaflet

   A product that may interact with this drug is: metoclopramide.
   Tell your doctor or pharmacist if you are taking other products that cause drowsiness such as opioid pain or cough relievers (such as codeine,
   hydrocodone), alcohol, marijuana (cannabis), drugs for sleep or anxiety (such as alprazolam, lorazepam, zolpidem), muscle relaxants (such
   as carisoprodol, cyclobenzaprine), or antihistamines (such as cetirizine, diphenhydramine).
   Check the labels on all your medicines (such as allergy or cough-and-cold products) because they may contain ingredients that cause
   drowsiness. Ask your pharmacist about using those products safely.

   OVERDOSE: If someone has overdosed and has serious symptoms such as passing out or trouble breathing, call 911 . Otherwise, call a
   poison control center right away. US residents can call their local poison control center at 1-800-222-1222. Canada residents can call a
   provincial poison control center. Symptoms of overdose may include: very fast heartbeat, loss of consciousness .


   NOTES: Do not share this medication with others.
   Lab and/or medical tests (such as blood sugar, weight, cholesterol/triglyceride levels) may be done before you start taking this medication and
   while you are taking it. Keep all medical and lab appointments. Consult your doctor for more details.

  MISSED DOSE: If you miss a dose, take it as soon as you remember. If it is near the time of the next dose, skip the missed dose. Take your
  next dose at the regular time. Do not double the dose to catch up.

   STORAGE: Store the tablet and the oral liquid at room temperature away from light and.moisture. Discard the oral solution 6 months after
   opening or after the expiration date, whichever comes first. Do not store in the bathroom. Keep all medications away from children and pets.
   Do not flush medications down the toilet or pour them into a drain unless instructed to do so. Properly discard this product when it is expired or
   no longer needed . Consult your pharmacist or local waste disposal company.

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Page 3 of   3
                  Case 1:25-cv-00706-TRJ-CMS                Document 1         Filed 02/12/25        Page 67 of 145



        2019 Performanc e Evaluation
                                                                                                           ■
        Team Member Information
        Name : Barner, Doretta                                Manager Name: Williams, Shenese L
        Team Member ID: 1049093

        Job Title: Operations Clerk 2
        LOB: PYMTVIRSOLSINN/PVSI WH



        Year-End Performance Summary
        Performance Indicator: Performing
        Performance Summary:
        Overall Doretta is performing. I look forward to supporting her to sign up [)iversity/Inclusion
        communities, job shadowing, and other key areas that will help continue her development and
        success within the organization. I will continue to encourage Doretta to stay positive build an better
        working relationship with her peers and commun icate with management when a issues occurs .




        Leadership
        Weight: 20%                                               Objective Rating: Improvement Needed
        Objective Description:

        Uphold the Vision, Values, & Goals of Wells Fargo through the behavioral expectations.
        • What's right for customers: Place customers at the center of everything you do. Exceed customer
        expectations and build relationships that last a lifetime.
        • People as a competitive advantage: Collaborate across teams, businesses, and functions.
        • Ethics: Commit yourself to the highest standards of integrity, transparency, and principled
        performance. Do the right thing, in the right way, and hold yourself accountable.
        • Diversity and inclusion: Promote diversity and inclusion in all aspects of business and at all levels.
        • Leadership: Lead yourself, lead the team, and lead the business - in service to custoniers,
        communities, team members, and shareholders.

         Success Criteria:
• -~.   What's right for customers                                    ._
        • Act with integrity and always do the right thing for the customer
        • Listen to all customers, anticipate their unique needs, and work in partnership to achieve their goals
        • Build trust and long -term relationships
        Additional for manag ers:
        • Coach and enable team members to provide best-in - class service and guidance that will help
        customers succeed financially

        People as a competitive advantage
        • Encourage we ll -being and celebrate success
        • Recognize and leverag e each others' contributions and talents
        • Share best practices and embrace new ideas together
        • Develop yourself and others
        Additional for managers:
        • Attract, hire, and retain talent
        • Connect the team to business priorities and share what's needed for success

         Ethics
         • Know what's right, do what's right; if you don't know, ask
         • Raise concerns and escalate early
         Case 1:25-cv-00706-TRJ-CMS                Document 1         Filed 02/12/25       Page 68 of 145



2019 Performance Evaluation
• Take accountability for all actions and decisions made
                                                                                                 ■
• Be open, honest, and transparent
Additional for managers:
• Foster a safe, ethical environment where team members feel comfortable sharing ideas and
opinions, raising concerns, and escalating risks
• Hold yourself and your team responsible for achieving business results in alignment with the Vision,
Values, & Goals of Wells Fargo

Diversity and inclusion
• Make sure people feel included, valued, supported, and heard
• Recognize and address your own biases
• Seek, accept, and encourage diversity of people and thought
Additional for managers:
• Cultivate a diverse and incl usive environment
• Intentionally build and engage a diverse team

Leadership
• Inspire, engage, influence, and lead by example
• Proactively seek, give, and apply feedback
• Engage in courageous conversations
• Make decisions with a One Wells Fargo view
Additional for managers:
• Know the business and effectively manage your team to maximize long-term shareholder value
• Motivate and enable team member performance through clear objectives and expectations, ongoing
feedback and coaching, and written performance evaluations
• Model, encourage, and celebrate team member community involvement
• Capitalize on self-service resources and complete management activities timely, in compliance with
policies and standards
Objective Evaluation Comments:
Leadership applies to everyone. Regardless of your position in the company, you demonstrate
leadership in the way you lead yourself, lead the team, and lead the business.

Doretta have encounter some opportunities with leading be example. On many occasions she has
displayed an negative attitude and provided unprofessional feedback to other team members when
giving directions from her leadership team. I encourage Doretta to lead by example and support in
any area as needed. Continue to learn and grow within her department as well as seek out additional
training from your manager. Ongoing Feedback; Handle situations in a positive and appropriate
manner and display professionalism when dealing with others.




Risk Management Accountability
Weight: 50%                                              Objective Rating: Meets
Objective Description:

All Team Members - Individual Contributors and Managers - have an understanding of the risks that
are present in their area of responsibility and will be evaluated on effectively managing those risks,
including: compliance with applicable laws, rules, and regulations; and adherence to internal policies
and procedures and controls. All Team Members must "Raise Your Hand" when concerned about a
risk, policy or procedural or internal control issue. All Team Members are expected to meet
competency requirements, including timely compl etion of all learning activities associated
with/required for their role. Individual Contributors will be evaluated on their own performance.
Managers will be evaluated on their own performance AND the performance of the team members
they are responsible for managing.
         Case 1:25-cv-00706-TRJ-CMS                 Document 1          Filed 02/12/25        Page 69 of 145



2019 Performance Evaluation

 Success Criteria:
                                                                                                   ■
-Complete 100% of all assigned Compliance training courses by the designated internal E&CS
deadline, without exception (Meets)
-Raising Your Hand when you identify a potential risk and follow all established escalation guidelines
-Comply with all compliance and risk policies, applicable laws and regulations
-Meet or exceed Compromised Data standards
-Meet or exceed an error rate of less than 5% on Virtual/Spot Audits
-Meet or exceed 85% effectiveness rating on onsite audits
-Maintain and retain all audit documents according to established guidelines
-Meet or exceed quality standards
-Meet or exceed performance standards outlined in Lockbox Corrective Action Plan (CAP) and
standards documents.
Objective Evaluation Comments:
Risk management is one of six goals described in the Vision, Values & Goals of Wells Fargo. These
core principles guid e our work every day and are a good reminder that all team members across the
company have a responsibility for managing risk. Managing risk is all about the attitude we bring to
work every day, the actions and mindset of doing the right thing for the customer, and the behaviors
that are core to who we are.
Doretta successfully completed all compliance courses on or before the corporate due dates. Doretta
has received 4 internal audit violations and 3 external audit violations within the last 12 months. I
coached her on her errors and received feedback on how she missed steps in the day to day process
put in place not t o impact the customer. In the beginning of July 2019 a Lockbox Ethics and Risk for
team members was reviewed. In addition, mid-year team member received an overview refresher of
all the areas they support.
Tips to reduce Risk; Raise your hand and escalate concerns to leadership, keep your workspace clean,
follow all procedural steps and policies, look for any loose ma il at the end of your shift, lock your work
station when wa lking away, and read your emails for updates and announcements just to list a few.




Operations Transformation
Weight: 15%                                                Objective Rating: Meets
Objective Description:

Job Responsibility: Exempt and Non -exempt Team Members (Do not include Managers)
-Improve Customer Ex perience, Modernize our Processes, Consolidate for - Simplicity and Scale,
Optimize Core/Non - Core Functions

 Success Criteria:
Job Responsibility: Exempt and Non-exem pt Team Members (Do not include Managers)

-Think beyond individual team functions and bring a customer cen tric mindset in every interaction to
seamlessly serve customers at Wells Fargo and beyond
-Effectively use robotic tools
-Communicate when adjustments are needed to instructions
- Adhere to standardized processes
-Submit Best Practice Ideas and successfully implement 2019 initiatives
-Completed functional assessment
-Adhere to established required quality steps
-Questioning potential misapplied items

Objective Evaluation Comments:
After listening to and understanding our customers and their financial goals, we want to provide
exceptional serv ice and guidance to help them succeed financially.
Tips to reduce quality impacts; verify all deliveries are scanned into PACTRAC timely and accurately,
notify management of any potential impacts and/or opportunities, when cutting/cleaning the 105
         Case 1:25-cv-00706-TRJ-CMS               Document 1         Filed 02/12/25       Page 70 of 145



2019 Performance Evaluation
trays for the production floor verify all envelopes are addressed to the correct lockbox, verify all
packages are accounted for during the mail -ou t process, and stay focus throughout the shift while
running the APEX. Continue to spot check when pitching the work, support with RTS/Yellow Tag daily,
verify HIPAA rubber bands are in the bins and/or worked pulled for the production floor, and all
headers are fully stocked in mail-bins each week.




Shareholder Value Objective (Productivity)
Weight: 15%                                             Objective Rating: Meets
Objective Description:

Job Responsibility: Operations Clerk, Data Entry, Equipment Operator, Utility Clerk
   -Meet or exceed productivity goals
-Adhere to established team member schedules with a focus to minimize overtime
-Focus on delivering high-quality, accurate and timely production



Success Criteria:
Job Function: Operations Clerk, Data Entry, Equipment Operator and Utility Clerk
-Meet or exceed productivity standards, while adhering to and following all procedures and quality
controls
-Manage your work and time to minimize need for Ove r Time
-Meet or exceed utilization standards - > 91 % Exceeds, 80%-90% Meets, 70%-80% Improvement
Needed and < 69% Unsatisfactory
Objective Evaluation Comments:
We want to deliver long-term value for shareholders through a balanced business model, strong risk
discipline, efficient execution, and a world-class team.
Doretta continues to meet productivity deadlines and she assist the production floor when asked by
management. She volunteers to stay over to ensu re the customer needs are meet. In addition, she
has cross trained on scanning overnight packages by deadlines and the outgoing PacTrack system and
also inputting the HIPAA accounts into the RIDS system.
              Case 1:25-cv-00706-TRJ-CMS                    Document 1           Filed 02/12/25         Page 71 of 145

2020 Performance Evaluation
                                                                                                                ■
 Employee Information
 Name : Barner, Doretta                                       Manager Name: Williams, Shenese L
 Employee ID: 1049093

 Job Title: Operations Clerk 2
 LOB: CONS&SM BUS BKG


 Overall Performance
 Performance Rating: Needs Improvement
 Performance Summary:
 Doretta was inconsistent with her performance and behav ior during this review period. On 4/ 21/2020
 she was placed on a Formal warning for her conduct and on eight previous occasion Doretta engaged
 making rude and unprofessional comment when given directions by her Work Director. Although
 Doretta is capable of perfor ming her duties, her behavior deflects from her being able to del ive r
 co nsistent exce llent ~ervicP t o our cust omers . I enc'Jut·"'!'" . orett a t o be ccgniza i1t of her ber,avior
 and remain focused on serving our customers .
                                     ..
                                    •,
 Risk Overlay
 Rating: Needs Imp~ovement

 Every Wells Fargo em ployee has a responsibility for managing risk and is expected to do the fo llowing .
 Identify, measure and assess, control, monitor, and report on risk associated with their business
 activities. Make busin ess decisions that are based on an understanding of the facts (especially the
 risks generated), balance risk and reward , and remain within t he company's risk appetite. Spea k up
 and timely escalate risks and issues that have the potenti al to cause, or have already caused , adverse
 impacts to the company's customers, communities, employees, shareholders, or the company itself
 includ ing its reputation . Act professionally and with integrity in alignment with company expect ations .
 Understand the company's risk management framework and complete required risk (includ ing
 compliance) trainings t imely . Comply with applicable laws, regulations, and enterprise policies
 (including issue management and escalation policies) .

 Risk Overlay Comments:
 During this evaluation period 4/21/2020, Doretta was placed on a Formal warning for her cond uct . On
 eight previous occasion Doretta engaged making rude and unprofessional comments toward s her work
 director in the presence of others on the team. When Dorett a is asked to perform a task, she tends t o
 give pushback and this often will escalate. She has also stat ed in front of others that she will con sult
 her lawyer. Doretta' s team will often avoid interaction with er to prevent conflict. Doretta was also
 warned about usi ng "'ler cell phone in the work area which ·Lluded watch ing TV while working . On
 Oiie occasion sl ,e :>L...- ,ed in front of th e t eam that she doe". , : •.., "':l t ~i.:; job . All : omment c in this
 objective was taken directly from the Formal warning docu mentati on administered to Doretta.
  Doretta has showed some improvements in her behavior since this documentation was admin istered
 on April 21st. She does understand that when her WD to perform a new task or to support another
 area she needs to comply and not make unprofessional comments and loud outbursts inform of her
 peers. She is also aware that failure to maintain improvements in her conduct could result in
 termination .


 Objectives Feedback
 Leading our transformation
 Objective Rating: Needs Improvement

 Objective Description:
 Contribute to Wells Fargo's transformation by doing what's right, doing it well , and leading w ith an
            Case 1:25-cv-00706-TRJ-CMS               Document 1        Filed 02/12/25       Page 72 of 145

2020 Performance Evaluation

 enterprise mindset.
                                                                                                   ■
 Success Criteria:
 Embrace candor
 -Say what you mean in the moment.
 -Share clear, honest, direct feedback with your colleagues and managers.
 -Be both direct and respectful.

 Do what's right
 -Set high standards for being helpful and trustworthy.
 -If you see a problem, take ownership or get support to make things right.

 Be great at execution
 -Make decisions that benefit clients and shareholders in the long term over any single business in the
 short term.
 -Use data to make decisions.
 -Act with a sense of urgency .
 -Strive to simplify transactions and end-to-end processes.
 -Measure success based on business results and customer/t ea m satisfaction.

 Learn and grow
 -Embrace challenges with enthusiasm.
 -Be tenacious in overcoming obstacles.
 -Ask others for feedback; dedicate the time and effort to learn and grow.
 -Take personal accountability for understanding and delivering on your goals and commitments.

 Champion diversity & inclusion
 -Contribute to a safe, inclusive environment where differences are respected.
 -Solicit diverse ideas that challenge your thinking.
 -Build relationships with customers and colleagues who are different from you.
 -Actively help each other succeed.

 Build high-performing teams (for managers)
 -Set clear performance objectives.
 -Provide ongoing, actionable coaching and feedback.
 -Reward successful execution.
 -Hold people accountable .
 -Encourage community involvement through your words and actions.
 -Solicit input from your team and take action on feedback and concerns.

 Objective Evaluation Comments:
 Doretta displayed some issues with conduct this year. I encourage her to communicate and express
 her concerns or issues in
  a professi onai manner at all times. Doretta was placea on A formal corrective action for her cond uct ,
 I encourage Doretta adhere to the behavioral expectations and work place conduct guidelines
 established by Wells Fargo.


 Process Payments in a Timely and Efficient Manner
 Objective Rating: Meets

 Objective Description:
 Performing all assigned job duties and responsibilities with quality and care is foundational to the
 success of Lockbox and the customers we serve. Approach each task with a customer centric goal of
 meeting or exceeding their expectations by delivering timely and accurate payment processing and
 resulting information for their Receivables business needs.

 Success Criteria:
            Case 1:25-cv-00706-TRJ-CMS              Document 1        Filed 02/12/25      Page 73 of 145

2020 Performance Evaluation
 Escalate to management all potential occurrences for missed deadlines or commitments.
                                                                                                 ■
 Individual Productivity Tracking Rate - achieve utilization rates based on the number of items (e.g.
 transactions, keystrokes, images, packages or manually tracked activities) completed during your
 shift.
 Level 5 =or> 120%
 Level 4 = 100% - 119.9%
 Level 3 = 70% - 99.99%
 Level 2 = 35% - 69.99%
 Level 1 < 35%

 Objective Evaluation Comments:
 Doretta continues to meet deadlines daily. She supports the Production Floor with Check Keying when
 needed and also the incoming mailroorn with scanning trackable mail and pitching oversized mail.
 Within the latter half of this evaluation cycle, Doretta began training on how to run the Fluence Mail
 sorter.
 Doretta is also tra ined on all of the tasks for the outbound mailroom, she will break down work for
 stapling , prep all wall for mailing and even work on the HIPAA complex wall.




 CSBB Operations - Achieve Operational and Customer Excellence
 Objective Rating: Meets

 Objective Description:
 Operational and Customer excellence results in a work environment that is well designed and
 understood, where we are all clear on the detailed requirements of our roles and in a position to
 successfully execute these requirements every day for both the business and our customers.
 Operational and Customer excellence means we can explicitly connect what we do to what our
 customers experience and continuously improve the delivery of these experiences. We perform with a
 level of transparency and mastery of our work environment that results in no surprises. To achieve
 Operational and Customer excellence, we all have an important role to play, including:
 - Starting with our customers: we 1) are actively engaged in listening to and serving our customers,
 offering high quality customer service the first time, 2) raise our hands early when we see obstacles
 for our customers and areas for improvement, 3) respond with empathy to our customers' complaints
 and provide perspective on root cause of the complaint to solve and prevent for the future, 4) are in a
 position to provide complete and accurate information about Wells Fargo products, resources and
 digital tools as appropriate, 5) comply with all policies, procedures, and internal safeguards while
 consistently utilizing all available resources.
 - Focusing on well defined and designed business processes to deliver great customer experience: we
 1) proactively raise our hands and identify process improvement opportunities - evaluating the
 process through what our customers' experience, 2) contribute to well defined, designed, and
 controlied bu siness processes, 3) create and nurturi:: a cul tu, e uf continuous imp.-ovement Nhere new
 ideas are encouraged, 4) welcome credible challenge and inspection of our work to make things
 better.
 - Being ready to perform our roles: we 1) are receptive and proactive to coach and be coached, 2) are
 well trained and seek the knowledge we need to do ou r jobs effectively, 3) are comfortable asking
 questions when we don't have the answers, 4) operate with well documented end-to-end procedures
 designed to deliver quality solutions, 5) raise concerns and escalate early .
 - Solving for problems: when something breaks down, we are diligent about sizing and resolving
 issues permanently, within a predetermined and fact-based timeframe.

 Success Criteria:
 Approach completing all assigned duties, responsibilities and tasks with the customer in mind.
 Endeavor to identify new ways to improve results benefitting our clients and the business of Lockbox.
 Submit your ideas through CPI or Best Practices.

 Think beyond individual or team functions to the betterment of the entire site and overall business of
            Case 1:25-cv-00706-TRJ-CMS               Document 1         Filed 02/12/25       Page 74 of 145

2020 Performance Evaluation
 Lockbox.
                                                                                                    ■
 Become knowledgeable of how your job performance impacts our customers and business. Maintain
 an end-to-end perspective and how your actions may affect your teammates, and downstream
 processes.
 Complete 100% of all assigned Compliance tra ini ng courses by the designated interna l E&CS deadline,
 without exception. This has regulatory implications and is critica lly important to your annual
 performance rating.

 Bring awareness to your manager when you identify changes needed to customer instructions to
 improve understanding and ultimately results.

 Objective Evaluation Comments:
 Doretta always express her concerns when it may cause a customer impact. I encourage her to
 continue putting the
 customer first while performing her daily tasks including stapling, mailing , matching up and check
 keying with accuracy.


 Process Payments with Quality and Care
 Objective Rating: Meets

 Objective Description:
 Completing all assigned functions, duties and responsibilities at the pre-defined target rate is
 foundational to the success of Lockbox and the customers we serve. Producing work at an expeditious
 rate, while maintaining quality, is critical to helping Lockbox achieve its financial and cost efficiency
 goals. Minimally achieving or exceeding the rate goals for your job function is expected of all team
 members.

 Success Criteria:
 All audit control logs and reports are completed as required, following all policies, regulations and
 procedures that pertain to your job functions .

 Meet monthly quality standards as outlined in your 2020 Quality Standards Document, which includes
 the following accuracy measures:
 Payment Processing - errors requiring a financial adjustment
 Procedural
 Data Entry
 Packaging/Distribution
 Imaging

 Objective Evaluation Comments:
 Doretta is efficient and detailed when mailing, stapling, matching up or check keying. She received 3
 internals and 2 external errors
  for the year. Doretta mails over 1000 packages a month , key a total of 10 plus hours a week and
 staples around 1400 items
  weekly. Doretta did not have any mailing errors for this evaluation period.



 Employee Name:
 Acknowledged Date:
    Case 1:25-cv-00706-TRJ-CMS                Document 1          Filed 02/12/25        Page 75 of 145




•   ER Solutions is available to assist you in resolving workplace concerns and conflicts. Contact ER Solutions using
    the Employee Relations eForm that can be found on Teamworks by searching for "Employee Relations eForm."
•   Employee Assistance Services (EAS) is available free of charge and provides confidential and professional
    consulting 24 hours a day, 7 days a week. Contact EAS at 1-888-327-0027, option 1.
•   Leave Management is available to provide you with information regarding leaves of absence for which you may
    be eligible, including Family and Medical Leave (FMLA). Contact Leave Management at
    1-877-HRWELLS (1-877-479-3557).
•   Accommodations Management is available to help you with medical restrictions or disabilities and with
    exploring job modifications or accommodations. Contact Accommodations Management at
    1-877-HRWELLS (1-877-479-3557).




                                                                                                                   2
        Case 1:25-cv-00706-TRJ-CMS                  Document 1         Filed 02/12/25        Page 76 of 145




FORMAL WARNING
Conduct
                                                                                                                 ■
     Team member's
                            Barner, Doretta                                       Date:     4/21/2020
            name:
              Job title:    OPERATIONS CLERK 2                       Employee ID #:         1049093
   Manager's name:          WILLIAMS, SHENESE L                                  AU#:       0054480

This memo provides you with information about your formal warning for displaying unprofessionalism work place
behavior on several different occasions.
Expectation for professional conduct
Our goal at Wells Fargo is to maintain a professional and productive work environment for every team member and for
our customers and clients. As stated in the Team Member Ha ndbook, "You're expected to conduct yourself in a
professional manner and to use good judgment in all aspects of your conduct as a Wells Fargo team member."
Reason for corrective action
[X] On 08/17/2019 you engaged in rude outburst in front of your team and work directors. Doretta has stated on many
occasions that she don't need this job & will not follow tasks that has been assigned to her. Also Doretta will keep her
phone on at all time and answer in the work area ever after she has been addressed by management. and the impact was
dividing the team because it's always conflict when she is asked to complete a tasks. Her team avoids interaction with
her because she will make rude outbursts or go to management causing a seen within the department. Doretta will state
in front of others that she will contact her lawyer any time you try to provide feedback on her behavior.
[X] On the following dates 8-17-19,9-12-19,9- 27-19,10- 1-19,12- 12- 19,12-23-19,1-17- 20 and 1-29-20 you engaged in
making rude outbursts to your work directors and peers. Doretta works at her own pace regardless of directions received
for management. and the impact was Doretta's behavior makes the department pull apart avoiding contact with her
because of the backlash of her behavior.

Plan to correct the situation
Doretta need to remain professional at all time, follow the directions of her work directors and follow all departmental
standards daily.

Consequences
If this conduct continues, you may be subject to further corrective action up to and including termination of
employment.
A formal warning may affect your eligibility for salary increases, promotions, transfer opportunities, or bonus and
incentive payments, (in accordance with your incentive plan terms). In addition, the corrective action may affect your
annual performance evaluation and ratings at the individual objective and/ or overall performance level. If you apply for
another position within Wells Fargo in the next 12 months, you are required to inform any Wells Fargo hiring manager
of, and provide him or her with an explanation for, this warning. You are also required to disclose this warning when
completing the Questionnaire portion of the application process.

The following resources are available to you if you wish to discuss personal issues that may be affecting your
performance.




                                                                                                      ND008008
   Case 1:25-cv-00706-TRJ-CMS                      Document 1            Filed 02/12/25    Page 77 of 145




Team Member Signature:-'?=) ..ut:..I,,<l.£1,,1~- - <~.4LJL:,,::::::::___!~ -       Datei     -   I~ -di) j 1J
Team Leader Sig~ k : l o A                      ~                                  Date: £       -/   (o- c9017




Rev ised 04/2009
    Case 1:25-cv-00706-TRJ-CMS                 Document 1          Filed 02/12/25         Page 78 of 145




Wells Fargo Bank, N.A.
Operations Group
                                                                                                    ■
                        Record of Conversation for Management
                                             (For Supervisors File)


Date: 08-14-2017
Time:
Team Member Name: Doretta Barner

Employee ID Number: .10490093

Subject: Workplace Conduct



Notify H.R. immediately if the issue is of a repetitive nature or is a possible violation of policy (i.e.
infraction of the Code of Ethics or Harassment etc.). Do not conduct investigations.

Notes: This memo provides you with information about your record of conversation for
unacceptable conduct and to establish Wells Fargo & Co. expectation.

Expectation for professional conduct
Our goal at Wells Fargo is to maintain a professional and productive work environment for
every team member and for our customers and clients. As stated in the Team Member
Handbook, "You're expected to conduct yo urseif in a professional manner and to use good
judgment in alJ aspects of your conduct as a Wells Fargo team member."

Reason for corrective action
On August 14, 2017, you engaged in inappropriate behavior by not informing yo ur Work
Director about adjusting work/lunch sched ules , not following directions provided in order
to meet customer deadlines timely. Also displaying disruptive behavior to other Team
Members.
Distuptive behavior is inappropriate behavior that interferes with the functioning and flow
of the workplace.

Plan to correct the situation
This conduct is unacceptable and must stop immediately.

Team Member Comments:




Revised 04/2009
   Case 1:25-cv-00706-TRJ-CMS                               Document 1               Filed 02/12/25               Page 79 of 145




Compensation Summary Statement
                                                                                                                                                ■
Team Member
Name                                         Doretta Barner
Employee ID                                  1049093
2019 Performance Indicator                   Performing
Current Job Title                            Operations Clerk 2




Completed 2019 Performance Year
   Base Salary at Year-end                                                              32,490 USO



2020 Base Salary
   Base Salary Increa se                                                                   666 USO         (2.05%)
   Annu al Base Salary                                                                  33,155 USO



Footnotes
This statement is for information purposes only. The above amounts will be subject to relevant deductions for tax and social security
contributions {if such deductions apply in your jurisdiction) along with any other deductions required or permitted by law, and any requ ired
approvals. All amounts are shown to the nearest whole unit. For team members paid on an hourly basis your annual base salary amounts
are calculated based upon your hourly rate and your standard work hours per week. The effective dates of base salary and job title changes
for the current performance year {if any) typically occur within the month of March. Specific dates vary by location. Discretionary awards or
payments received in any one year do not guarantee receipt of such award or payments in subseq uent years. Data shown reflects
information as of the data freeze date used for compensation planning purposes. Any changes made to a team member's compensation or
job title outside of the Compensation Planning and Decisioning system after the data freeze date will not be reflected on this Compensation
Summary Statement.
 Case 1:25-cv-00706-TRJ-CMS                         Document 1            Filed 02/12/25            Page 80 of 145




Compensation Summary Statement
                                                                                                                               ■
Team Member
Name                                   Doretta Barner
Employee ID                            1049093
2018 Performance Indicator             Improvement Needed
Current Job Title                      Operations Clerk 2




Completed 2018 Performance Year
   Base Salary at Year-end                                                 32,490 USD



2019 Base Salary
    Annual Base Salary                                                      32,490 USD



Footnotes
This statement is for information purposes only. The above amounts will be subject to relevant deductions for tax and
social security contributions (if such deductions apply in your jurisdiction) and any other deductions required or permitted
by law. All amounts are shown to the nearest whole unit. For team members paid on an hourly basis your annual base
salary amounts are calculated based upon your hourly rate and your standard work hours per week. The effective dates of
base salary and job title changes for the current performance year (if any) typically occur within the month of March.
Specific dates vary by location. Discretionary awards or payments received in any one year do not guarantee receipt of
such award or payments in subsequent years. Data shown reflects information as of the data freeze date used for
compensation planning purposes. Any changes made to a team member's compensation or job title outside of the
Compensation Planning and Decisioning system after the data freeze date will not be reflected on this Compensation
Summary Statement.
     Case 1:25-cv-00706-TRJ-CMS        Document 1   Filed 02/12/25   Page 81 of 145



r, Staples.
Your fax has been sent successfully!
Date: Tue 20-Aug-2024 10:02:58 EDT
Phone Number: 6892192101
Images Scanned: 24
Fax Id: d40dad12-db12-4537-8901-c9ada4f2d764
Status: SUCCESS
Case 1:25-cv-00706-TRJ-CMS   Document 1   Filed 02/12/25   Page 82 of 145




     EXHIBIT A




                                                            WF202458450657-000001
    Case 1:25-cv-00706-TRJ-CMS                 Document 1         Filed 02/12/25   Page 83 of 145
Enterprise Policy: Affirmative Action and Equal Employment Opportunity Policy



Affirmative Action, Equal Employment Opportunity
Policy for the U.S.
Supplemental to the Risk Management Framework



Published July 17, 2023




1. Purpose
Wells Fargo employees are required to adhere to all applicable laws and regulations governing
nondiscrimination, affirmative action, and equal employment opportunity in the workplace. This policy
establishes the expectations and requirements to verify compliance with these laws and regulations.



2.Scope
All U.5.-based Wells Fargo businesses and employees are covered by this policy. The requirements for
non-U.S.-based employees are defined by country-specific practices and laws and are not covered by
this policy.



3. Summary
•    Wells Fargo employees must not discriminate on the basis of race, color, gender, national origin,
     religion, age, sexual orientation, gender identity, gender expression, genetic information, physical
     or mental disability, pregnancy, marital status, status as a protected veteran; or any other status
     protected by federal, state, or local law.
•    Wells Fargo managers must recruit, hire, and promote employees based on their individual ability
     and experience in accordance with Affirmative Action and Equal Employment Opportunity laws and
     regulations.
•    Affi r mative Action , Eq ual Employment Opportunity and Diversity. Equity. an d Inclusion programs
     work together to make sure that all employees are treated with equality and respect and are given
     the opportunity, such as training or career opportunities, to make a contribution to the company's
     success.



4. Affirmative Action and Equal Employment Opportunity

4.1 Affirmative Action
Wells Fargo must comply with Affirmative Action and Equal Employment Opportunity laws and make a
good-faith effort to meet affirmative action goals during recruitment, hiring, retention, and promotion.
As such, Wells Fargo leaders designated as plan owners must adhere to affirmative action plans that:
•   Set goals and timetables for hiring and promoting women and minorities.
•   Establish a hiring benchmark for protected veterans.
•   Set a utilization goal for individuals with disabilities.
Wells Fargo managers must not set quotas for hiring, promoting, or making any selection decision.


4.2 Equal Employment Opportunity and Nonretaliation


Page 1 of 4 . Wells Fargo internal use.                                             WF202458450657-000002
    Case 1:25-cv-00706-TRJ-CMS                 Document 1         Filed 02/12/25    Page 84 of 145
Enterprise Policy: Affirmative Action and Equal Employment Opportunity Policy


Wells Fargo employees and job candidates must not be subject to discrimination, ha rassment, or
retaliation for:
•   Filing a compla int.
•   Assisting or participating in an investigation .
•   Inquiring about, discussing, or disclosing one's own pay or the pay of another employee or
    applicant.
    (Note: An employee whose essential job functions require access to employee compensation
    information is subject to corrective action for inappropriate disclosure of information) .
•   Opposing any unlawful act or discriminatory practice.
•   Exercising any rights protected under federal or state laws and regulations.
Additionally, all employees can participate in company-sponsored educational, training, recreational ,
or social activities regardless of status as known individuals with disabilities or protected veterans an d
without regard to race, color, religion , sex, sexual or ientation, gender identity, national origin, or any
other status protected by federal, state, or local law . Any employee who believes they have been
excluded from a company-sponsored educational, tra ining, recreational , or social activity should repo rt
it consistent with Wells Fargo Speak Up and Nonretaliation Policy .


4.3 Pay Equity
Managers are responsible for administrating employee compensat ion in accordance with t he compan y
commitment to providing fair and equitable pay .


4.4 Equal Employment Opportunity (EEO) Official
Pursuant to 41 CFR 300.44(a), the EEO official responsible for the implementation of t he company's
Affirmative Action Prog ram must be named in the EEO Policy Statement. Please see link below in
Related Information section for the applicable pol icy statement.



5. Escalation

5.1 Enterprise Escalation Management Policy Criteria
All employees are expected to escalate potential and known issues and risks in a timely manner. See
the Escalation Management Policy for escalation criteria .



6. Roles and Responsibilities

6.1 Enterprise Affirmative Action Team
The Enterprise Affirmative Action team is considered front line and responsible for consultation on
affirmative action plans, how affirmative action work t ies to other diversity initiatives, and how to
support and comply with the regulations and this policy.


6.2 Plan Owners
Plan owners are considered front line and responsible for complying with regulations, poli cies, and
expectations concerning Affirmative Action and Equal Employment Opportunity.



7. Managing This Policy


Page 2 of 4 . Wells Fargo internal use.                                               WF202458450657-000003
    Case 1:25-cv-00706-TRJ-CMS                 Document 1          Filed 02/12/25   Page 85 of 145
Enterprise Policy : Affirmative Action and Equal Employment Opportunity Policy




7.1 Accountability
The following individuals are responsible for managing this policy:
•   Executive officer: Head of Human Resources
•   Policy owner: Affirmative Action Leader


7.2 Monitoring This Policy
The Enterprise Affirmative Action team fulfills its oversight responsibili ty through the monitoring of
personnel transactions, which include hiring and promoting activity.


7.3 Policy Exceptions and Violations
To request an exception or to report a suspected violation of this pol icy, see the Policy Management
Procedures .



8. Related Information

8.1 Related Law or Regulation
Affirmative Action
The Wells Fargo Legal Department is the final authority for interpreting laws and regulations on behalf
of Wells Fargo. For more information about or interpretation of applicable laws or regulations, consult
the Wells Fargo Legal Department.


8.2 Related Policies or Resources
Enterprise Diversity and Inclusion
Policy Statement: Affirmative Action and Equal Employment Opportunity
Recruiting and Hiring Policy
Speak up and Nonretaliation Policy



Appendix: Glossary

Affirmative Action
These are the steps taken to recruit and promote qualified minorities, women, persons with
disabilities, and covered veterans .


Equal Employment Opportunity
Government regulations require that all people, regardless of race, color, gender, national origin,
religion, age, sexua l orientation, gender identity, gender expression, genetic information, physical or
mental disability, pregnancy, marital status, status as a protected veteran; or any other status
protected by federal, state, or local law, have equal opportunities for hire, promotion, and in all terms
and conditions of employment. Laws in certain locations (for example, New York City) cover additiona l
protected classes, including creed, citizenship status, and sex, all of which are covered by this policy.




Page 3 of 4. Wells Fargo internal use.                                               WF202458450657-000004
    Case 1:25-cv-00706-TRJ-CMS                Document 1          Filed 02/12/25   Page 86 of 145
Enterprise Policy: Affirmative Action and Equal Employment Opportunity Policy


Quota
A quota is a requirement that an employer hire a certain number or percentage of employees from a
specified group(s), without regard to the availability of qualified candidates or the presence of more
qualified members of other groups. The Office of Federal Contract Compliance Programs (OFCCP)
regulations prohibit the use of quotas.




Page 4 of 4 . Wells Fargo internal use.                                             WF202458450657-000005
Case 1:25-cv-00706-TRJ-CMS   Document 1   Filed 02/12/25   Page 87 of 145




     EXHIBI TB




                                                            WF202458450657-000006
    Case 1:25-cv-00706-TRJ-CMS                    Document 1          Filed 02/12/25          Page 88 of 145

Enterprise Policy: Anti-Harassment and Discrimination Policy



Anti-Harassment and Discrimination Policy
Supplemental to the Compliance Program Policy



Published December 14, 2023




1. Purpose

This Policy establishes requirements for providing a workplace free from harassment and discrimination based on
all characteristics protected by applicable country-specific laws.




2.Scope
This Policy applies globally to all Wel ls Fargo employees, business groups, and enterprise functions . It is subject to
country-specific legal requirements . Refer to Anti-Harassment and Discrimination Country Specific Requirements
(Includes U.S. State Requirements) or Work Rules, Employment Notices, and Agreements (restricted access - only
for employees in the locations that applies) .




3. Summary
Wells Fargo prohibits harassment and discrimination based on characteristics protected by applicable laws.
    ■   The Policy outlines the steps for reporting any concern of harassment and discrimination .
    ■   Concerns of harassment and discrimination are investigated and managed in an objective, t horough,
        consistent, and timely manne r.
    ■   Violating the Policy, Country Specific Requirements (includes U.S. State Requirements) or Work Rules,
        Employment Notices, and Agreements (restricted access - only for employees in the locations that
        applies) can result in corrective action, up to and including termination of employment.




4. Harassment and Discrimination
Wells Fargo does not tolerate harassment or discrimination based on :
     ■  Race
     ■  Co lor
     ■  Gender
     ■  National origin
    ■   Re ligion
    ■   Age
    ■   Sexual orientation
    ■   Gender identity
     ■  Gender expression
    ■   Genetic information
     ■  Physical or mental disability
    ■   Pregnancy
     ■  Marital status




Page 1 of 6. Wells Fargo internal use.                                                          WF202458450657-000007
    Case 1:25-cv-00706-TRJ-CMS                    Document 1          Filed 02/12/25          Page 89 of 145

Enterprise Policy: Anti-Harassment and Discrimination Policy


     •     Hairstyles or hair texture
     •     Status as a protected veteran
     •     Or any other status prote cted by applicable law
Prohibited conduct includes harassment and discrimination inside or outside the workplace but is not limited to :
    •    Office buildings
    •    Company vehicles
    •    Company commu nication systems
    •    Work related or company sponsored events
    •    During business travel
    •    Customer locations
    •    During remote work
Employees are still subject to the Policy even if they did not intend to harass or discriminate, or believed the ir
conduct was welcome.

Employees are required to promptly report concerns of harassment or discrimination in accordance with the
Speak Up and Nonretaliation Policy, using one of the options described in section 5.1 Reporting Ha rassment or
Discrim ination.


4. 1 Discrimination
Discrimination is based on the protected characteristics of an individual or group identified above .

Discrimination can be:
    •   Unjust, less favorable treatment or denial of equal opportunity to an individual or a group .
    •   Imposed burdens, obligations, or disadvantages on an individual or group not imposed on others.
    •   Denying or limiting access to opportunities, benefits, and advantages available to othe rs.


4.2 Harassment
Harassment based on the protected characteristics of an individual or group identified above covers a wide range
of behaviors that are offensive, demeaning, or hum iliating. This includes behavior that unreasonably interferes
with an individual's work performance, creates an intimidating, hostile, or offensive work environment, or creates
a risk to health and safety.

Prohibited behavior may take the form of:
    •    Written, verbal, physical, or visual harassment and may include epithets, slurs, derogatory comments, or
        jokes
    •    Intimidation
    •    Negative stereotyping
    •    Th reats
    •    Bullying or assault
    •    Written or graphic material
    •    Other behavior that denigrates, shows hostility or aversion toward an individual or group.



          4.2.1 Sexual Harassment

Sexual Harassment is defined as unwanted sexual advances, requests for sexual favors, visual, verbal, or physical
conduct of a sexual nature when:
    •   Submission to this conduct is made either explicitly or implicitly a term or condition of an individual's
        employment.




Page 2 of 6. Wells Fargo interna l use .                                                       WF202458450657-000008
    Case 1:25-cv-00706-TRJ-CMS                   Document 1          Filed 02/12/25         Page 90 of 145
Enterprise Policy: Anti -Harassment and Discrimination Policy


     •     Submission to or rejection of this conduct is used as the basis for employment decisions that affect the
           individual.
     •     The conduct has the purpose or effect of unreasonably interfering with an individual 's work performance
           or creat ing an intimidating, hostile, or offensive work environment.
Sexual harassment also may be in the form of nonsexual, offensive conduct that is directed at an employee
because of their gender. Sexual harassment may occur between members of different sexes or members of the
same sex.
Examples of proh ibited sexual harassment include conduct, such as:
   •   Physical harassment: Assault, stalking behaviors, any unwanted, inappropriate touching or body contact .
       Any physical touching that makes a person feel uncomfortable, impeding or blocking movement, or
       encroaching on another's personal space (stand ing or sitting too close) .
   •   Verbal harassment: Sexual comments, advances, propositions, derogatory comments, slurs, jokes and
       comments about an individual's body or appearance, including comments made on voicemail or another
       recording device .
   •   Visual harassment: Sexual gestures; staring, inappropriate display of sexually explicit objects, pictures,
       cartoons, or posters (hard copy or electronic) through work or personal devices.
   •   Written harassment: Sexually suggestive or obscene letters, e-messages, texts, instant messages, notes,
       social media posts, or invitations.




5. Reporting and Investigating Harassment or Discrimination

5.1 Reporting Harassment or Discrimination
Wells Fargo encourages and expects all employees tp report any concerns related to harassment or
discrimination, whether it's directed at the employee or someone else, even if all the facts are not immediately
available or if it is unclear whether the conduct or behavior violates this Policy. In addition, managers must report
all harassing or discriminatory concerns observed, learned of, or received from employees against another
employee (including an employee not on the team, or another manager), contingent resource, third parties,
customer, or other parties external to Wells Fargo unless the employee confirms, verbally or in writing, that the
employee already reported the concern.

For details on reporting misconduct, refer to the Speak Up and Nonretaliation Policy.
For additional requirements on reporting concerns related to harassment and discrimination, refer to the Country
Specific Reguirements (Includes U.S. State Reguirements) or Work Rules. Employment Notices. and Agreements
(restricted access - only for employees in the locations that applies). Where applicable, follow the grievance
resolution or reporting requirements. If no specific grievance resolution or reporting requirements are identified,
you must promptly report potential misconduct to one of the following reporting resources, as required by the
Speak Up and Nonretaliation Policy:
     •    Member of management
     •    Ethicsline by phone
     •    Ethicsline Onl ine Reporting
    •     Employee Relations (or another Human Resources Professional)
Employees who are uncomfortable reporting a concern to management or Employee Relations are able to report
anonymously through the Ethicsline, as permitted by local laws and regulations.


5.2 Investigation




Page 3 of 6. Wells Fargo internal use .                                                       WF202458450657-000009
    Case 1:25-cv-00706-TRJ-CMS                  Document 1          Filed 02/12/25         Page 91 of 145

Enterprise Policy: Anti-Harassment and Discrimination Policy


Wells Fargo promptly investigates and manages allegations of harassment and discrimination in an objective,
thorough, consistent, and timely manner. Refer to the Allegation Management Policy for information on
management of allegations, including investigations. Refer to Country Specific Requ irements (Including U.S.
Stat e Requirements), or Work Rules, Employment Notices, and Agreements (restricted access - only for
employees in the locations that applies) for location specific handling procedures for instances where Wells Fargo
must review the matter and attempt to resolve it through conciliation, review committees or any other required
actions before starting an investigation .




6. Confidentiality and Retaliation

6.1 Confidentiality Expectations
Reports related to discrimination or harassment are treated confidentially as permitted by local laws and
regulations and are shared only with those who have a legitimate business need to know . Additionally,
information may be shared with regulatory or law enforcement agencies, when a law, regulation, court order, or
other legal mandate requires, or when instructed oth erwise by Legal.

Refer to Allegation Management Policy for information on the confidential t reatment of allegations.


6.2 Retaliation
Retaliation against any employee who in good faith reports, provides information, or takes part in an
investigation about a concern related to an allegation of misconduct, including harassment or discrim ination is
prohibited. Refer to Speak Up and Nonretal iation Pol icy.




7. Corrective Action

Violating the Policy can resu lt in corrective action, up to and including termination of employment. Wells Fargo
takes action per the Correcti ve Action Policy to determine the appropriate action .




8. Escalation

8.1 Enterprise Escalation Management Policy Criteria
Employees must promptly raise awareness and act on any risks. adverse events. and issues as expla ined in the
Escal ation Management Policy.




9. Roles and Responsibilities

9.1 Employee Relations
Employee Relations is responsible for:




Page 4 of 6. Wells Fargo interna l use.                                                     WF202458450657-000010
    Case 1:25-cv-00706-TRJ-CMS                   Document 1            Filed 02/12/25      Page 92 of 145
Enterprise Policy: Anti-Harassme nt and Discri mination Policy


     •     Reviewing this Policy, in consultation with Compliance, to comply with global regulatory requirements.
     •     Administering the corrective action process in alignment with country specific requirements.
     •     Provid ing consu ltation to leaders and emp loyees ensuring compliance to the established behavior and
           conduct expectations.


9.2 Employees and Managers
Employees and managers are responsible for complying with this policy including the reporting requ irements
outlined in section 5.1 Reporting Harassment or Discrimination.




10. Managing This Policy


10.1 Accountability

The following individuals are responsible for managing this Poli cy:
    •    Executive officer: Head of Hu ma n Resources
    •    Policy owner: Employee Relations Executive


10.2 Monitoring This Policy

This Policy is monito red under the Policy Management Policy.

Employee Relations monitors and reports on violat ions related to this Policy to Global HR Policy Design and
Governance . Refer to Human Resources Policy Adherence Monitoring Procedure : 4.4. Report HR policy adherence
monitoring results and HR Policy Adherence Monitoring Questionnaires (restricted access) .


10.3 Policy Exceptions and Violations

To req uest an exception or to report a suspected violation of this Policy, refe r to the Policy Management
Procedures.




11. Related Information


11.1 Related Policies or Resources

Allegation

Allegation Management Policy

Contact Human Resources - Employee Relations

Corrective Action Policy

Country Specific Requirements (includes U.S. State Requirements)

Ethics Line for Wells Fargo

Glossary

HR Policy Adherence Monitoring Questionnaires (restricted access)




Page 5 of 6 . Wells Fargo internal use .                                                     WF202458450657-000011
    Case 1:25-cv-00706-TRJ-CMS                 Document 1        Filed 02/12/25        Page 93 of 145
Enterprise Policy: Anti -Harassment and Discrimination Policy


HR Services and Support - Anti-Harassment and Discrimination

Human Resources Policy Adherence Monitoring Procedure

Misconduct
Reta liation

Speak Up and Nonretaliation Policy

Workp lace Conduct

Work Rules, Employment Notices, and Agreements (restricted access - only for employees in the locations that
applies)




Page 6 of 6 . Well s Fargo internal use.                                                WF202458450657-000012
Case 1:25-cv-00706-TRJ-CMS   Document 1   Filed 02/12/25   Page 94 of 145




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                                                            WF202458450657-000013
    Case 1:25-cv-00706-TRJ-CMS                Document 1          Filed 02/12/25        Page 95 of 145
Enterprise Policy: Speak Up and Nonretaliation Policy



Speak Up and Nonretaliation Policy
Supplemental to the Code of Conduct



Published August 17, 2023




1. Purpose
This Policy establ ishes requirements for employees to speak up about potential misconduct and
prohibits retaliation by management against those who speak up in good fa ith. This Policy reinforces
the expectations, established by the Code of Conduct, for employees to promptly report concerns that
have the potential to cause harm to our communities, customers, employees, or our Company's
reputation .



2.Scope
This Policy appl ies globally to all Wells Fargo employees, business groups, and enterprise functions.



3. Summary
Misconduct may occur anywhere and by any employee or third party at the Company . All employees
must understand the Company's expectations on ethical behavior established in the Code of Conduct,
as well as all policies, laws, rules, and regulations applicable to their role and apply this knowledge to
identify potential misconduct. Employees must :
•   Speak up as soon as they become aware of potential misconduct.
•   Report potential misconduct through a resource listed in this Policy.
Retaliation , as defined in this Policy, is strictly prohibited . This includes retaliation in response to an
employee reporting potential misconduct. Concerns regarding retaliation must be promptly reported
through a resource listed in this Policy.
This Policy requ ires prompt reporting of concerns and must not be interpreted to discourage, in any
way, anonymous reporting of concerns. This Policy does not limit the rights of employees to report
misconduct, potential misconduct, or potential noncompliance with laws, rules, or regulations by Wel ls
Fargo directly to the applicable regulatory bodies, government agencies, or authorities .



4. Speak Up

4.1 Reporting Potential Misconduct
Employees must:
•  Report potential misconduct as soon as possible, even if all the facts or information associated
   with the concern are not available, including behavior either observed or learned of (for example,
   through other employees, third parties, customers, or other parties external to Wells Fargo), even
   if the employee is not directly involved or affected by the behavior.
•  Report potential misconduct to a member of management, if comfortable doing so, or through a
   resource listed below.
•  Report potential misconduct in good faith .




Page 1 of 6. Wells Fargo internal use.                                                   WF202458450657-000014
    Case 1:25-cv-00706-TRJ-CMS             Document 1        Filed 02/12/25      Page 96 of 145
Enterprise Policy: Speak Up and Nonretaliation Policy


•    Cooperate fully and honestly with any research or investigative processes and not interfere with
     the integrity of such processes.
When an employee reports potential misconduct to a manager, the manager must report it using one
of the speak up resources listed below unless the employee confirms with the manager, verbally or in
writing, that the employee already reported the concern to one of the speak up resources.
Speak up resources for U.S.-based employees:
■  Ethicsline                  )
•  Ethicsline
•  Emp loyee Relations
Speak up resources for non-U.S. based employees:
•  Where applicable, follow the grievance resolution or reporting procedures at the employee's work
   location or if there is no specific grievance resolution or reporting procedure, report via :
       •   Ethicsline by phone
       •   Ethicsline Online Reporting
       •   Employee Relations
Employees who are uncomfortable reporting a concern to management or Employee Relations are able
to report anonymously through the Ethicsline, as permitted by local laws and regulat ions.
Refer to the " Reporting Concerns That are not Misconduct" section for additional information on
reporting concerns that do not meet the definition of misconduct. (Refer to the Allegation Management
Policy for reporting requirements where potential misconduct is identified through the allegation
management process and for requirements applicable to the business groups and enterprise functions
authorized to report potential misconduct via a business-established channel.)


4.2 Reporting Concerns That are not Misconduct
Employees with concerns that are not related to misconduct may:
■  Discuss concerns regarding the employee performance review and evaluation process with their
   manager or Employee Relations.
■  Discuss concerns about unprofessionalism or rudeness with their manager or Human Resources .
■  Report adverse events that are not misconduct, such as inadvertent errors resulting in material
   negative customer impact, or potential policy violations, per the requirements found in the
   Escalation Management Policy.
■  Report business process concerns to their manager and, where applicable, in line with the
   requirements found in the Escalation Management Policy.
■  Report process improvement recommendations through Loudspeaker.
Concerns involving misconduct, including retaliation, must be reported via the resources found in the
section on " Reporting Potential Misconduct ."


4.3 Managing Resources for Reporting Potential Misconduct
The Ethicsline must allow for anonymous and confidential reporting , as permitted by local laws and
regulations, with translation services. Sales Practices & Conduct Management (hereafter "Conduct
Management") must engage the third party managing the Ethicsline to:
■   Collect concerns reported to the Ethicsline.
■   Manage the reported concerns in alignment with the requirements in the Allegation Management
    Policy.
Employee Relations must have a process to receive and manage the concerns raised via the Employee
Relations site or referred by an allegation management team. Employee relations must refer potential
misconduct, as soon as it is identified, to an appropriate allegation management team , as defined in
the Allegation Management Policy, for review.




Page 2 of 6. Wells Fargo internal use.                                             WF202458450657-000015
    Case 1:25-cv-00706-TRJ-CMS              Document 1        Filed 02/12/25      Page 97 of 145

Enterprise Policy: Speak Up and Nonretaliation Policy


5. Do Not Retaliate

Retaliation is strictly prohibited and must be immediately reported through the resources listed in the
" Reporting Potential Miscond uct " section.
Retaliation is any adverse employment action taken against an employee based upon their actual or
perceived engagement in a protected activity such as :
•   Speaking up in good faith about potential violations of policy, procedure, the Code of Conduct, or
    potential noncompliance with law, rule, or regulation.
•   Assisting or participating in an investigation, proceeding, or hearing.
•   Exercising any right protected by law, rule, or regulation .
Adverse employment action occurs where there is any direct or ind irect form of employment discipline
or penalty, including dismissal, suspension, demotion, transfer, reassignment, official reprimand ,
adverse performance evaluation , withholding of work, denial of any compensation or benefit, or threat
of any such discipline or penalty, that is motivated by an employee's actual or perceived engagement
in a protected activity.



6. International Requirements

6.1 For Non-U.S.-Based Employees
Employees in reg ions/countries that have more restrictive requirements, laws, rules, or regulations
than detai led in this Policy are responsible for understanding and abiding by those requi rements, laws,
rules, or regulations, including :
For Australia:
Wells Fargo International Finance (Australia) Pty Ltd - Whistleblower Policy
For Canada:
Wells Fargo Bank, N.A., Canadian Branch (Canada Branch) Whistleblowing Policy
For EMEA :
EMEA Policy: Whistleblowinq
For India :
Wells Fargo India Employee Grievance and Dispute Resolution Procedures



7. Escalation

7.1 Enterprise Escalation Management Policy Criteria
All employees are expected to escalate potential and known issues and risks in a timely manner. See
the Escalation Management Policy and the following criteria.
When an employee believes an escalated concern is not being adequately addressed or is not
comfortable escalating according to the Esca lation Management Policy, the concern must be reported
via the resources listed in " Reporting Potential Misconduct" section.



8 . Roles and Responsibilities

Page 3 of 6 . Wells Fargo interna l use .                                           WF202458450657-000016
    Case 1:25-cv-00706-TRJ-CMS              Document 1        Filed 02/12/25     Page 98 of 145

Enterprise Policy : Speak Up and Nonretaliation Policy



8.1 Employee Relations
Employee Relations is responsible for:
•  Receiving and managing the concerns raised via the Employee Relations site.
•  Managing referrals from Conduct Management that were raised in the Ethicsline channel .
•  Referring concerns that, after a review of the details, may pertain to misconduct to an allegation
   management team , defined in the Allegation Management Policy .


8.2 Employees
Employees are responsible for:
•  Reporting potential misconduct, including any conduct that conflicts with the expectations outlined
   in the Code of Conduct and as detailed in the " Reporting Potential Misconduct" section.
■  Speaking up based on behavior that they observe, learn of, or become aware of (for example,
   through other employees, third parties, customers, or other parties external to Wells Fargo), even
   if the employee is not directly involved with or affected by the behavior.
■  Reporting concerns as soon as possible to a manager or one of the speak up resources listed in
   " Reporting Potential Misconduct ."
•  Report ing concerns in good faith.
•  Cooperating fully and honestly with any research or investigative process and not interfering with
   the integrity of the process.
•  Adhering to the prohibition on retaliating against another employee for speaking up in good faith.
•  Learning about the resources available for reporting concerns, to enable prompt follow - up by
   raising concerns directly with the correct source, when possible.
Employees in managerial roles are additionally responsible for:
•  Listen ing to employees and reporting concerns that may meet the definition of misconduct as soon
   as possible in accordance with " Reporting Potential Misconduct" above.
•  Adhering to the prohibition on retaliating against an employee for speaking up in good faith. See
   Support Nonretaliation - Ethics for Managers on Teamworks.


8.3 Conduct Management
Conduct Management is responsible for the Ethicsline, which is operated by a third party and staffed
by communication specialists available 24 hours a day, seven days a week. Conduct Management's
responsibi lities include:
•   Collecting concerns reported to the Ethicsline .
•   Confirming all concerns raised to the Ethicsline are received by Conduct Management.
•   Receiving and managing concerns that may pertain to misconduct, in line with the Allegation
    Management Policy .
•   Facilitating the ability of employees to raise concerns anonymously and protecting confidentiality
    of employees, as permitted by local laws and regulations.



9. Managing This Policy

9.1 Accountability
The following individuals are responsible for managing this Policy :
•   Executive officer: Chief risk officer
■   Policy owner: Head of Conduct Risk


9.2 Monitoring This Policy
Monitoring of this Policy is conducted by Conduct Risk teams using risk-based standards to determine
whether employees and managers are executing their responsibilities consistently and in alignment




Page 4 of 6. Wells Fargo interna l use.                                           WF202458450657-000017
    Case 1:25-cv-00706-TRJ-CMS             Document 1        Filed 02/12/25     Page 99 of 145
Enterprise Policy: Speak Up and Nonretaliation Policy


with this Policy, including evaluating internal and external environment for changes. Examples include
regulatory change alerts and issues.


9.3 Policy Exceptions and Violations
To request an exception or to report a suspected violation of this Policy, see the Policy Management
Procedures.



10. Related Information

10.1 Related Law or Regulation
■    Consumer Financial Protection Act of 2010 (CFPA), Section 1057
■    Sarbanes-Oxley Act of 2002, Section 806
The Wells Fargo Legal Department is the final authority for interpreting laws and regulations on behalf
of Wells Fargo. For more information about or interpretation of applicable laws or regulations, consult
the Wells Fargo Legal Department.


10.2 Related Policies or Resources

Allegation Management Policy
Code of Conduct
EMEA Policy: Whistleblowing
Employee Relations
Escalation Management Policy
Ethicsline
Wells Fargo Bank. N.A .• Canad ian Branch (Canada Branch) Whistleblowing Policy
Wells Fargo International Finance (Australia) Pty Ltd - Whistleblower Pol icy
Wells Fargo India Employee Grievance and Dispute Resolution Procedures



Appendix 1: Glossary

Adverse Employment Action
Adverse employment action is any direct or ind irect form of employment discipline or penalty,
including dismissal, suspension, demotion, transfer, reassignment, official reprimand, adverse
performance evaluation, withholding of work, denial of any compensation or benefit, or threat of any
such discipline or penalty .


Allegation
See the definition in the Enterprise Risk Glossary


Good Faith
Good faith is sharing relevant details an employee is aware of honestly and accurately, based on the
information available at the time of disclosure .




Page 5 of 6. Wells Fargo internal use.                                            WF202458450657-000018
   Case 1:25-cv-00706-TRJ-CMS             Document 1        Filed 02/12/25       Page 100 of 145
Enterprise Policy: Speak Up and Nonretaliation Policy



Misconduct
Misconduct is employee or third-party conduct that is unlawful, unethical, or conflicts with the
Company's expectations on ethical and lawful behavior outlined in the Code of Conduct.
Misconduct may include theft, fraud, money laundering, falsifying or providing false or misleading
information or data, unfair or deceptive business practices or representations, anticompetitive
behaviors, insider abuse, insider trading, unjust enrichment, conflicts of interest, gifts and
entertainment misuse, improper sales practices, bribery and other forms of corruption, expense
reporting abuse, unapproved communications to circumvent controls, information security violations,
hiding or misrepresenting material risks and issues, violence and threats of violence, destruction or
misuse of company assets, harassment, discrimination, and retaliation.
For the purposes of this Policy, misconduct does not include concerns about the following, unless the
concern is accompanied by unlawful or unethical conduct:
•   Employee performance concerns, rudeness, or unprofessionalism
•   Failure to follow procedures, business processes, job aids, or other nonpolicy business guidelines
•   Business processes or procedures (or problems/issues caused by faulty business processes or
    procedures)
Misconduct does not include concerns about third parties not acting on behalf of Wells Fargo.


Retaliation
Retaliation is any adverse employment action taken against an employee based upon their actual or
perceived engagement in a protected activity such as:
•   Speaking up in good faith about potential violations of policy, procedure, the Code of Conduct, or
    potential noncompliance with law, rule, or regulation.
•   Assisting or participating in an investigation, proceeding, or hearing.
•   Exercising any right protected by law, rule, or regulation.




Page 6 of 6. Wells Fargo Internal use.                                              WF202458450657-000019
  Case 1:25-cv-00706-TRJ-CMS   Document 1   Filed 02/12/25   Page 101 of 145




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CONFIDENTIAL                                                  WF202458450657-000020
               Case 1:25-cv-00706-TRJ-CMS                               Document 1                Filed 02/12/25              Page 102 of 145




                                                                                                                                                         ■
Team Member Acknowledgment
Wells Fargo Team Member Handbook, Code of Ethics and Business Conduct, Compliance & Risk Management Accountability Policy,
Information Security Policy Overview, and HR Systems Authorization

Wells Fargo Team Member Handbook
The online Wells Fargo Team Member Handbook is your main resource outlining team member policies covering Wells Fargo and its subsidiaries. You can find the
online Handbook at http://teamworks.portal.wellsfargo.com/portal/site/tmhandbook/. The online Handbook provides every team member with important
information on topics such as employment, performance, and workplace conduct including Wells Fargo's policies against harassment and retaliation.
• I have been provided the link to access the online Wells Fargo Team Member Handbook. I understand that the policies it contains
  do not constitute an express or implied contract of employment, and that my employment is at will. I further understand
  that it is my responsibility to read the online Handbook thoroughly and become fam iliar with its content.

Code of Ethics and Business Conduct
The Code of Ethics and Business Conduct sets forth Wells Fargo's policy and standards concerning ethical conduct for all team members.
• I understand that the Code of Ethics and Business Conduct is included in the online Wells Fargo Team Member Handbook
  and that, under the Code, I may be required to disclose information or obtain approval in certain situations.
• I will read the Code and I will conduct myself in accordance with its provisions.

Compliance and Risk Management Accountability Policy
Accountability for appropriate risk management and for full complionce with applicable laws and regulations is a critical
element of Wells Fargo's enterprise risk management and compliance management programs.
• I understand that the Compliance and Risk Management Accountability Policy is included in the on line Wells Fargo Team Member Handbook.
• I will read this policy and will adhere to its requirements.

Information Security Policy Overview
The Information Security Policy sets forth standards governing the protection of information and team members' use of
Wells Fargo electronic communication systems. Wells Fargo maintains the right to monitor such activity.
• I understand that an overview of the Information Security Policy is included in the online Wells Fargo Team Member Handbook.
• I will read this overview and I will abide by its provisions.
• I agree that Wells Fargo has the right to monitor any company electronic communications systems and equipment to which I have access.

Electronic Human Resources Systems Authorization
This authorization is required in order for you to use Wells Fargo's electronk Human Resources (HR) systems, including automated telephone systems and online
computer applications. These systems will in many cases allow you to change your personal or benefits information without submitting additional paperwork.
• I agree that, to ensure privacy and maintain confidentiality, I will use my Employee ID Number or my Social Security Number and a
  password when I first access a Wells Fargo electronic HR system. I will create my own confidential password during the initial use of
  the system, and it will be known only to me. I understand that each electronic HR system may require a different password.
• I authorize Wells Fargo & Company and its affiliates to carry out all decisions relating to personal and benefits information executed
  by me through a Wells Fargo electronic HR system, including automated telephone systems and on line computer systems.




Acknowledgment
My signature below acknowledges that:
D I have received the link to access the online Wells Fargo Team Member Handbook, and understand its application to my employment with Wells Fargo;
□ I will read and will adhere to the provisions of the online Handbook, including the Code of Ethics and Business Conduct,
  Compliance and Risk Management Accountability Policy and the Information Security Policy Overview; and
□ I agree to the Electronic Human Resources Systems Authorization.

Print Name                                                                                                                       Employee ID
I BARNER, DORETTA                                                                                                               I-
Team Member Signature                                                                                                           Date
        /s/ completed via Leaming Center training course EH01-255686                                                                1/21/2010

 Sign this form and return it, within 10 days of receipt, to Employment Processing,
*Form applicable onl)' to team members paid on a U.S. payroll system
            CONFIDENTIAL                                                                                                          WF202458450657-000021
HRS2987 (10-09125178) FOL                                                                                         DO NOT SUBMIT PHOTOCOPY OR FAX - send original only.
  Case 1:25-cv-00706-TRJ-CMS   Document 1   Filed 02/12/25   Page 103 of 145




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CONFIDENTIAL                                                  WF202458450657-000022
                                   Case 1:25-cv-00706-TRJ-CMS                    Document 1           Filed 02/12/25          Page 104 of 145




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Overview
Overview
                                   Inactive   No
                               View As Of     11/21/2024
                     Date of Last Change      11/21/202412:01 :50.986 PM
                        Job Profile Name      Associate Operations Processor
                                 Job Code     101818
               Include Job Code In Name       No
                     Job Profile Summary      Operations: Covers jobs responsible for activities that support the operational infrastructure, performance, and efficiency.
                          Job Description
                                              About this role:
                                              Wells Fargo is seeking a ...

                                              In this role, you will :

                                                   •   Perform general clerical operations tasks that are routine in nature
                                                   •   Receive , log, batch, and distribute work
                                                   •   File , photocopy, and answer phones
                                                   •   Prepare and distribute incoming and outgoing mail
                                                   •   Regularly receive direction from supervisor and escalate questions and issues to more experienced roles
                                                   •   Work under close supervision following established procedures

                                              Required Qualifications:

                                                   • 6+ months of operations support experience, or equivalent demonstrated through one or a combination of the following : work
                                                     experience, training, military experience , education

                                              Required Qualifications for Europe, Middle East & Africa only:

                                                   • Experience in operations support, or equivalent demonstrated through one or a combination of the following : work
                                                     experience, training , military experience, education

                                              Desired Qualifications :




                                              Job Expectations:



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                              Case 1:25-cv-00706-TRJ-CMS                    Document 1           Filed 02/12/25          Page 105 of 145




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                                                                                                                                                                            Page 2 of 2




Job Desaiptlon - Additional Language
                     Job Title Default   Associate Operations Processor
                  Restrict to Country
                            Job Level    S1
                           Job Family    Business Operations
                        Job category     N
                  Job Classifications    131199 - Business Operations Specialists, All Other (AK OCC CODE-United States of America)
                                         5-1 - ADMIN SUPPORT WORKERS - (EEO Job Group-United States of America)
                                         5810 - 5810 Other office and administrative support workers (US STD OCC CODE-United States of America)
                                         5 - Administrative Support Workers - (EEO-1 Job Category-United States of America)
                                         DI - DI (Incentive Class)
                                         DP - DP (Incentive Class)
                                         Eligible - (Eligible for Performance Review)
                                         Eligible - (Eligible for Shift Differential)
                                         IND Shift Allowance Eligible - India employees eligible for shift allowance (IND Time Tracking-India)
                                         Job Class - 2 - This is assigned to all US Wells Fargo jobs that don't meet the definitions of job class codes 5 or 1. Most US jobs have a job
                                         class code of 2. (Job Class Code-United States of America)
                                         Mort - Mortgage Incentive Eligible (Mortgage Incentive Eligibility-United States of America)
                                         Operations - (SUBFAMILY)
                                         PHL Night Differential Eligible - Philippines employees eligible for night differential (PHL Time Tracking-Philippines)
                                         Processing & Ops - Customer Servicing - (Worker Segments)
                 Work Shift Required     No
                           Public Job    Yes
               Referral Payment Plan




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Case 1:25-cv-00706-TRJ-CMS   Document 1   Filed 02/12/25   Page 106 of 145




      EXHIBIT F




                                                            WF202458450657-000025
                                       Case 1:25-cv-00706-TRJ-CMS              Document 1         Filed 02/12/25     Page 107 of 145



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Professionalism
KB7014240 • Published : October 16, 2024




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current HR information .


Intended for all employees globally.

At Wells Fargo, we're committed to providing an environment that promotes professionalism and encourages each employee's professional development and achievement.
We take this commitment seriously. Consistency, fairness , and respect are essential to good relations between employees, their managers, and Wells Fargo. This approach
creates a professional and productive work environment for every employee, in the workplace, and at work-related activities such as company meetings, business travel, and
recognition programs.

The related articles outline policies and guiding principles that will help employees meet these responsibilities.

Visit Who We Are on Teamworks to explore expectations that apply to everyone at Wells Fargo, at every level and role.

This resource helps to ensure everyone understands and lives the Wells Fargo culture in our interactions with each other, our communities, and our customers.

Chat

Use Chat to get fast answers to common HR questions and guidance on tasks.

    • Select Chat in the top right corner on the navigation menu or select the chat bubble.
    • For more information and live chat hours, refer to the HR Chat FAQs article.
    • If you're unable to chat or live chat is not available, submit an Ask a Question HR Request.




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                                       Case 1:25-cv-00706-TRJ-CMS             Document 1         Filed 02/12/25        Page 108 of 145



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Workplace Conduct
KB7014009 • Published : September 11 , 2024




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current HR information .


Intended for all employees globally.

You are expected to treat your coworkers, managers, supervisors, direct reports , and customers with respect and professionalism. Refrain from conduct that may damage
Wells Fargo's business or reputation , negatively affect employees, or disparage customers.

Unprofessional employee behavior includes but is not limited to:

    •   Behavior that creates an intimidating or offensive work environment
    •   Abusive behavior or conduct including verbal abuse, insults, name calling , deliberate attempts to humiliate or demean another, or disrespectful interruptions
    •   Obscene language or repeated use of profanity
    •   Conduct that might otherwise be considered welcome between employees but is inappropriate in the workplace or during work-related activities

Providing feedback or engaging in professional, open, honest, robust, and direct communication to improve individual and organizational performance is a demonstration of
the company's expectation of embracing candor and not considered to be inappropriate conduct or a violation of this expectation .

This information is not intended to limit or restrict rights under the National Labor Relations Act, including the right to communicate with others concern ing wages, hours,
benefits, and other terms or conditions of employment.

For concerns or more information related to harassment and discrimination , refer to Anti-Harassment and Discrimination .

Visit Who We Are on Teamworks to explore expectations that apply to everyone at Wells Fargo, at every level and role.


Providing information



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                                     Case 1:25-cv-00706-TRJ-CMS                 Document 1         Filed 02/12/25        Page 109 of 145



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Report concerns related to th is expectation . Review the related article Speak Up and Nonretaliation for detailed requirements for promptly reporting potential misconduct.

Wells Fargo may need to conduct a rev iew of reported concerns. If you 're asked to be part of an investigative or fact-finding process, you 're expected to cooperate fully and
honestly and not to interfere with the integrity of the process. In certain situations, employees who engage in unprofessional conduct may be placed on administrative leave.
For more information , refer to Administrative Leave.

Remember, the company does not tolerate any form of retaliation or other negative actions for speaking up and reporting a concern or participating in the company's
investigative or fact-find ing process to review a concern .


Consequences
Failure to meet these expectations can lead to corrective action up to and including termination , and may affect your eligibility for pay increases, promotions, or transfer
opportunities, or result in the adjustment or elimination of bonus and incentive payments (i n accordance with your incentive plan terms) . This includes failing to participate fully
and honestly in any investigative or fact-find ing process initiated by Wells Fargo. For more information, refer to Corrective Action Overview.

In addition, corrective action may affect your annual performance evaluation , including the Risk Overlay rating . For more information, refer to Risk Overlay in Performance
Management.


Contact Employee Relations
For non-urgent inquiries, including corrective action reviews , attendance and punctuality issues, ti me away questions, policy interpretation , or initiation of Wells Fargo Dispute
Resolution process, submit an Employee Relations Consultation request.

If you are not able to complete an on line request or if this is an urgent matter that truly requ ires immediate Employee Re lations consultation (for example, employee
impairment or arrest in the workplace, which causes workplace disruption ):

    • U.S.-based employees: Call                                                            and an HR professional will notify Employee Relations or the appropriate team. This
      line is available Monday throug

    • International-based employees: Contact a local HR professional and they will notify Employee Relations or the appropriate team.




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Case 1:25-cv-00706-TRJ-CMS   Document 1   Filed 02/12/25   Page 110 of 145




     EXHIBIT G




                                                            WF202458450657-000029
                                       Case 1:25-cv-00706-TRJ-CMS             Document 1         Filed 02/12/25       Page 111 of 145



                                                                                                                                                                           1




Corrective Action Overview
KB7013995 • Published: August 05, 2024




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Intended for all employees globally.

Version frarn;aise (PDF) I Deutsch Version (PDF)

If you have an ongoing, unresolved performance, conduct, attendance, or punctuality issue, your manager will work with you to provide the appropriate form of corrective
ac1ion. Review detailed requirements in the global policy:
Corrective Action Policy

You can review and acknowledge any corrective action issued by your manager in Workday. Review the related articles for more
information.
                                                                                                                                                 Workday
If you need to view a corrective action administered before 2022:
                                                                                                                                                          Sign on
    • U.S. employees : Access your Electronic Personnel File. For more information , refer to the related article: Personnel File.
    • International employees: Talk with your manager or contact your local HR team for instructions. Refer to the Personnel
      Information article.

If you don't achieve the necessary improvement in performance, conduct, attendance, or punctuality that was outlined in the Informal Warning , Formal Warning , or Final
Notice/Final Warning , your employment may be terminated . For examples of situations that may be appropriate for immediate termination , refer to the related article:
Involuntary Termination .




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                                     Case 1:25-cv-00706-TRJ-CMS                 Document 1          Filed 02/12/25         Page 112 of 145



                                                                                                                                                                                        2


Corrective action types
When appropriate, your manager will work with Employee Relations (ER) to determine whether corrective is needed, and , if so, which type of corrective action to initiate.

International employees:

For information about corrective action types or processes for your location , refer to the related articles.

U.S. employees:

There are three primary types of corrective action .

Corrective action type               Description
Informal Warning                     If your performance , work-related conduct, attendance, or punctuality doesn't meet specified requirements, your manager may initiate an
                                      informal warning that documents the need for improvement and is delivered verbally to you and in writing by your manager. The informal
                                     warning generally contains:

                                          • The specific areas of performance, work-related conduct, attendance, or punctuality that don't meet the requirements or expectations
                                            of your assigned job duties or company policy.
                                          • Clear notice that if the issue continues, it could lead to a formal warning or termination of employment.

 Formal Warning                      If your performance, work-related conduct, attendance, or punctuality doesn't improve or keeps declining after an informal warning - or if
                                     the nature of the underlying concern requires more formal action - then your manager may document the situation in a formal warning. A
                                     formal warning documenting the need for improvement will be delivered verbally to you and in writing by your manager. The formal warning
                                     generally contains:

                                          • An explanation of the issue.
                                          • A definition of the expected level of performance or the identified need to improve work-related conduct or adherence to the
                                            attendance and punctuality standards.
                                          • Clear notice that if the issue continues, it can result in the termination of employment.

Final Notice                         Situations that involve a serious policy violation or workplace conduct issue may require corrective action just short of termination of
                                     employment. In a situation like this, you may receive a final notice advising you that if a similar action or any other serious policy violation
                                     occurs again at any time during your Wells Fargo employment, your employment may be terminated immediately. A final notice will be
                                     delivered to you verbally and in writing by your manager. A final notice generally contains:




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                                     Case 1:25-cv-00706-TRJ-CMS                  Document 1          Filed 02/12/25        Page 113 of 145



                                                                                                                                                                                           3
 Corrective action type               Description

                                           • A description of the significant workplace conduct issues or serious one-time policy violation (such as a Code of Conduct violation) .
                                           • A definition of the expectations.
                                           • Clear notice that if the issue reoccurs, it may result in the termination of employment.


Note: Select groups may issue Financial Industry Regulatory Authority (FINRA) compliance corrective actions, as advised by the Special Surveillance and Reviews (SSR)
team. !hese corrective actions are based on violations to FINRA rules and regulations . FINRA is the regulatory authority for the brokerage securities industry.

If you are unclear about what a corrective action means for you, contact your manager or submit an Employee Relations Consultation request as soon as possible. Issuance
of certain types of corrective action may affect your eligibility for pay increases, promotions, or transfer opportunities. In addition , it may result in the adjustment or elimination
of bonus and incentive payments (in accordance with your incentive plan terms) or affect your annual performance evaluation at the individual objective or overall
performance level.

If you are issued a conduct-related formal warning or final notice, your corrective action will place you in the Misconduct Accountability Program for that performance year. For
more information, refer to the related article: Misconduct Accountability Program.



Manager responsibilities
Managers are encouraged to consult with Employee Relations for guidance on any corrective action . ER consultation may be required in some countries and for certain types
of corrective action . Refer to the related articles for more details.

In addition , managers will:

    • Partner with Employee Relations as required to provide the corrective action in writing , discuss the corrective action with the employee, and submit the corrective actior
      in Workday.
    • For Formal Warnings or Final Notices/Warnings for misconduct (or a similar disciplinary action such as a Memo of Censure) , refer to the Managers: Misconduct
      Accountability Program article for details and actions to take during the performance evaluation and year-end compensation cycles .
    • Make it clear that if the employee repeats the behavior or conduct while employed at Wells Fargo, their employment may be terminated.

U.S. managers:

Note: You must consult with the Special Surveillance and Reviews (SSR) team before issuing a FINRA compliance corrective action (for select groups only) . Managers shoulc
follow their business group's escalation process when referring compliance issues to SSR.




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                                    Case 1:25-cv-00706-TRJ-CMS                Document 1          Filed 02/12/25       Page 114 of 145



                                                                                                                                                                                  4


Manager resources (U.S.)

For more information about understanding where and when corrective action is needed and how to document it in Workday, managers can refer to the related articles:

    • Managers: Understanding How and When to Move to Corrective Action
    • Managers: Implementing Corrective Action
    • Managers: Corrective Action in Workday



Manager resources (international)

For more information about corrective action and how to document it in Workday, managers can refer to the related article:

    • Managers: International Corrective Action and Performance Improvement Plans in Workday



Contact Employee Relations
For non-urgent inquiries, including corrective action reviews , attendance and punctuality issues, time away questions, policy interpretation, or initiation of Wells Fargo Dispute
Resolution process, submit an Employee Relations Consultation request.

If you are not able to complete an on line request or if this is an urgent matter that truly requ ires immediate Employee Relations consultation (for example, employee
impairment or arrest in the workplace, which causes workplace disruption):

    • U.S.-based employees: Call                                                          , and an HR professional will notify Employee Relations or the appropriate team. This
      line is available Monday throug

    • International-based employees: Contact a local HR professional and they will notify Employee Relations or the appropriate team .




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  Case 1:25-cv-00706-TRJ-CMS   Document 1   Filed 02/12/25   Page 115 of 145




         EXHIBITH




CONFIDENTIAL                                                  WF202458450657-000034
          Case 1:25-cv-00706-TRJ-CMS              Document 1        Filed 02/12/25        Page 116 of 145




INFORMAL WARNING
Conduct

    Team member's                                                                 Date:
                            Barner, Doretta                                                8/1/2019



                                                                                           --
           name:
               Job title:   OPERATIONS CLERK 2                      Employee ID #:
   Manager's name:          WILLIAMS, SHENESE L                                  AU#:

This memo provides you with information about your informal warning for having outbursts making rude and
negative comments to her peers ..
Expectation for professional conduct
Our goal at Wells Fargo is to maintain a professional and productive work environment for every team member and for
our customers and clients. As stated in the Team Member Handbook , "You're expected to conduct yourself in a
professional manner and to use good judgment in all aspects of your conduct as a Wells Fargo team member."
Reason for corrective action
On On 7-31-19 you engaged in making inappropriate comments to other team members. and the impact was disruptive
to the workplace displaying unprofessional behavior.

Plan to correct the situation
Doretta needs to uphold Wells Fargo's expectations of professional workplace conduct at all time.

Consequences
If this conduct continues, you may be subject to further corrective action, up to and including termination of
employment.


The following resources are available to you if you wish to discuss personal issues that may be affecting your
performance.
    • ER Solutions is available to assist you in resolving workplace concerns and conflicts. Contact ER Solutions using
        the Employee Relations eForrn that can be found on Teamworks by searching for "Employee Relations eForrn."
    • Employee Assistance Services (EAS) is available free of charge and provides confidential and professional
        consulting 24 hours a day, 7 days a week. Contact EAS at
    • Leave Management is available to provide you with information regarding leaves of absence for which you may
        be eli ible, including Family and Medical Leave (FMLA). Contact Leave Management at

    •    Accommodations Management is available to help you with medical restrictions or disabilities and with
         ex lorin ·ob modifications or accommodations. Contact Accommodations Management at




                                                                                                      ND008011        1
        CONFIDENTIAL                                                                        WF202458450657-000035
        Case 1:25-cv-00706-TRJ-CMS        Document 1     Filed 02/12/25    Page 117 of 145
BARNER, DORETTA, . . . . . . , has not viewed this form or acknowledged receipt of this form.
Form was presented t o ~ online on 8/1/2019.




      CONFIDENTIAL                                                           WF202458450657-000037
         Case 1:25-cv-00706-TRJ-CMS               Document 1         Filed 02/12/25       Page 118 of 145



FORMAL WARNING
Conduct ·

     Team member's
                             Barner, Doretta                                      Date:     4/21/2020




                                                                                            --
            name:
              Job title:     OPERATIONS CLERK 2                      Employee ID #:
   Manager's name:          WILLIAMS, SHENESE L                                   AU#:

This memo provides you with information about your formal warning for displaying unprofessionalism work place
behavior on several different occasions.
Expectation for professional conduct
Our goal at Wells Fargo is to maintain a professional and productive work environment for every team member and for
our customers and clients. As stated in the Team Member Handbook, "You're expected to conduct yourself in a
professional manner and to use good judgment in all aspects of your conduct as a Wells Fargo team member."
Reason for corrective action
[X] On 08/17/2019 you engaged in rude outburst in front of your team and work directors. Doretta has stated on many
occasions that she don't need this job & will not follow tasks that has been assigned to her. Also Doretta will keep her
phone on at all time and answer in the work area ever after she has been addressed by management. and the impact was
dividing the team because it's always conflict when she is asked to complete a tasks. Her team avoids interaction with
her because she will make rude outbursts or go to management causing a seen within the department. Doretta will state
in front of others that she will contact her lawyer any time you try to provide feedback on her behavior.
[X] On the following dates 8-17-19,9-12-19,9-27- 19,10-1-19,12-12-19,12-23-19, 1-17-20 and 1-29-20 you engaged in
making rude outbursts to your work directors and peers. Doretta works at her own pace regardless of directions received
for management. and the impact was Doretta's behavior makes the department pull apart avoiding contact with her
because of the backlash of her behavior.

Plan to correct the situation
Doretta need to remain professional at all time, follow the directions of her work directors and follow all departmental
standards daily.

Consequences
If this conduct continues, you may be subject to further corrective action up to and including termination of
employment.
A formal warning may affect your eligibility for salary increases, promotions, transfer opportunities, or bonus and
incentive payments, (in accordance with your incentive plan terms). In addition, the corrective action may affect your
annual performance evaluation and ratings at the individual objective and/ or overall performance level. If you apply for
another position within Wells Fargo in the next 12 months, you are required to inform any Wells Fargo hiring manager
of, and provide him or her with an explanation for, this warning. You are also required to disclose this warning when
completing the Questionnaire portion of the application process.

The following resources are available to you if you wish to discuss personal issues that may be affecting your
performance.




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      CONFIDENTIAL                                                                          WF202458450657-000038
      Case 1:25-cv-00706-TRJ-CMS              Document 1         Filed 02/12/25       Page 119 of 145



•    ER Solutions is available to assist you in resolving workplace concerns and conflicts. Contact ER Solutions using
     the Employee Relations eForm that can be found on Teamworks by searching for "Employee Relations eForm."
•    Employee Assistance Services (EAS) is available free of charge and provides confidential and professional
     consulting 24 hours a day, 7 days a week. Contact EAS
•    Leave Management is available to provide you with information regarding leaves of absence for which you may
     be eli ible, including Family and Medical Leave (FMLA). Contact Leave Management at

•    Accommodations Management is available to help you with medical restrictions or disabilities and with
     ex loringjob modifications or accommodations. Contact Accommodations Management at




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    CONFIDENTIAL                                                                        WF202458450657-000039
       Case 1:25-cv-00706-TRJ-CMS       Document 1    Filed 02/12/25   Page 120 of 145
BARNER, DORETTA, . . . ., has not viewed this form or acknowledged receipt of this form.
Form was presented t o ~ online on 4/21 /2020.




     CONFIDENTIAL                                                       WF202458450657-000040
            Case 1:25-cv-00706-TRJ-CMS              Document 1         Filed 02/12/25       Page 121 of 145
Barner, Doretta                                                                              Corrective Action (US)
Associate Operations Processor                                      Organization : BUSINESS OPERATIONS (richard robinson
                                                                                                              (Inherited))
Manager: Shenese Williams (Terminated)                                                Location : 142676-GA-Atlanta Ops Center
Evaluated By: Shenese Williams (Terminated)                                                             12/20/2022 - 12/20/2023


Corrective Action                                                                                                              J
  Reason:                         Informal Warning : Conduct (United States of America)
  Related Corrective Actions:



Incident Details
Provide performance/conduct expectations, found on the HR Services and Support site, for this
corrective action.

  Manager Evaluation
  Response:      This message is a follow-up to our conversation about your decision to move forward with a Informal
                 Warning for Conduct your team member -Doretta Barner to be delivered by December 20, 2022. The
                 information below will assist you in completing the corrective action documentation and delivering the
                 corrective action to the employee in a professional and respectful manner.




Provide a detailed summary of the reason for the corrective action.

  Manager Evaluation
  Response:      December 12,2022 Doretta was mailing a HIPPA sensitive account when she discovers about 5 batches
                 were missing. Doretta started making loud outburst in front of her peers about someone must have already
                 mailed the accounts are the account are located in the wrong area . After she finished distracted her area,
                 she approached Claudette Burns and stated all my bills are paid I don't care about being wrote up and I
                 mean I don't care about being wrote up. Once Doretta finished her comments with Claudette, she walked
                 over to Eleanor Nolden and stated they can take this job and shove it. One on the mailroom manager
                 (Tameeka Toussaint) also witness her behavior. Doretta has been placed on a formal warning for her
                 behavior prior to this request.




Provide a summary of the impact to the employee, business and/or customers.

  Manager Evaluation
  Response:      Distracting behavior can interfere with other TM's causing customer impacts.


Provide the plan to correct the situation, if appropriate, for this corrective action.

(Note, the above dates do not indicate the period of the incident or the length of the corrective action.
The manager delivering the corrective action may add dates within the body of the document which set
milestones for certain deliverables, activities or tasks to be completed which demonstrate progress
toward performance expectations.)
         CONFIDENTIAL                                                                           WF202458450657-000041
           Case 1:25-cv-00706-TRJ-CMS            Document 1       Filed 02/12/25      Page 122 of 145
  Manager Evaluation
  Response:    I have already spoke with Doretta about her behavior and provided her a copy of the company workplace
               conduct handbook.


Enter the HR Services and Support case number (for formal warning and final notice, add N/A if a
FINRA or informal warning).

If you are submitting a formal warning or final notice corrective action and have not started a case with
Employee Relations, please contact ER via the HR Services and Support site before submitting this
Corrective Action.

  Manager Evaluation
  Response:    -


Consequences
You are expected to show immediate and sustained improvement in all performance standards and work
expectations as outlined in this document. If you do not consistently meet and sustain performance at an
acceptable level, you may be subject to further corrective action, up to and including termination of
employment. In addition to corrective action, your technology access may be disabled or limited for
certain policy violations.

A formal warning, final notice or memo of censure may affect your eligibility for salary increases,
promotions, transfer opportunities, bonus and incentive payments or technology access, if applicable. If
you apply for another position within Wells Fargo in the next 12 months, you are required to disclose a
formal warning or final notice during the application process and to any hiring manager.

If you wish to discuss personal issues that may be affecting your performance, visit the HR Services and
Support site to submit an HR Request for Workplace Support.




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              Case 1:25-cv-00706-TRJ-CMS               Document 1        Filed 02/12/25       Page 123 of 145
Barner, Doretta                                                                                Corrective Action (US)
Associate Operations Processor                                        Organization: BUSINESS OPERATIONS (richard robinson
                                                                                                               (Inherited))
Manager: Shenese Williams (Terminated)                                                 Location : 142676-GA-Atlanta Ops Center
Evaluated By: Shenese Williams (Terminated)                                                             04/23/2023 - 04/23/2023


Corrective Action
  Reason:                           Formal Warning : Conduct (United States of America)
  Related Corrective Actions:       Corrective Action (US)



Incident Details
Provide performance/conduct expectations, found on the HR Services and Support site, for this
corrective action.

  Manager Evaluation
   Response:       Providing feedback or engaging in open, honest, robust, and direct communication to improve individual
                   and organizational performance is a demonstration of the company's expectation of embracing candor and
                   is not considered to be inappropriate conduct or a violation of this policy.
                   The way you handle interactions and communicate with others is important to the success of your team
                   and the company. You're expected to treat customers and coworkers with respect and professionalism .
                   You are also expected to treat your supervisor and other managers with respect and to avoid insubordinate
                   behavior.
                   Unprofessional and inappropriate employee behavior includes but is not limited to:
                        Any form of harassment or behavior that creates an intimidating or offensive work environment. See
                        the related Anti-Harassment article for U.S. policy, or refer to applicable country policies as needed.
                        Abusive behavior or conduct including verbal abuse, insults, name calling , deliberate attempts to
                        humiliate or demean another, or repeated instances of disrespectful interruptions.
                        Obscene language or repeated use of profanity.
                        It may also include conduct that is welcome between employees but is inappropriate in the workplace
                        or during work-related activities.


Provide a detailed summary of the reason for the corrective action.

  Manager Evaluation
  Response:       Today while working with my Wholetail team to complete an additional tray of possible holdover, I observed
                  Doretta talking with Shantrice while she was at the cutter. I gave them a few minutes to complete their
                  conversation. However, they continued talking beyond what was acceptable given the urgency of getting
                  the work done. I asked Doretta to stop talking to Shantrice and return to her workstation and she
                  aggressively responded stating she's not the problem and I need to talk to other people who do the same.
                  I stated that at this moment I needed her to leave Shantrice along so she could get her work done. She
                  then stated in a rude manner that we don't see other people doing the same thing and need to address
                  them. As she walked away, she continues talking loudly disrupting the team and making her dislike of my
                  asking her to leave the area well known .

                  Her behavior was disruptive and disrespectful and not acceptable in the work environment. This behavior
                  must be addressed immediately.



            CONFIDENTIAL                                                                        WF202458450657-000043
          Case 1:25-cv-00706-TRJ-CMS Document 1 Filed 02/12/25 Page 124 of 145
Provide a summary of the impact to the employee, business and/or customers.

  Manager Evaluation
  Response:     Doretta cause a disruptive outburst to a Barbara Ashe in front of the production floor. All employees stop
                working in the area to see what the loud disrespectful behavior was coming from . As Doretta walk back to
                her area she continued to be loud and rude.


Provide the plan to correct the situation, if appropriate, for this corrective action.

(Note, the above dates do not indicate the period of the incident or the length of the corrective action.
The manager delivering the corrective action may add dates within the body of the document which set
milestones for certain deliverables, activities or tasks to be completed which demonstrate progress
toward performance expectations.)

  Manager Evaluation
  Response:    Doretta has displayed behavior issues in the pass three year if she can't work in her department without
               following the company unprofessional workplace behavior policy after her formal warning is issued ending
               her employment would be my suggest.


Enter the HR Services and Support case number (for formal warning and final notice, add N/A if a
FINRA or informal warning).

If you are submitting a formal warning or final notice corrective action and have not started a case with
Employee Relations, please contact ER via the HR Services and Support site before submitting this
Corrective Action.

  Manager Evaluation
  Response:



Consequences
You are expected to show immediate and sustained improvement in all performance standards and work
expectations as outlined in this document. If you do not consistently meet and sustain performance at an
acceptable level, you may be subject to further corrective action, up to and including termination of
employment. In addition to corrective action, your technology access may be disabled or limited for
certain policy violations.

A formal warning, final notice or memo of censure may affect your eligibility for salary increases,
promotions, transfer opportunities, bonus and incentive payments or technology access, if applicable. If
you apply for another position within Wells Fargo in the next 12 months, you are required to disclose a
formal warning or final notice during the application process and to any hiring manager.

If you wish to discuss personal issues that may be affecting your performance, visit the HR Services and
Support site to submit an HR Request for Workplace Support.


        CONFIDENTIAL                                                                         WF202458450657-000044
     Case 1:25-cv-00706-TRJ-CMS             Document 1       Filed 02/12/25         Page 125 of 145




■
                                                          Kau J. Guannu-Emmette, Legal EEO Associate Counsel
                                                                                Wells Fargo Legal Department
                                                                                      90 S. 7 th Street, Floor 17
                                                                                      Minneapolis, MN 55402
                                                                                             MAC N9305- l 79
                                                                                          Tel: (612) 667-0010
                                                                                  kau.guannu@wellsfargo.com



December 2, 2024

Via EEOC Respondent Portal

Erika Lacour, Federal Investigator
U.S. Equal Employment Opportunity Commission
Atlanta District Office
l00Alabama St, SW, Suite 4R30
Atlanta, GA 30303

       RE:        Respondent's Position Statement
                  Doretta Barner v. Wells Fargo Bank, N.A.
                  EEOC Case No. 410-2024-13478

Dear Federal Investigator Lacour,

        I am writing on behalf of Wells Fargo Bank, N.A. ("Wells Fargo" or the "Company") in response
to the above-referenced Charge of Discrimination ("Charge") filed by former employee Doretta Barner
("Ms. Barner"). The Company recognizes that Ms. Barner may request a copy of the non-confidential
portions of this Position Statement. Aside from this narrow disclosure, any and all information submitted
in connection with this matter is provided with the understanding that it will be kept confidential and
used exclusively in the Equal Employment Opportunity Commission's ("EEOC") investigation of this
Charge. The information contained below is based on Wells Fargo's understanding of the facts to date,
and Wells Fargo respectfully reserves the right to amend or supplement this Position Statement in the
future, including the right to assert additional defenses.

         I.    INTRODUCTION

       Ms. Barner filed this Charge alleging disability discrimination and retaliation. Her allegations are
completely unsupported. Ms. Barner was terminated because she violated the Company's
Professionalism and Workplace Conduct policies after being delivered coaching and corrective action.
Accordingly, Wells Fargo respectfully requests that the EEOC dismiss this Charge in its entirety.




                                                    1
     Case 1:25-cv-00706-TRJ-CMS              Document 1        Filed 02/12/25       Page 126 of 145



         II.      WELLS FARGO VALUES DIVERSITY AND PROHIBITS DISCRIMINATION
                  AND RETALIATION

         Wells Fargo does not discriminate on the basis of race, color, gender, national origin, religion,
age, sexual orientation, gender identity, gender expression, genetic information, physical or mental
disability, pregnancy, marital status, status as a protected veteran, or any other status protected by federal,
state, or local law. (Exhibit A: Affirmative Action, EEO, and Diversity and Inclusion Policy.)

        Wells Fargo also prohibits harassment. Harassment will not be tolerated in the workplace or at
work-related events. Wells Fargo looks to all employees to assist in preventing harassment in the
workplace. Each employee is charged with the responsibility to report harassing behavior, whether it is
directed at that employee or someone else. Managers and employees who learn of harassing behavior
are instructed to immediately report the activity to the appropriate Employee Relations ("ER")
professional. Once harassment is reported, a Wells Fargo ER Representative will conduct a thorough,
effective, and objective investigation of the harassment allegations. (Exhibit B: Anti-Harassment and
Reporting Harassment Policies.)

         Furthermore, Wells Fargo is committed to providing an environment and processes to encourage
employees to recognize and report, without fear of retaliation, any suspected unethical or illegal conduct,
including fraud; securities law or regulatory violations; possible violation of any Wells Fargo policies;
or other inappropriate workplace behavior. There is zero tolerance for retaliation against an employee
who engages in protected activity. (Exhibit C: Speak Up and Nonretaliation Policy.) Finally, the
Company offers a wide variety of dispute resolution methods and prohibits retaliation against those who
utilize the dispute resolution process.

        The above-referenced policies are set forth in Wells Fargo's Employee Handbook ("Handbook").
At all times relevant to this Charge, Wells Fargo has maintained an online Handbook available to all
employees, including Ms. Barner. Ms. Barner completed a Team Member Acknowledgment,
acknowledging her receipt of and adherence to the Handbook. (Exhibit D: Team Member
Acknowledgment.)

        III.      WELLS FARGO TREATED MS. BARNER IN A NON-DISCRIMINATORY AND
                  NON-RETALIATORY MANNER

        Ms. Barner was employed by Wells Fargo from June 23, 1997, until she was terminated on
November 17, 2023. During the relevant time period, Ms. Barner was an Associate Operations Processor
reporting to former Operations Associate Manager, Shenese Williams ("Ms. Williams"). In the Associate
Operations Processor role, Ms. Barner was primarily responsible for moderately complex transactional
and operational tasks such as processing servicing related tasks, identifying problems, improving service
levels and developing metrics to measure growth and performance. (Exhibit E: Job Description.)

               a. Wells Fargo holds its employees accountable for their decisions and actions.

        Wells Fargo employees are required to comply with the Company's Professionalism and
Workplace Conduct expectations. (Exhibit F: Professionalism and Workplace Conduct Knowledge
Articles.) The expectations state in relevant part that Wells Fargo is committed to providing an

                                                      2
     Case 1:25-cv-00706-TRJ-CMS             Document 1        Filed 02/12/25     Page 127 of 145



environment that promotes professionalism, consistency, fairness, and respect between employees,
managers, supervisors, direct reports, and customers. Failure to adhere to these expectations may result
in corrective action up to and including termination. Wells Fargo's approach to coaching and corrective
action is not progressive; appropriate coaching and/or corrective action depends on the circumstances.
(Exhibit G: Corrective Action Policy.)

              b. Wells Fargo appropriately performance managed and terminated Ms. Barner for
                 repeated violations of its Professionalism and Workplace Conduct expectations.

       Wells Fargo's Employee Relations ("ER") team received several complaints regarding Ms.
Barner's workplace conduct during her employment with the Company. The concerns included her
engaging in unprofessional behavior and making inappropriate comments to her managers and peers.
For example, on July 31 , 2019, Ms. Barner was issued an Informal Warning ("IW") for having outbursts
and making rude and negative comments to her peers. As another example, in August, September, and
October 2019 and January 2020, Ms. Barner was observed having rude outbursts in front of her team
and work directors. She was issued a Formal Warning ("FW") for her conduct. (Exhibit H: Barner
Corrective Actions.)

       Despite these corrective actions, Ms. Barner 's unprofessional behavior continued. For instance,
on December 12, 2022, she had a loud outburst in front of her peers. Following the outburst, Ms. Barner
approached Senior Operations Processors, Claudette Bums ("Ms. Bums") and Eleanor Nolden ("Ms.
Nolden") to state that all her bills are paid and she does not care about being written up, and that they
can take this job and shove it. Ms. Barner 's behavior was distracting and resulted in her receiving another
IW for Conduct. (Exhibit H: Barner Corrective Actions.)

       Moreover, on April 23 , 2023, Ms. Barner behaved rudely towards Ms. Williams after Ms.
Williams asked her to stop talking to a colleague and return to her workstation. This disruptive and
disrespectful incident resulted in Ms. Barner receiving a FW for Conduct. (Exhibit H: Barner Corrective
Actions.)

        Finally, on September 8, 2023, Ms. Barner behaved rudely to Ms. Bums after Ms. Bums made
Ms. Barner aware of a HIPPA error she made. Specifically, Ms. Barner proceeded to get loud with Ms.
Bums and questioned why she was looking for errors. Additionally, she stated to Ms. Bums that "she
needs to be in Athens with White people, intelligent people." Ms. Bums reported this incident to
Operations Manager, Tiffani Williams. Ms. Barner was consequently terminated for her unprofessional
interaction and inappropriate comments.

        IV.      WELLS FARGO DID NOT DISCRIMINATE OR RETALIATE AGAINST MS.
                 BARNER

        Ms. Barner alleges in her Charge that discrimination and retaliation were the underlying reasons
for her termination. Ms. Barner 's conclusory allegations ignore the relevant facts and history of her
workplace conduct violations. Notwithstanding, Wells Fargo investigated Ms. Barner's previously raised
allegations of disparate treatment and hostile work environment, including the allegations in this Charge
and found no evidence of policy violations. Ms. Barner's termination was based exclusively on her



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     Case 1:25-cv-00706-TRJ-CMS           Document 1       Filed 02/12/25     Page 128 of 145



unprofessional conduct m violation of the Company 's Professionalism and Workplace Conduct
expectations.

        V.     CONCLUSION

        Wells Fargo did not discriminate against Ms. Barner on any basis. Nor did the Company retaliate
against her for engaging in protected activity. Accordingly, the EEOC should dismiss this Charge in its
entirety.

                                                       Sincerely,

                                                       Isl Kau J Guannu-Emmette

                                                       Kau J. Guannu-Emmette
                                                       Legal EEO Associate Counsel

                                                       Enclosures




                                                  4
  Case 1:25-cv-00706-TRJ-CMS              Document 1          Filed 02/12/25         Page 129 of 145


        U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                               Mobile Local Office
                                                                                     63 South Royal Street, Suite 504
                                                                                                 Mobile, AL 36602
                                                                                                     (2 51) 304-7920
                                                                                            Website: www.eeoc.gov


                   DETERMINATION AND NOTICE OF RIGHTS
                    (This Notice replaces EEOC FORMS 161, 161-A & 161-B)

                                       Issued On: 01/21/2025
To: Doretta Barner
    9106 Wood green Way, Jonesboro, GA 30238
Charge No : 410-2024-13478
EEOC Representative and email:       ERIKA LACOUR
                                     MLO Director
                                     erika.lacour@eeoc.gov


                               DETERMINATION OF CHARGE

The EEOC issues the following determination: The EEOC will not proceed further with its
investigation and makes no determination about whether further investigation would establish
violations of the statute. This does not mean the claims have no merit. This determination does not
certify that the respondent is in compliance with the statutes. The EEOC makes no finding as to
the merits of any other issues that might be construed as having been raised by this charge.

                              NOTICE OF YOUR RIGHT TO SUE

This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
based on a claim under state law may be different.)
If you file a lawsuit based on this charge, please sign in to the EEOC Public Portal and upload the
court complaint to charge 410-2024-13478.

                                               On behalf of the Commission,

                                               Digitally Signed By : Erika La'Cour
                                               0 1/2 1/2025
                                               Erika La'Cour
                                               Local Office Director
  Case 1:25-cv-00706-TRJ-CMS             Document 1   Filed 02/12/25   Page 130 of 145


cc:
Kau Guannu
Wells Fargo
90 South 7th Street
17th FloorMinneapolis, MN 55402



Please retain this notice for your records.
   Case 1:25-cv-00706-TRJ-CMS                           Document 1   Filed 02/12/25   Page 131 of 145
Enclosure with EEOC Notice of Closure and Rights (01 /22)




                                INFORMATION RELATED TO FILING SUIT
                               UNDER THE LAWS ENFORCED BY THE EEOC
 (I'his information relates to filing suit in Federal or State court under Federal law. Ifyou also
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Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction.
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In very limited circumstances, a U.S. District Court may appoint an attorney to represent individuals
who demonstrate that they are financially unable to afford an attorney.

How TO REQUEST YOUR CHARGE FILE AND 90-DAY TIME LIMIT FOR REQUESTS
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Since a lawsuit must be filed within 90 days of this notice, please submit your FOIA and/or
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identifying your request as a "FOIA Request" for Charge Number 410-2024-13478 to the
   Case 1:25-cv-00706-TRJ-CMS                           Document 1   Filed 02/12/25   Page 132 of 145
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NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (AD AAA)

The ADA was amended, effective January 1, 2009, to broaden the definitions of disability to make
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a physical or mental impairment that substantially limits one or more major life activities (actual
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disability. However, these terms are redefined, and it is easier to be covered under the new law.
If you plan to retain an attorney to assist you with your ADA claim, we recommend that you share
this information with your attorney and suggest that he or she consult the amended regulations and
appendix, and other ADA related publications, available at
http://www.eeoc.gov/laws/types/disability regulations.cfm.

"Actual" disability or a "record of' a disability
If you are pursuing a failure to accommodate claim you must meet the standards for either "actual"
or "record of' a disability:
     ✓    The limitations from the impairment no longer must be severe or significant for the
          impairment to be considered substantially limiting.
     ✓    In addition to activities such as performing manual tasks, walking, seeing, hearing,
          speaking, breathing, learning, thinking, concentrating, reading, bending, and
          communicating (more examples at 29 C.F.R. § 1630.2(i)), "major life activities" now
          include the operation of major bodily functions, such as: functions of the immune
          system, special sense organs and skin; normal cell growth; and digestive, genitourinary,
          bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,
          hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an
          individual organ within a body system.
     ✓    Only one major life activity need be substantially limited.
     ✓    Except for ordinary eyeglasses or contact lenses, the beneficial effects of "mitigating
          measures" (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications)
   Case 1:25-cv-00706-TRJ-CMS                                Document 1   Filed 02/12/25   Page 133 of 145
Encl os ure with EEOC Notice of Closure and Rights (01/22)




          are not considered in determining if the impairment substantially limits a major life
          activity.
     ✓    An impairment that is "episodic" (e.g., epilepsy, depression, multiple sclerosis) or "in
          remission" (e.g., cancer) is a disability if it would be substantially limiting when active.
     ✓    An impairment may be substantially limiting even though it lasts or is expected to last
          fewer than six months.

"Regarded as" coverage
An individual can meet the definition of disability if an employment action was taken because
of an actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary
leave, termination, exclusion for failure to meet a qualification standard, harassment, or denial of
any other term, condition, or privilege of employment).
     ✓    "Regarded as" coverage under the ADAAA no longer requires that an impairment be
          substantially limiting, or that the employer perceives the impairment to be substantially
          limiting.
     ✓    The employer has a defense against a "regarded as" claim only when the impairment at
          issue is objectively both transitory (lasting or expected to last six months or less) and
          mmor.
     ✓    A person is not able to bring a failure to accommodate claim if the individual is covered
          only under the "regarded as" definition of "disability".
Note: Although the amended ADA states that the definition of disability "shall be construed
broadly " and "should not demand extensive analysis," some courts require sp ecificity in the
complaint explaining how an impairment substantially limits a major life activity or what facts
indicate the challenged employment action was because of the impairment. Beyond the initial
pleading stage, some courts will require specific evidence to establish disability. For more
information, consult the amended regulations and appendix, as well as explanatory publications,
available at http://www.eeoc.gov/laws/ types/disability regulations.cfm.
     Case 1:25-cv-00706-TRJ-CMS            Document 1       Filed 02/12/25        Page 134 of 145



                                                          Kau J. Guannu-Emmette, Legal EEO Associate Counsel
                                                                                Wells Fargo Legal Department
                                                                                      90 S. 7 th Street, Floor 17
                                                                                      Minneapolis, MN 55402
                                                                                             MAC N9305-l 79
                                                                                          Tel: (612) 667-0010
                                                                                  kau.guannu@wellsfargo.com




December 2, 2024

Via EEOC Respondent Portal

Erika Lacour, Federal Investigator
U.S. Equal Employment Opportunity Commission
Atlanta District Office
100 Alabama St, SW, Suite 4R30
Atlanta, GA 30303

        RE:       Respondent's Position Statement
                  Doretta Barner v. Wells Fargo Bank, N.A.
                  EEOC Case No. 410-2024-13478

Dear Federal Investigator Lacour,

        I am writing on behalf of Wells Fargo Bank, N.A. ("Wells Fargo" or the "Company") in response
to the above-referenced Charge of Discrimination ("Charge") filed by former employee Doretta Barner
("Ms. Barner"). The Company recognizes that Ms. Barner may request a copy of the non-confidential
portions of this Position Statement. Aside from this narrow disclosure, any and all information submitted
in connection with this matter is provided with the understanding that it will be kept confidential and
used exclusively in the Equal Employment Opportunity Commission's ("EEOC") investigation of this
Charge. The information contained below is based on Wells Fargo's understanding of the facts to date,
and Wells Fargo respectfully reserves the right to amend or supplement this Position Statement in the
future, including the right to assert additional defenses.

          I.   INTRODUCTION

       Ms. Barner filed this Charge alleging disability discrimination and retaliation. Her allegations are
completely unsupported. Ms. Barner was terminated because she violated the Company's
Professionalism and Workplace Conduct policies after being delivered coaching and corrective action.
Accordingly, Wells Fargo respectfully requests that the EEOC dismiss this Charge in its entirety.




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      Case 1:25-cv-00706-TRJ-CMS              Document 1        Filed 02/12/25      Page 135 of 145



          II-:-- WECLS FARGO VALUES DIVERSITY AND PROHIBITS DISCRIMINATION
                 AND RETALIATION

          Wells Fargo does not discriminate on the basis of race, color, gender, national origin, religion,
 age, sexual orientation, gender identity, gender expression, genetic information, physical or mental
 disability, pregnancy, marital status, status as a protected veteran, or any other status protected by federal,
 state, or local law. (Exhibit A: Affirmative Action, EEO, and Diversity and Inclusion Policy.)

        Wells Fargo also prohibits harassment. Harassment will not be tolerated in the workplace or at
work-related events. Wells Fargo looks to all employees to assist in preventing harassment in the
workplace. Each employee is charged with the responsibility to report harassing behavior, whether it is
directed at that employee or someone else. Managers and employees who learn of harassing behavior
are instructed to immediately report the activity to the appropriate Employee Relations ("ER")
professional. Once harassment is reported, a Wells Fargo ER Representative will conduct a thorough,
effective, and objective investigation of the harassment allegations. (Exhibit B: Anti-Harassment and
Reporting Harassment Policies.)

         Furthermore, Wells Fargo is committed to providing an environment and processes to encourage
employees to recognize and report, without fear of retaliation, any suspected unethical or illegal conduct,
including fraud; securities law or regulatory violations; possible violation of any Wells Fargo policies;
or other inappropriate workplace behavior. There is zero tolerance for retaliation against an employee
who engages in protected activity. (Exhibit C: Speak Up and Nonretaliation Policy.) Finally, the
Company offers a wide variety of dispute resolution methods and prohibits retaliation against those who
utilize the dispute resolution process.

        The above-referenced policies are set forth in Wells Fargo's Employee Handbook ("Handbook").
At all times relevant to this Charge, Wells Fargo has maintained an online Handbook available to all
employees, including Ms. Barner. Ms. Barner completed a Team Member Acknowledgment,
acknowledging her receipt of and adherence to the Handbook. (Exhibit D: Team Member
Acknowledgment.)

        Ill.    WELLS FARGO TREATED MS. BARNER IN A NON-DISCRIMINATORY AND
                NON-RETALIATORY MANNER

        Ms. Barner was employed by Wells Fargo from June 23, 1997, until she was terminated on
November 17, 2023. During the relevant time period, Ms. Barner was an Associate Operations Processor
reporting to former Operations Associate Manager, Shenese Williams ("Ms. Williams"). In the Associate
Operations Processor role, Ms. Barner was primarily responsible for moderately complex transactional
and operational tasks such as processing servicing related tasks, identifying problems, improving service
levels and developing metrics to measure growth and performance. (Exhibit E: Job Description.)

           a. Wells Fargo holds its employees accountable for their decisions and actions.

        Wells Fargo employees are required to comply with the Company's Professionalism and
Workplace Conduct expectations. (Exhibit F: Professionalism and Workplace Conduct Knowledge
Articles.) The expectations state in relevant part that Wells Fargo is committed to providing an


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              Case 1:25-cv-00706-TRJ-CMS             Document 1       Filed 02/12/25      Page 136 of 145


         environment that promotes professionalism, consistency, fairness, and respect between employees,
         managers, supervisors, direct reports, and customers. Failure to adhere to these expectations may result
         in corrective action up to and including termination. Wells Fargo's approach to coaching and corrective
         action is not progressive; appropriate coaching and/or corrective action depends on the circumstances.
         (Exhibit G: Corrective Action Policy.)

                      b. Wells Fargo appropriately performance managed and terminated Ms. Barner for
                         repeated violations of its Professionalism and Workplace Conduct expectations.

                Wells Fargo's Employee Relations ("ER") team received several complaints regarding Ms.
         Barner's workplace conduct during her employment with the Company. The concerns included her
         engaging in unprofessional behavior and making inappropriate comments to her managers and peers.
         For example, on July 31 , 2019, Ms. Barner was issued an Informal Warning ("IW") for having outbursts
         and making rude and negative comments to her peers. As another example, in August, September, and
         October 2019 and January 2020, Ms. Barner was observed having rude outbursts in front of her team
         and work directors. She was issued a Formal Warning ("FW") for her conduct. (Exhibit H: Barner
         Corrective Actions.)

                Despite these corrective actions, Ms. Barner 's unprofessional behavior continued. For instance,
         on December 12, 2022, she had a loud outburst in front of her peers. Following the outburst, Ms. Barner
         approached Senior Operations Processors, Claudette Burns ("Ms. Burns") and Eleanor Nolden ("Ms.
         Nolden") to state that all her bills are paid and she does not care about being written up, and that they
         can take this job and shove it. Ms. Barner 's behavior was distracting and resulted in her receiving another
         IW for Conduct. (Exhibit H: Barner Corrective Actions.)

                Moreover, on April 23 , 2023, Ms. Barner behaved rudely towards Ms. Williams after Ms.
         Williams asked her to stop talking to a colleague and return to her workstation. This disruptive and
         disrespectful incident resulted in Ms. Barner receiving a FW for Conduct. (Exhibit H: Barner Corrective
         Actions.)

                 Finally, on September 8, 2023, Ms. Barner behaved rudely to Ms. Burns after Ms. Burns made
         Ms.  Barner  aware of a HIPPA error she made. Specifically, Ms. Barner proceeded to get loud with Ms.
         Burns and questioned why she was looking for errors. Additionally, she stated to Ms. Burns that "she
         needs to be in Athens with White people, intelligent people." Ms. Burns reported this incident to
         Operations Manager, Tiffani Williams. Ms. Barner was consequently terminated for her unprofessional
         interaction and inappropriate comments.

                IV.     WELLS FARGO DID NOT DISCRIMINATE OR RETALIATE AGAINST MS.
                        BARNER

                 Ms. Barner alleges in her Charge that discrimination and retaliation were the underlying reasons
         for her termination. Ms. Barner's conclusory allegations ignore the relevant facts and history of her
         workplace conduct violations. Notwithstanding, Wells Fargo investigated Ms. Barner's previously raised
         allegations of disparate treatment and hostile work environment, including the allegations in this Charge
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.. .       Case 1:25-cv-00706-TRJ-CMS           Document 1       Filed 02/12/25     Page 137 of 145



       unprofessional conduct m violation of the Company's Professionalism and Workplace Conduct
       expectations.

               V.     CONCLUSION

               Wells Fargo did not discriminate against Ms. Barner on any basis. Nor did the Company retaliate
       against her for engaging in protected activity. Accordingly, the EEOC should dismiss this Charge in its
       entirety.

                                                              Sincerely,

                                                              Isl Kau J Guannu-Emmette

                                                              Kau J. Guannu-Emmette
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                                                         4
  Case 1:25-cv-00706-TRJ-CMS              Document 1         Filed 02/12/25         Page 138 of 145


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                                               Digitally Signed By: Erika La'Cour
                                               01/21/2025
                                               Erika La'Cour
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  Case 1:25-cv-00706-TRJ-CMS             Document 1   Filed 02/12/25   Page 139 of 145


cc:
KauGuannu
Wells Fargo
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   Case 1:25-cv-00706-TRJ-CMS                          Document 1   Filed 02/12/25   Page 140 of 145
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   Case 1:25-cv-00706-TRJ-CMS                           Document 1   Filed 02/12/25   Page 141 of 145
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   Case 1:25-cv-00706-TRJ-CMS                           Document 1   Filed 02/12/25   Page 142 of 145
Enclosure with EEOC Notice of Closure and Rights (0 1/22)




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     ✓    The employer has a defense against a "regarded as" claim only when the impairment at
          issue is objectively both transitory (lasting or expected to last six months or less) and
          mmor.
     ✓    A person is not able to bring a failure to accommodate claim if the individual is covered
          only under the "regarded as" definition of "disability".
Note: Although the amended ADA states that the definition of disability "shall be construed
broadly" and "should not demand extensive analysis," some courts require specificity in the
complaint explaining how an impairment substantially limits a major life activity or what facts
indicate the challenged employment action was because of the impairment. Beyond the initial
pleading stage, some courts will require specific evidence to establish disability. For more
information, consult the amended regulations and appendix, as well as explanatory publications,
available at http://www.eeoc.gov/laws/types/disability regulations.cfm.
       Case 1:25-cv-00706-TRJ-CMS
                            CHARGEDocument
                                   OF DISC 1                              Filed 02/12/25            Page 143 of 145
                                                                        RIMIN  ATION
                                           This form is affected by the Privacy Act of 1974.
                        See attached Privacy Act Statement and other information before completing this forro.
                        CaAAGE PRESENTED To:                                            AGENCY CHARGE No.
                                EEOC                                                        410-2024-13478



  Name (indicate Mr., Ms., Mrs., Miss, Nix., Dr., Ho11., Rev.): Doretta Barner
  Home Phone:     (770) 603-1232
  Year of Birth: 1964
  Street Address: 9106 Wood green Way
  Jonesboro, GA 30238

  Named below is the Employer, La.bor Orgaoiiation, Employment Agency, Apprenticeship
                                                                                      Committee, or State or Local
  Government Agency that I believe discriminated against me or others.
  Name: WELLS FARGO
  No. Employees, Members: 501 + Employees
  Phone No.: (404) 865-2610
  Street Address: 3579 ATLANTA AVE

  HAPEVILLE, GA 30354

  Name:
  No. Employees, Members:
  Phone No.:
  Street Address:

 DISCRlMINA'l'10N BASED ON:
 Disability, Retaliation

 DATE(S) b[SCRJMINATI0N TOOK l>LAC8
 Earliest: 06/23/1997
 La.test: 11/17/2023

   1'HB PAR'TlCULARS ARE:
   I. I beg<U1 my employment with the aho~-named employer on June 23, 1997, as a Lockbox
                                                                                                    Clerk. I am a person with a
  disability. My employer is aware of my disability. During my employment, I wa.s subjecte
                                                                                                  d to disparate treatment, and a
. hostile work environment On September 8, 2023, Claudette Burns, Workflow Specialist,
                                                                                              told me that I made a work quality
  error. Tiffa.QY, Second Shift Manager, told me I needed to be retrained, and she had me to
                                                                                             write a letter about my quality error:
  Because of the stress of this event, I suffered a medical incident a.t work. On September 11,
                                                                                                2023, I went to my physician, ~or
  treatment from my workplace medical incident. On September lS, 2023, I filed short-teml disability
                                                                                                        . On November 15, 2023,
 I was discharged.

 II. I was told that I wa.s discharged for professionalism an.d workplace conduct policy. No reason
                                                                                                    was given for the disparate
 u-eatment.

III. I believe that I have been discriminated against because of my disability and subjected
                                                                                                   to retaliation for engaging in
protected activity, in violation of Title I of the Americans with Disabilities Act of 1990, as
                                                                                               amended.




                                                                                                             P::u:1p 1 nf 1
     Case
I want        1:25-cv-00706-TRJ-CMS
        this charge filed with both the EEOC and theDocument       1 Agency,
                                                       State or local  Filedif02/12/25        Page
                                                                              any. I will advise      144 of.if145
                                                                                                 the agencies   I change my
address or phone number and I will cooperate fully with them in the processing of my charge in accordance with their
procedures.
I declare under pe alty of perjmr that the above is true and correct.




NOTARY - Whim necessary fu( State and Local Agency Requirements


                      I have read the above charge and that it is true to the best of my knowledge, information! and belief.



Subscribed and sworn to befoi:e me this date:   G/:--2..J --)..J/
~~




                                                                                                      EEOCA TDO
                                                                                                      Received 09/23/2024
  Case 1:25-cv-00706-TRJ-CMS             Document 1         Filed 02/12/25                Page 145 of 145

       U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                                Atlanta District Office
                                                                                     100 Alabama Street, SW, Suite 4R30
                                                                                                     Atlanta, GA 30303
                                                                                                         1-800-669-4000
                                                                                               Website: www eeoc gov



Doretta Barner

Re: Doretta Barner v. WELLS FARGO
    EEOC Charge Number: 410-2024-13478


                  NOTICE OF TRANSFER OF Charge of Discrimination

This is to notify you that the above-referenced Charge of Discrimination has been transferred to
the Mobile Local Office for Workload Redistribution. Please make all future contact regarding
this charge to:
       Mobile Local Office
       63 South Royal Street Suite 504
       Mobile, AL 36602
       Phone: (251) 304-7920
Email: mobile.intake@eeoc.gov


                                          On Behalf of the Commission:

                                             Digitally Signed By:Darrell E. Graham
                                             11/27/2024
                                             Darrell E. Graham
                                             District Director
